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                                   No. 2024-1537


               United States Court of Appeals
                  for the Federal Circuit
                       DURA SYSTEMS BARRIERS, INC.,
                              Plaintiff-Appellee

                                          v.

                      VAN-PACKER CO., JEREMIAS, INC.
                            Defendants-Appellants

 Appeal from the United States District Court for the Central District of Illinois in
               No. 1:19-cv-01388-SLD-JEH, Judge Sara Darrow.

   DEFENDANTS-APPELLANTS VAN-PACKER CO. AND JEREMIAS,
                  INC.’S OPENING BRIEF


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May 6, 2024
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Claim 1 of the ’569 Patent:

 A modular fire-rated exhaust duct assembly comprising:
 two or more exhaust duct modules;
 each of said exhaust duct modules having an inner duct liner and an outer casing,
   and a void being formed between at least a portion of space between said inner
   duct liner and said outer casing, said void being configured for receiving an
   insulation material, and including one or more thermal spacers configured to
   maintain said inner duct liner and said outer casing in a spaced relationship so
   that said insulation material occupies said void, said one or more thermal
   spacers thermally isolating said inner duct liner from said outer casing;
 a first exterior flange connector, said first exterior flange connector, said first
   exterior flange connector being joined directly to one end of said inner duct
   liner, and one end of each of said exhaust duct modules being configured for
   receiving said first exterior flange connector;
 a second exterior flange connector, said second exterior flange connector being
   joined directly to one end of said inner duct liner, and another end of each of
   said exhaust duct modules being configured for receiving said second exterior
   flange connector;
 said first and said second exterior flange connectors being configured to form a
   field assembly junction for coupling respective ends of said exhaust duct
   modules to form a single exhaust duct run; and
 a joint encasement section configured to be field connectable to each of said
   exhaust duct modules and encase said junction.
Appx125–26.




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Claim 10 of the ’569 Patent:

 An exhaust duct module configured to be assembled in the field to form a fire-
    rated exhaust duct assembly, said exhaust duct module comprising:
 an inner duct liner formed with a generally rectangular cross-section;
 an outer casing formed with a generally rectangular cross-section and being sized
    to substantially surround said inner duct liner and a void being formed between
    at least a portion of space between said inner duct liner and said outer casing,
    said void being configured for receiving an insulation material, and further
    including one or more thermal spacers configured to maintain said inner duct
    liner and said outer casing in a spaced relationship so that said material occupies
    said void, said one or more thermal spacers thermally isolating said inner duct
    liner from said outer casing;
 a first exterior flange connector, said first exterior flange connector being joined
    directly to one end of said inner duct liner, and one of said exhaust duct module
    being configured for receiving said first exterior flange connector;
 a second exterior flange connector, said second exterior flange connector being
    joined directly to one end of said inner duct liner, and another end of said
    exhaust duct module being configured for receiving said second exterior flange
    connector; and
 said first exterior flange connector and said second exterior flange connector being
    configured to be field attachable to couple another exhaust duct assembly.
Appx126.




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Claim 16 of the ’569 Patent:

 An exhaust duct module configured to be assembled in the field to form a fire-
    rated exhaust duct assembly, said exhaust duct module comprising:
 an inner duct liner formed with a generally rectangular cross-section;
 an outer casing formed with a generally rectangular cross-section and being sized
    to substantially surround said inner duct liner and a void being formed between
    at least a portion of space between said inner duct liner and said outer casing,
    said void being configured for receiving a compressible insulation material, and
    further including one or more thermal spacers configured to maintain said inner
    duct liner and said outer casing in a spaced relationship so that said
    compressible insulation material occupies said void, said one or more thermal
    spacers thermally isolating said inner duct liner from said outer casing;
 a first exterior flange connector, said first exterior flange connector being joined
    directly to one end of said inner duct liner, and one end of said exhaust duct
    module being configured for receiving said first exterior flange connector;
 a second exterior flange connector, said second exterior flange connector being
    joined directly to another end of said inner duct liner, and another end of said
    exhaust duct module being configured for receiving said second exterior flange
    connector; and
 said first exterior flange connector and said second exterior flange connector being
    configured to be field attachable to couple another exhaust duct assembly.
Appx126.




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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 24-1537
   Short Case Caption Dura Systems Barriers, Inc. v. Van-Packer Co.
   Filing Party/Entity Van-Packer Co., Jeremias, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        05/06/2024
  Date: _________________                   Signature:    /s/ George Summerfield

                                            Name:         George Summerfield




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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable




Van-Packer Co.

Jeremias, Inc.




                                  ‫܆‬      Additional pages attached




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FORM 9. Certificate of Interest                                                        Form 9 (p. 3)
                                                                                        March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable                       ‫܆‬    Additional pages attached
James Shimota                     Katherine Allor
(K&L Gates LLP)                   (formerly of K&L Gates LLP)

Jacob Michalakes                  Nelson Hua
(K&L Gates LLP)                   (formerly of K&L Gates LLP)




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                                ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable                       ‫܆‬    Additional pages attached




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                        STATEMENT OF RELATED CASES

      Pursuant to FCR 28(a)(4) and 47.5(a), there was one other appeal from the

same civil action previously before this Court, Dura Systems Barriers, Inc. v. Van

Packer Co., Appeal No. 23-1888, which was voluntarily dismissed on June 6, 2023.

Pursuant to FCR 47.5(b), there is no other case pending in this or any other court

that will directly affect or be directly affected by this Court’s decision in the pending

appeal.




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                      STATEMENT OF JURISDICTION

      Pursuant to Fed. R. App. P. 28(a)(4) and FCR 28(a)(5), the district court had

subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a). This Court has

jurisdiction over the appeal from the district court’s final judgment under 28 U.S.C.

§ 1295(a)(1).




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                           STATEMENT OF THE ISSUE

        Whether the Court erred when it construed the claim limitation “thermal

spacers thermally isolating” as a single limitation, thereby misconstruing “thermal

spacers,” and thereby erring in finding the accused products infringe the Patent-in-

Suit.




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                           STATEMENT OF THE CASE

I.    Overview of the ’569 Patent

      U.S. Patent No. 10,024,569 (the “’569 Patent”) issued on July 17, 2018, from

an application filed on October 10, 2013. The patented subject matter is generally

“[a] fire-rated exhaust duct system comprising a modular configuration or structure.”

Appx111. The ’569 Patent has 20 claims, claims 1, 10, and 16 of which are

independent.

      One component of the claimed system appearing in each of the independent

claims is a “thermal spacer,” as illustrated in the relevant portion of representative

claim 1:

      A modular fire-rated exhaust duct assembly comprising:

      two or more exhaust duct modules;

      each of said exhaust duct modules having an inner duct liner and an outer
      casing, and a void being formed between at least a portion of space between
      said inner duct liner and said outer casing, said void being configured for
      receiving an insulation material, and including one or more thermal spacers
      configured to maintain said inner duct liner and said outer casing in a spaced
      relationship so that said insulation material occupies said void, said one or
      more thermal spacers thermally isolating said inner duct liner from said outer
      casing;

Appx125, col. 8, lines 47–59 (emphasis added).

      Outside of the claims themselves, the term “thermal spacer(s)” appears

thirteen times in the ’569 Patent. On only one occasion is the term “spacers” not

expressly modified by “thermal.”


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      Once the thermal spacers 420 are correctly positioned, the spacers 420 are
      secured or connected to the outer casing panels 310 using staples or screws
      indicated generally by reference 424 in FIG. 5(c), or a suitable adhesive, to
      ensure that the thermal spacers 420 stay in the desired position for supporting
      the outer casing panels 310 and maintaining the gap or void so that the
      insulating material 410 is not unnecessarily compressed or crushed.

Appx124–125, col. 6, line 61–col. 7, line 2 (emphasis added).

      The antecedent to “the spacers 420” in this passage is clearly “the thermal

spacers 420,” appearing just a few words earlier in the same sentence. Thus, the ’569

Patent invariably references “thermal spacers” throughout its specification. This

emphasis on the thermal nature of the claimed spacers is also reflected in the

prosecution history for the ’569 Patent. In arguing for patentability over the prior

art, the applicant asserted that such art did not disclose or render obvious the claimed

“thermal spacers.” Appx422. The Examiner disagreed, stating that the originally

claimed spacers “are only there to keep duct components in a spaced relationship

without requiring any specific thermal properties.” Appx422.

      In response to the Examiner’s rejection, the applicant amended the subject

claims to specify “thermal spacers thermally isolating said inner duct liner from said

outer casing.” Appx432, Appx434, Appx436. As a result of the claim amendment,

the term “thermal spacers” now appears twice in each of the independent claims,

emphasizing the thermal nature of such spacers.




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II.   The Proceeding Below

      DuraSystems sued Van-Packer for infringement of the ’569 Patent. In the

proceedings below, Van-Packer asked the district court to construe separately the

“thermally isolating” and “thermal spacers” limitations of the independent claims of

the ’569 Patent. Appx555 n.5; Appx560. Van-Packer proposed construing “thermal

spacers” to mean spacers “having a specific thermal isolation property” where a

“spacer” is something that maintains the inner duct liner and outer casing in a spaced

relationship. Appx555–56. Van-Packer separately proposed construing “thermally

isolating” to mean “preventing the thermal transfer of heat.” Appx560. In this

fashion, the terms “thermal” and “thermally” were both ascribed meaning.

      DuraSystems, in contrast, proposed construing the entire phrase “thermal

spacers thermally isolating” as a single limitation, as opposed to proposing a discrete

construction for “thermal spacers.” See, e.g., Appx1797–98 n.6. DuraSystems

proposed construing the entire phrase “thermal spacers thermally isolating” to mean

“components that maintain a space between the inner duct liner and outer casing and

that are configured to limit the amount of heat conducted through the components

so that they do not create fail points on the inner duct liner or outer casing during

fire rating testing.” Appx1799 (emphasis added). In other words, DuraSystems’

proposed construction did not require that the subject “components” themselves




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have any thermal characteristics—they need only “maintain a space,” i.e., they need

only act as spacers.

      The district court, largely adopting DuraSystems’ position, construed the

entirety of the phrase “thermal spacers thermally isolating” to mean “components

that maintain a space between the inner duct liner and outer casing that limit the

amount of heat conducted through the components so that they do not create fail

points on the inner duct liner or outer casing during fire rating testing.” See Appx33.

In reaching its decision, the district court determined that, while the “thermal spacers

must themselves thermally isolate,” they “need not have a specific thermal

property.” Appx22; see also Appx23. The district court acknowledged that, under

its construction, “‘[t]hermal spacers,’ devoid of any accompanying language (such

as ‘thermally isolating’) therefore only refer to spacers without specific thermal

properties,” i.e., the term “thermal” becomes superfluous. Appx27 (emphasis in

original).

      Based upon the district court’s construction, DuraSystems moved for

summary judgment of literal infringement. Appx2163. Van-Packer did not dispute

that, under the district court’s construction, the accused products satisfy the “thermal

spacers thermally isolating” limitation. Appx2169. Nonetheless, when granting

DuraSystems’ motion, the district court changed its construction to specify that

“spacers with perforations or holes maintain a spaced relationship and limit the



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amount of heat conducted through the components so that they do not create fail

points.” Appx69. The district court granted the parties’ joint motion for entry of

final judgment, given the parties’ dispositions of all remaining claims and

counterclaims. Appx95.




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                           SUMMARY OF ARGUMENT

      The district court, despite Van-Packer’s urging to the contrary, construed the

limitation “thermal spacers thermally isolating” as a whole, rather than construing

“thermal spacers” independent of “thermally isolating.” In doing so, the district court

rendered the first “thermal” term in that phrase superfluous, violating a canon of

claim construction disfavoring superfluidity.

      Further, the intrinsic evidence, including the claim language itself, the

specification, and the prosecution history, all of which emphasize the “thermal”

nature of the spacers, is contrary to the district court’s construction, which renders

that term superfluous.




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                                    ARGUMENT

I.     Legal Standard

       The district court’s claim construction rulings, including its rulings on

 indefiniteness, are reviewed de novo. See, e.g., Teva Pharms. USA, Inc. v. Sandoz,

 Inc., 135 S. Ct. 831, 841 (2015). To the extent that those rulings involve findings of

 subsidiary facts, such findings are reviewed for clear error. See id. at 841–42.

       When reviewing a lower court’s decision to grant summary judgment, this

 Court applies the law of the regional circuit and, under Seventh Circuit law, the

 district court’s grant of summary judgment is reviewed de novo. See, e.g., Wis.

 Alumni Rsch. Found. v. Apple Inc., 905 F.3d 1341, 1352 (Fed. Cir. 2018) (applying

 Seventh Circuit law).

 II.   The District Court’s Construction Improperly Renders “Thermal”
       Superfluous

       It is axiomatic that a construction rendering a claim limitation “void,

 meaningless, or superfluous” is disfavored. See, e.g., Intel Corp. v. Qualcomm Inc.,

 21 F.4th 801, 810 (Fed. Cir. 2021) (quoting Wasica Fin. GmbH v. Cont’l Auto. Sys.,

 Inc., 853 F.3d 1272, 1288 n.10 (Fed. Cir. 2007)). Logically, if a claim construction

 would not vary either with or without a term from the construed claim limitation,

 then such construction would render that term superfluous.

       All the independent claims of the ’569 Patent require, in relevant part, “one

 or more thermal spacers thermally isolating said inner duct liner from said outer


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casing.” See, e.g., Appx125, col. 8, lines 58–59 (emphasis added). Separately, such

claims require “one or more thermal spacers configured to maintain said inner duct

liner and said outer casing in a spaced relationship.” See, e.g., Appx125, col. 8, lines

55–57.

      Van-Packer proposed that the term “thermal spacers,” which appears twice in

the subject claims, be construed to mean “‘a spacer having a specific thermal

property’ where a ‘spacer’ is something that maintains two components in a spaced

relationship.” Appx555–56 (emphasis added). In contrast, the district court,

following DuraSystems’ lead, construed the entire phrase “thermal spacers thermally

isolating” to mean “components that maintain a space between the inner duct liner

and outer casing that limit the amount of heat conducted through the components so

that they do not create fail points on the inner duct liner or outer casing during fire

rating testing.” Appx17. The district court propounded no separate construction for

“thermal spacers.”

      The end result is that the district court’s construction applies equally to the

actual limitation appearing in the claim – “thermal spacers” – as well as to the more

general term “spacers,” as such construction employs the generic term

“components” without attributing any particular “thermal” property thereto.

      In an analogous circumstance, this Court had the opportunity to address the

proper construction of the limitation “hardware buffer” in Intel Corporation v.



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Qualcomm Inc., 21 F.4th 801 (Fed. Cir. 2021). See also SSI Techs., LLC v.

Dongguan Zhengyang Elec. Mech. Ltd., 59 F.4th 1328, 1335 (Fed. Cir. 2023)

(“measured volume” must mean something more than “volume”). As the Intel

decision noted, “because every buffer in our (physical) world is ultimately

implemented on a physical device (i.e., hardware), a ‘hardware buffer’ must mean

something more than just a ‘buffer implemented in hardware,’ as Intel urges, or else

the word ‘hardware’ would be erased from the claims.” Id. at 809. The Court

continued: “the striking fact that Qualcomm, in its claim language, did not just say

‘buffer,’ but instead said ‘hardware buffer,’ provides a strong reason to avoid the

disfavored result of rendering the word ‘hardware’ superfluous.” Id. at 810. By

analogy, “spacers” in their general sense maintain a space between things, so

defining the term “thermal spacers” simply as “components that maintain a space

between the inner duct liner and outer casing” improperly erases the term “thermal”

from the claims. See id.

      Separate from the entire phrase construed by the district court, the independent

claims of the ’569 Patent also require “thermal spacers configured to maintain said

inner duct liner and said outer casing in a spaced relationship,” i.e., without the

“thermally isolating” modifier. See, e.g., Appx125, col. 8, lines 55–57 (emphasis

added). The district court did not construe the term “thermal spacers” as it appears

in this portion of the claims. However, if it had, consistent with its construction of



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“thermal spacers thermally isolating,” the construction of this limitation would be

“components that maintain a space between the inner duct liner and outer casing,”

with no reference to heat at all. As limitations are to be construed consistently with

other claim limitations, this separate limitation highlights the manner in which the

district court’s construction renders the term “thermal” superfluous. See, e.g., Power

Mosfet Techs., L.L.C. v. Siemens AG, 378 F.3d 1396, 1409 (Fed. Cir. 2004).

       DuraSystems will likely point to the portion of the district court’s construction

of “thermal spacers thermally isolating” that requires that the components “limit the

amount of heat conducted through the components.” While this portion of the

construction relates to the “thermally isolating” term, there is nothing in that

construction that accounts for the separate “thermal” term modifying “spacers,” so

such portion of the construction is unavailing, and the district court’s construction is

indeed erroneous.

III.   The District Court’s Construction is Contrary to the Intrinsic Evidence

       A.    The Specification

       The specification is often “the single best guide to the meaning of a disputed

term.” See, e.g., Phillips v. AWH Corp., 415 F.3d 1303, 1315 (Fed. Cir. 2005). As

noted above, with one exception, the specification of the ’569 Patent specifies that

the spacers described therein are “thermal.” And, as to that one exception, the

antecedent is “thermal spacers.” See Appx124–25, col. 6, line 61–col. 7, line 2



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(emphasis added). This repeated and consistent use of the term “thermal spacers”

limits the term to something more specific than components performing a generic

spacing function. See, e.g., Virnetx, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1318

(Fed. Cir. 2014). Thus, merely substituting “components” for “thermal spacers,” as

the district court has done in its claim construction, does not comport with the

consistent use of that latter term throughout the specification.

      B.     The Prosecution History

      A patent’s prosecution history, if in evidence, forms part of the intrinsic

evidence available for claim construction. Vitronics Corp. v. Conceptronic, Inc., 90

F.3d 1576, 1582 (Fed. Cir. 1996) (citation omitted). Further, through prosecution

disclaimer, a patentee can, by acting with sufficient clarity, prescribe a special

definition to a claim limitation. See, e.g., World Class Tech. Corp. v. Ormco Corp.,

769 F.3d 1120, 1123 (Fed. Cir. 2014). Disclaimer or disavowal of claim scope “must

be both clear and unmistakable.” Baxalta Inc. v. Genentech, Inc., 972 F.3d 1341,

1348 (Fed Cir. 2020) (quoting 3M Innovative Props. Co. v. Tredegar Corp., 725

F.3d 1315, 1325 (Fed. Cir. 2013)).

      As noted above, during prosecution, the Examiner rejected the claims of the

application that matured into the ’569 Patent, determining that the prior art taught

the originally claimed spacers, which “are only there to keep duct components in a




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spaced relationship without requiring any specific thermal properties.” Appx422

(emphasis added).

        In response to the Examiner’s rejection, the applicant amended the subject

claims to specify “thermal spacers thermally isolating said inner duct liner from said

outer casing.” Appx432, Appx434, Appx436 (emphasis added). In support of this

amendment, the applicant stated, “[t]he term ‘thermal’ in the context of the subject

application means and refers to ‘specific thermal properties.’” Appx438. As is clear

from this exchange from the prosecution history, the applicant emphasized the

thermal nature of the claimed spacers. In doing so, it clearly and unmistakably

disavowed generic components with no thermal properties. See Baxalta, 972 F.3d at

1348.

        The district court, in construing the limitation “thermal spacers thermally

isolating” as including generic “components,” improperly allowed DuraSystems to

reclaim that scope. Again, the district court’s construction was contrary to the

intrinsic evidence, and therefore erroneous.

IV.     The District Court’s Erroneous Construction Was Not Harmless

        Separately, and problematic for either of the competing claim constructions

of “thermal spacers” at issue, the district court erroneously found that holes or voids

defined by the accused spacers are part of such spacers themselves. See Appx69. As

it is indisputably the holes that limit heat conductivity, as opposed to the spacers,



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improperly including the holes as part of the accused spacers falsely imputes a

thermal characteristic to such spacers. When the holes are properly excluded from

the accused spacers: 1) under Van-Packer’s construction thereof, the putative

“thermal spacers” are left without a thermal characteristic, i.e., they are simply

spacers; and 2) under the construction of “thermal spacers thermally isolating”

adopted by the district court, it is the holes, rather than the spacers, “that limit the

amount of heat conducted through the components.”

      In finding that the accused spacers satisfied the “thermal spacer thermally

isolating,” the district court acknowledged that there were “perforations or holes” in

such spacers, which Van-Packer properly referred to as “voids.” See Appx69.

Notably, DuraSystems’ technical expert, Dr. Crimi, refers to “ceramic fiber

insulation [that] occupies the void.” Appx2241 (emphasis added). As can be seen the

following annotated depiction of the accused spacers from the report of

DuraSystems’ technical expert, Dr. Crimi, “voids” (filled with ceramic fiber

insulation) occupy a substantial portion of the area defined by the spacers’ silhouette,

i.e., they are more than “perforations”:




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Appx2241.

      Notably, Dr. Crimi, in colorizing the accused spacers in green, excluded the

voids containing the fiber insulation. See id. Therefore, Dr. Crimi disagreed with the

district court’s conclusion that the voids (or the “perforations,” to use the district

court’s parlance) are “in the spacer.” Id. And the district court, for its part, cites to

nothing in the record to support that the subject voids are part of a spacer. See

Appx69.

      Rather, the district court distinguished the voids defined by the accused

spacers from the claimed “void . . . between at least at least a portion of space

between said inner duct liner and said outer casing.” See id. However, the district

court’s distinction misses the mark. The claimed “voids” are depicted as elements

402 in Figure 4 of the ’569 Patent that is “filled with an insulating material”:




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Appx124, col. 5, lines 33–38.

      That the void described with reference to elements 402 in Figure 4 of the ’569

Patent is situated differently than the voids defined by the accused spacers is not the

point. The inventors knew to use the term “void” to distinguish from “spacers.”

Further, the claimed void is situated between an “inner duct liner” and an “outer

casing,” and is “configured for receiving an insulation material.” See, e.g., Appx125,

col. 8, lines 51–54. The spacers are “configured to maintain said inner duct liner and

said outer casing in a spaced relationship so that said insulation material occupies

said void.” Id., lines 55–58 (emphasis added). This claimed configuration is also

depicted in Figure 4, with insulation material 410 (yellow) occupying voids 402

defined by the inner metallic liner 210 (red), the outer casing panels 310a and 310c

(blue), and spacers 422 (green) therebetween:




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Appx124, col. 6, lines 48–53.

             In short, the holes or voids defined by the accused spacers are not

properly considered part of the spacers themselves. As such, voids, as opposed to

spacers, are solely responsible for any thermal isolation in Van-Packer’s accused

duct assembly, such assembly lacks the claimed “thermal spacers,” irrespective of

how that term is construed.

V.    Reversal is the Appropriate Appellate Remedy

      The parties filed cross-motions for summary judgment with DuraSystems

seeking summary judgment of infringement and Van-Packer seeking summary

judgement of non-infringement. Appx2160–76, Appx2777–804. DuraSystems

presented no evidence of infringement under Van-Packer’s construction of “thermal

spacers,” which requires, inter alia, that a spacer have “a specific thermal property.”

Appx555–56. The only evidence presented below was that by Van-Packer, proving



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that the products accused of infringement did not contain spacers with thermal

properties. Appx4091–93. As such, reversal, rather than remand, is the appropriate

manner of disposing of this Appeal. See, e.g., In re Lemay, 660 F. App’x 919, 922

(Fed. Cir. 2016) (an absence of evidence to consider on remand warrants reversal).

                                   CONCLUSION

         As the district court erred in its construction of the claim terms “thermal

spacer” and “thermally isolating,” Appellants respectfully request that this Court

reverse the district court’s grant of summary judgment and remand to the district

court.




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Dated: May 6, 2024                Respectfully submitted,

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  ADDENDUM
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                                                                                Clerk, U.S. District Court, ILCD
                                 UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF ILLINOIS
                                     ROCK ISLAND DIVISION


 DURASYSTEMS BARRIERS INC., a                     )
 Canadian corporation,                            )
                                                  )
                   Plaintiff,                     )
                                                  )
 v.                                               ) Consolidated Case No. 1:19-cv-01388-SLD-
                                                  ) JEH
 VAN-PACKER CO., an Illinois corporation,         )
 and JEREMIAS, INC., a Georgia                    )
 corporation,                                     )
                                                  )
                   Defendants.                    )

                                              ORDER

            Plaintiff DuraSystems Barriers Inc. (“DuraSystems”) accuses Defendants Van-Packer

 Co. (“Van-Packer”) and Jeremias, Inc. (“Jeremias” and together with Van-Packer,

 “Defendants”) of infringing U.S. Patent No. 10,024,569 (the “’569 Patent”). Now before the

 Court are the parties’ respective claim construction briefs, ECF Nos. 31, 36, 41, as well as their

 respective motions for leave to file under seal various materials in support thereof, ECF Nos.

 33, 37. For the reasons that follow, the Court DEFERS consideration of the claim terms

 Defendants assert are indefinite, ADOPTS the constructions identified below, and DENIES the

 motions for leave to file under seal.

                                          BACKGROUND

      I.       Procedural History

           On December 3, 2019, DuraSystems filed its original complaint, which alleged two

claims for patent infringement against Van-Packer, one with regard to the ’569 Patent and

another to a patent no longer at issue. See generally Compl., ECF No. 1. The day before,

DuraSystems brought a materially identical lawsuit against Jeremias in the United States District

                                                 1

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Court for the Northern District of Georgia. See Compl., 4:20-cv-04069-SLD-JEH, ECF No. 1.

On March 25, 2020, that action was transferred to this Court, see Order Transferring Case, 4:20-

cv-04069-SLD-JEH, ECF No. 8, and on April 16, 2020, it was consolidated with this case, see

Apr. 16, 2020 Text Order. The Clerk then filed DuraSystems’s amended complaint, ECF No.

17, which names both Van-Packer and Jeremias. See Apr. 16, 2020 Text Order (directing the

Clerk to file DuraSystems’s proposed amended complaint, which was attached to the parties’

motion to consolidate, ECF No. 16). Defendants’ amended answer was filed on November 2,

2020, ECF No. 30. The Court issued a scheduling order on April 13, 2020. See Apr. 13, 2020

Text Order; Disc. Plan, ECF No. 14.1 Fact discovery closed on December 11, 2020, and expert

discovery (which shall include the exchange of expert reports and expert depositions) has not yet

occurred. See Apr. 13, 2020 Text Order; Disc. Plan 2–3.

         Defendants filed their opening claim construction brief, ECF No. 31, and motion to seal,

ECF No. 33, on December 23, 2020, as well as the parties’ joint appendix, ECF No. 32.

DuraSystems filed its answering brief, ECF No. 36, and motion to seal, ECF No. 37, on February

5, 2021, and Defendants filed their reply brief, ECF No. 41, on March 3, 2021. DuraSystems

filed the parties’ status report and joint claim construction chart, ECF No. 42, on March 10,

2021. The Court conducted a Markman hearing on June 21, 2021. See June 21, 2021 Min.

Entry.




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  The parties’ discovery plan, which the Court adopted in the April 13, 2020 scheduling order, see Apr. 13, 2020
Text Order, heavily cites the Local Patent Rules for the United States District Court for the Northern District of
Illinois. This Court has not issued any local rules specific to patent cases and acknowledges its sister court’s rules
provide helpful guideposts in this action. But they are not controlling: All deadlines in this case, whether they were
set in the discovery plan or have yet to be set, are subject to the Court’s discretion.

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   II.      The ’569 Patent

         Flammable or hazardous gases, vapors, or particles are generated in commercial and

industrial buildings and must be captured and transported to a place where they can be

discharged. U.S. Patent No. 10,024,569 col. 1 ll. 13–17 (filed Oct. 10, 2013), J.A. 0012, ECF

No. 32-1. Ventilation ducts are typically routed throughout these buildings; however, when such

ducts must transport flammable or hazardous materials, they must be fire-rated—“capable of

minimizing the transfer of heat through or across the duct walls.” Id. col. 1 ll. 20–36, J.A. 0012.

         The utility of fire-rated ducts can be illustrated by the role they play in commercial

kitchens. In a commercial kitchen, exhaust ducts are configured to capture grease-laden air over

deep fryers and grills. Id. col. 1 ll. 40–41, J.A. 0012. Such air “is extremely flammable, and

must be transported through the building to an exterior area where it can be safely discharged.”

See id. col. 1 ll. 42–44, J.A. 0012. In fact, it is so flammable, a minor kitchen fire “could enter

the exhaust duct and quickly spread throughout the duct system.” Id. col. 1 ll. 44–47, J.A. 0012.

Therefore, any potential duct fire “must be contained and thermal transfer through the duct walls

limited to prevent ignition of adjacent combustible material in the kitchen or other areas of the

building.” Id. col. 1 ll. 47–50, J.A. 0012.

         Fire-rated exhaust duct systems are usually fabricated in sections, which are shipped to an

installation location and welded together to form conduit sections. Id. col. 1 ll. 61–65, J.A. 0012.

These systems “typically require the installation of an additional gypsum fire-rated enclosure . . .

around the duct.” Id. col. 2 ll. 1–4, J.A. 0012. This “add[ed] step” represented a “known

shortcoming[] in the art,” see id. col. 2 ll. 5–8, J.A. 0012, which was overcome by chimney

manufacturers who “introduced pre-fabricated fire-rated exhaust ducts based on a modification

of existing chimney exhaust systems, see id. col. 2 ll. 7–10, J.A. 0012. But their “characteristic



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round profile significantly limits the volume of air that can be vertically carried in conventional

building footprints” and “is often too large to fit into conventional ceiling . . . spaces or

dimensions.” Id. col. 2 ll. 12–16, J.A. 0012.

         Enter the ’569 Patent, a general illustration of an embodiment of which can be found

below.




Id. fig. 1, J.A. 0003.2 It concerns a “fire-rated modular duct assembly, and improvements

therein, suitable for exhausting flammable or hazardous gases, vapour, and the like,” id. col. 1 ll.

7–9, J.A. 0012, and “suitable for pre-fabrication and configured for assembly in the field,” id.

col. 2 ll. 24–25, J.A. 0012. According to an embodiment, this duct assembly comprises

“individual duct sections which are factory fabricated and then mechanically assembled on site,”

id. col. 8 ll. 16–17, J.A. 0015, and the individual sections “are connected together to form longer

sections and runs to create a fire-rated exhaust duct system in a building or other type of facility

for exhausting or moving flammable or hazardous gases, vapours and materials from an




2
 Reference 100 points to a “fire-rated modular exhaust duct”; references 110(a) and (b) point to “exhaust duct
sections or modules”; and reference 120 points to a “mechanical joint” that “connect[s] or couple[s] together”
“individual exhaust sections.” ’569 Patent col. 3 l. 67–col. 4 l. 7, J.A. 0013.

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originating source, e.g. an exhaust hood . . . to a location where the flammable or hazardous

gases, vapours or materials can be safely discharged,” see id. col. 8 ll. 22–28, J.A. 0015.

        Specifically, and according to an embodiment, the ’569 Patent describes a modular, fire-

rated duct assembly comprising “two or more exhaust duct modules,” each of which having an

inner duct liner, an outer casing, and a void between them. Id. col. 2 ll. 26–31, J.A. 0012. This

void includes “one or more thermal spacers” configured to maintain the liner and the casing “in a

spaced relationship so that . . . insulation material” occupies it. Id. col. 2 ll. 31–35, J.A. 0012.

Flange connectors are attached to the modules and “configured to form a field assembly junction

for coupling respective ends of . . . [the] modules to form a single exhaust duct run.” Id. col. 2 ll.

36–44, J.A. 0012. Field assembly junctions are in turn encased by joint encasement sections,

which are field connectable to each of the modules. Id. col. 2 ll. 44–46, J.A. 0012. According to

another embodiment, the inner duct liner is “formed with a generally rectangular cross-section,”

and the outer casing is “formed with a generally rectangular cross-section . . . sized to

substantially surround” the inner duct liner. Id. col. 2 ll. 50–54, J.A. 0012.

                                           DISCUSSION

   I.        Claim Construction

        A.      Legal Standard

        “The purpose of claim construction is to determine the meaning and scope of the patent

claims asserted to be infringed.” O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d

1351, 1360 (Fed. Cir. 2008) (quotation marks omitted). Indeed, this process “serves to define the

scope of the patented invention and the patentee’s right to exclude.” See HTC Corp. v. Cellular

Commc’ns Equip., LLC, 877 F.3d 1361, 1367 (Fed. Cir. 2017). But a court need only construe

claim language that is disputed. Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803



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(Fed. Cir. 1999). “Claim construction is ultimately an issue of law . . . .” Eli Lilly & Co. v.

Hospira, Inc., 933 F.3d 1320, 1328 (Fed. Cir. 2019) (citation omitted).

       “[T]here is no magic formula or catechism” when it comes to claim construction.

Phillips v. AWH Corp., 415 F.3d 1303, 1324 (Fed. Cir. 2005) (en banc). But the Federal Circuit

has nevertheless articulated general principles that guide courts, including the cardinal principle

“the words of a claim are generally given their ordinary and customary meaning.” Id. at 1312

(quotation marks and citations omitted). Perhaps more importantly, “the ordinary and customary

meaning of a claim term is the meaning that the term would have to a person of ordinary skill in

the art [a “POSITA”] in question at the time of the invention, i.e., as of the effective filing date

of the patent application.” Id. at 1313 (citations omitted). In addition, a POSITA “is deemed to

read the claim term not only in the context of the particular claim in which the disputed term

appears, but in the context of the entire patent.” Id.

       Sometimes, the ordinary meaning of a claim as understood by a POSITA may be

immediately apparent to lay judges, and claim construction involves nothing more than applying

the generally accepted meaning of commonly understood words. Id. at 1314. But courts are

usually not so lucky. When the meaning of a claim term is not readily apparent, courts look to

“those sources available to the public that show what a [POSITA] would have understood

disputed claim language to mean.” Id. (quotation marks omitted). These sources are “the words

of the claims themselves, . . . the specification, the prosecution history, and extrinsic evidence

concerning relevant scientific principles, the meaning of technical terms, and the state of the art.”

Id. (quotation marks and citations omitted).

       Obviously, “the claims themselves provide substantial guidance as to the meaning of

particular claim terms.” Id. Also instructive are the context in which a claim term is used in the



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asserted claim and other claims in the patent, both asserted and unasserted. Id. (citation

omitted). Indeed, since claim terms are normally used consistently throughout a patent, “the

usage of a term in one claim can often illuminate the meaning of the same term in other claims.”

Id. Differences among claims can be useful as well. Id.

        As part of a “fully integrated written instrument,” though, claims “must be read in view

of the specification.” Id. at 1315 (quotation marks omitted). The specification is not only

relevant, it is often dispositive: “[T]he specification is the single best guide to the meaning of a

disputed term.” Network-1 Techs., Inc v. Hewlett-Packard Co., 981 F.3d 1015, 1022 (Fed. Cir.

2020) (quoting Phillips, 415 F.3d at 1315). For example, while courts “normally do not interpret

claim terms in a way that excludes disclosed examples in the specification,” Verizon Servs. Corp.

v. Vonage Holdings Corp., 503 F.3d 1295, 1305 (Fed. Cir. 2007) (citation omitted), “limitations

from the specification are not to be read into the claims,” Comark Commc’ns, Inc. v. Harris

Corp., 156 F.3d 1182, 1186 (Fed. Cir. 1998) (citation omitted). Ultimately, “the purposes of the

specification are to teach and enable those of skill in the art to make and use the invention and to

provide a best mode for doing so.” Phillips, 415 F.3d at 1323 (citation omitted).

        If it is in evidence, a court should consider a patent’s prosecution history, which consists

of the record of the proceedings before the United States Patent and Trademark Office (the

“PTO”) and includes the prior art cited during a patent’s examination.3 Id. at 1317 (citations

omitted). The prosecution history and the specification are similar in that they both show how

the PTO and the inventor understood the patent and were both created by the inventor in trying

to explain and obtain it. Id. However, the prosecution history usually “lacks the clarity of the



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 The parties jointly submitted the ’569 Patent’s prosecution history into the record. See generally J.A. 0018–0426,
ECF Nos. 32-2–32-3.


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specification” because it “represents an ongoing negotiation between the PTO and the applicant,

rather than the final product of that negotiation.” Id. (citation omitted). Overall, while the

prosecution history is useful because it can show how an inventor understood the invention, it is

not as prominent as the claims and the specification in the claim construction analysis. See id.

(citations omitted).

        “In some cases . . . the district court will need to look beyond the patent’s intrinsic

evidence and to consult extrinsic evidence in order to understand, for example, the background

science or the meaning of a term in the relevant art during the relevant time period.” Teva

Pharms. USA, Inc. v. Sandoz, Inc., 574 U.S. 318, 331 (2015) (citation omitted). Such evidence

“consists of all evidence external to the patent and prosecution history, including expert and

inventor testimony, dictionaries, and learned treatises.”4 Cont’l Cirs. LLC v. Intel Corp., 915

F.3d 788, 799 (Fed. Cir. 2019) (quoting Phillips, 415 F.3d at 1317). For example, expert

testimony can “provide background on the technology at issue, . . . explain how an invention

works, . . . ensure that the court’s understanding of the technical aspects of the patent is

consistent with that of a [POSITA], [and] . . . establish that a particular term in the patent or the

prior art has a particular meaning in the pertinent field.” Phillips, 415 F.3d at 1318 (citations

omitted). But “conclusory, unsupported assertions by experts as to the definition of a claim term

are not useful to a court,” and a court “should discount any expert testimony that is clearly at

odds with” the intrinsic evidence. Id. (quotation marks omitted). In sum, while extrinsic

evidence “can help educate the court regarding the field of the invention and can help the court

determine what a [POSITA] would understand claim terms to mean,” id. at 1319, it is “less



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 Both parties rely on extrinsic evidence. For example, both DuraSystems and Defendants rely on expert testimony.
See Decl. of Tony Crimi (“Crimi Decl.”), Pl.’s Br. Ex. AA, ECF No. 36-1 (testifying for DuraSystems); Decl. of
Barry M. Cheek, Opening Br. Ex. B, ECF No. 31-3 (testifying for Defendants).

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reliable” than intrinsic evidence, id. at 1318, and “is unlikely to result in a reliable interpretation

of patent claim scope unless considered in the context of the intrinsic evidence,” id. at 1319.

        B.        Analysis

        At issue are the following nine claim terms: (1) “fire rated,” (2) “specified fire rating,”

(3) “compressible insulation material,” (4) “thermal spacers,” (5) “thermally isolating,” (6)

“thermal spacers thermally isolating,” (7) “exhaust duct module,” (8) “joint encasement section,”

and (9) “joined directly.” Joint Claim Construction Chart. Defendants argue the first three claim

terms are indefinite and do not propose constructions thereof; DuraSystems disagrees and

provides accompanying constructions. See id. at 2. Constructions of the other six claim terms

have been presented. Id. at 2–3.

             1.      The Allegedly Indefinite Claim Terms

        Defendants argue the terms “fire rated,” “specified fire rating,” and “compressible

insulation material” are indefinite. Id. at 2. “[A] patent is invalid for indefiniteness if its claims,

read in light of the specification delineating the patent, and the prosecution history, fail to

inform, with reasonable certainty, those skilled in the art about the scope of the invention.”

Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 901 (2014). The doctrine of

indefiniteness derives from 35 U.S.C. § 112, under which a patent’s claims, “evaluated from the

perspective of someone skilled in the relevant art” “at the time the patent was filed” “in light of

the patent’s specification and prosecution history,” must “inform those skilled in the art about the

scope of the invention with reasonable certainty.” Id. at 908, 910 (emphasis omitted) (citations

omitted); see also Markman v. Westview Instruments, Inc., 517 U.S. 370, 373 (1996) (“It has

long been understood that a patent must describe the exact scope of an invention and its




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manufacture . . . .”). This definiteness requirement “mandates clarity, while recognizing that

absolute precision is unattainable.” Nautilus, 572 U.S. at 910.

        But what is not clear is whether the Court should address Defendants’ indefiniteness

arguments now, at the claim construction stage, or later, at the summary judgment stage. The

Federal Circuit has not determined whether indefiniteness determinations should be made during

claim construction. But while it has “acknowledged that an indefiniteness analysis . . . is

inextricably intertwined with claim construction” and “training questions of indefiniteness on

individual claim terms is a helpful tool,” the key question regarding indefiniteness is “whether

the claims, not particular claim terms,” meet the Nautilus indefiniteness standard. Cox

Commc’ns, Inc. v. Sprint Commc’n Co., 838 F.3d 1224, 1231–32 (Fed. Cir. 2016) (emphases

added) (quotation marks and citations omitted). Moreover, “the Federal Circuit’s statements that

indefiniteness is intertwined with claim construction mean only that the [c]ourt must attempt to

determine what a claim means before it can determine whether the claim is invalid for

indefiniteness, and not that the [c]ourt must determine indefiniteness during the claim

construction proceedings.” ASM Am., Inc. v. Genus, Inc., No. C-01-2190-EDL, 2002 WL

1892200, at *15 (N.D. Cal. Aug. 15, 2002), amended, 2003 WL 21033555 (N.D. Cal. Jan. 10,

2003), aff'd, 401 F.3d 1340 (Fed. Cir. 2005). And it “ha[s] certainly not endorsed a regime in

which validity analysis is a regular component of claim construction.” Phillips, 415 F.3d at

1327.

        Many lower courts have not endorsed such a regime either; in fact, “district courts

frequently decline to rule on indefiniteness at the Markman stage,” 0912139 B.C. Ltd. v.

Rampion USA Inc., CASE NO. C18-1464JLR, 2019 WL 3426058, at *16 (W.D. Wash. July 30,

2019) (collecting cases), and numerous courts have “opine[d] that rulings on indefiniteness are



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inappropriate at claim construction,” Kaneka Corp. v. JBS Hair, Inc., No. 3:10-cv-01430-P, 2012

WL 5364699, at *5 (N.D. Tex. Oct. 31, 2012) (collecting cases).

        But should this Court join them, it would face another issue: how to proceed here given

Defendants have not proposed alternative constructions for the claim terms they assert are

indefinite. The Federal Circuit has not prescribed a solution, although some district courts have

tried. See infra Section I.B.1.b.

        For the following reasons, the Court defers (a) considering Defendants’ indefiniteness

contentions and (b) construing the claim terms attacked as indefinite—“fire rated,” “specified

fire rating,” and “compressible insulation material”—until the summary judgment stage.

                a.      Indefiniteness Shall Be Addressed at the Summary Judgment Stage

        The Court defers consideration of Defendants’ indefiniteness assertions given the

“[s]everal well-settled principles . . . [that] tend to discourage rulings on indefiniteness at the

Markman stage.” See CSB-Sys. Int’l Inc. v. SAP Am., Inc., Civil Action No. 10-2156, 2011 WL

3240838, at *17 (E.D. Pa. July 28, 2011). First, while indefiniteness is a question of law to

which “[g]eneral principles of claim construction apply,” see HZNP Meds. LLC v. Actavis Labs.

UT, Inc., 940 F.3d 680, 688 (Fed. Cir. 2019) (citation omitted), indefiniteness is an “invalidity

defense[] [that must] be proven by clear and convincing evidence,” see Milwaukee Elec. Tool

Corp. v. Snap-On Inc., 271 F. Supp. 3d 990, 1009 (E.D. Wis. 2017) (citing Sonix Tech. Co. v.

Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377 (Fed. Cir. 2017)) (other citation omitted); see also Am.

GNC Corp. v. LG Elecs., Inc., Case No. 17-cv-01090-BAS-BLM, 2018 WL 400346, at *10 (S.D.

Cal. Jan. 12, 2018) (finding this “demanding evidentiary requirement counsels that consideration

of indefiniteness challenges would be best addressed separately from the claim construction

hearing” (citation omitted)); cf. Uretek Holdings, Inc. v. YD W. Coast Homes, Inc., Case No:



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8:15-cv-472-T-36JSS, 2016 WL 3021880, at *3 (M.D. Fla. May 26, 2016) (“[T]he burden of

proof is higher for establishing indefiniteness than it is for establishing a term’s construction.”).5

Second, and more importantly, while claim construction proceedings give meaning to claim

terms, “indefiniteness invalidates the claims entirely.” See 3-D Matrix, Inc. v. Menicon Co.,

Civil Action No. 14-cv-10205-IT, 2016 WL 111410, at *13 (D. Mass. Jan. 11, 2016) (citation

omitted); see also Nautilus, 572 U.S. at 901 (“[A] patent is invalid for indefiniteness if its claims,

read in light of the specification delineating the patent, and the prosecution history, fail to

inform, with reasonable certainty, those skilled in the art about the scope of the invention.”).

         Citing these principles, “district courts throughout the country have generally been

reluctant to consider whether a patent is indefinite at the claim construction phase, rather than at

the summary judgment phase.” See Junker v. Med. Components, Inc., CIVIL ACTION No. 13-

4606, 2017 WL 4922291, at *2 (E.D. Pa. Oct. 31, 2017) (collecting cases); Gilead Scis., Inc. v.

Mylan Inc., Civil Action No. 1:14CV99, 2015 WL 1534067, at *2 (N.D. W. Va. Apr. 6, 2015)

(noting “many judges have elected to wait and tackle indefiniteness at the summary judgment

stage” due to “the high burden of proof on the party challenging a patent claim for

indefiniteness,” “the fact that a claim is not indefinite merely because the parties dispute its

meaning,” and “the dispositive effect of a ruling on indefiniteness” (collecting cases)); see also

2-Way Computing, Inc. v. Nextel Fin. Co., No. 2:11-cv-00012-JCM-PAL, 2012 WL 4846145, at

*20 (D. Nev. Oct. 9, 2012) (noting “it is more appropriate to defer these [indefiniteness]

arguments until summary judgment because they are potentially dispositive and would invalidate


5
  Though, this evidentiary standard only applies to factual issues underlying indefiniteness disputes, not legal ones.
Cox Commc’ns, Inc. v. Sprint Commc’n Co., 838 F.3d 1224, 1228 (Fed. Cir. 2016) (citation omitted); cf. Microsoft
Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 114 (2011) (Breyer, J., concurring) (emphasizing that when evaluating patent
invalidity claims, “the evidentiary standard of proof applies to questions of fact and not to questions of law,”
explaining “[m]any claims of invalidity rest, however, not upon factual disputes, but upon how the law applies to
facts as given” and that “[w]here the ultimate question of patent validity turns on the correct answer to legal
questions,” the clear and convincing standard “has no application”).

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the patent, and because of the burden of proof required to show indefiniteness”), amended on

reconsideration on other grounds sub nom. 2-Way Computing, Inc. v. Sprint Nextel Corp., No.

2:11-CV-12 JCM (PAL), 2013 WL 2218010 (D. Nev. May 17, 2013).

       The Court is similarly reluctant and finds Defendants’ indefiniteness arguments should be

decided on a motion for summary judgment. Indefiniteness decisions here could be dispositive.

For example, since the term “fire rated” is included in every independent claim in the ’569

Patent, see, e.g., ’569 Patent col. 8 l. 47, J.A. 0015, indefiniteness rulings could invalidate the

entire patent. Indeed, as Defendants noted at the Markman hearing, “the entire case sort of rests

on this term.” See Markman Hr’g Tr. 25:2–3, ECF No. 44. Given these raised stakes (along

with the raised burden on indefiniteness), the Court sees little harm in waiting until it has a fuller

picture of this case to make them. This means waiting until the parties have produced a complete

discovery record at the summary judgment stage.

       At the Markman hearing, Defendants argued their indefiniteness contentions should be

decided now because both parties have submitted declarations from experts in support of their

claim construction briefs and those experts have been deposed. Id. at 24:22–23, 27:3–11.

Nevertheless, as DuraSystems noted, full expert discovery has not yet taken place. See id. at

26:18–24 (“[E]xpert discovery, I think, would be very relevant as to the date of that claim

because experts will give additional insight into the understanding of a person of ordinary skill in

the art, and how a person of ordinary skill in the art would be applying that term to the prior art,

the accused products and so forth.”); see also Apr. 13, 2020 Text Order; Disc. Plan 2–3.

Moreover, Defendants heavily rely on extrinsic evidence in making their indefiniteness

assertions, see generally Opening Br. 8–10, 12–13 (relying on the testimony of its expert

witness), and “where extrinsic evidence of the perspective of someone skilled in the art is



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relevant to the indefiniteness inquiry, it is appropriate to defer the indefiniteness determination

until after the close of discovery.” Lifescan Scot., Ltd. v. Shasta Techs., LLC, Case No. 11-cv-

04494-WHO, 2014 WL 11206411, at *3 (N.D. Cal. Nov. 10, 2014) (citations omitted).

Ultimately, “it would be more appropriate and logical to defer the full consideration of any

potential indefiniteness challenge to the summary judgment stage, after all fact and expert

discovery has been completed.” Uretek Holdings, 2016 WL 3021880, at *3.

               b.      These Claim Terms Shall Be Construed at the Summary Judgment Stage

       Deferring indefiniteness until summary judgment creates another issue: how to move

forward when Defendants have not proposed alternative constructions for “fire rated,” “specified

fire rating,” and “compressible insulation material.” District courts have encountered this

situation before and dealt with it in various ways. For example, one court, citing a lack of

alternative constructions, rejected an indefiniteness argument without prejudice to it being raised

again at a later stage. Kaneka, 2012 WL 5364699, at *5. Another court simply chose to ignore

indefiniteness at the claim construction stage. See Steuben Foods, Inc. v. Oystar Grp., 1:10-CV-

00780-EAW-JJM, 1:10-cv-00781-EAW-JJM, 1:12-cv-00904-EAW-JJM, 1:13-cv-00892-EAW-

JJM, 1:13-cv-01118-EAW-JJM, 2017 WL 3842136, at *3 (W.D.N.Y. June 6, 2017) (electing to

“defer consideration of [a party’s] indefiniteness argument . . . until after claim construction”).

       Another court made preliminary indefiniteness rulings. In Britax Child Safety, Inc. v.

Nuna International B.V., No. 17-cv-2724, 2019 WL 7161687 (E.D. Pa. Dec. 23, 2019), the

district court identified a “conundrum”: the defendants “rais[ed] an indefiniteness argument as to

multiple claim terms,” their argument was “premature at such an early stage of the litigation,”

and they did not “either (a) offer[] an alternative proposed construction for such terms or (b)

mov[e] for summary judgment on invalidity grounds,” id. at *15 (quotation marks omitted).

After observing it “must first attempt to determine what a claim means before it can determine
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whether the claim is invalid for indefiniteness, id. (quotation marks omitted), the district court

identified a solution: “engag[ing] in claim construction analysis with respect to the terms [the

defendants] allege[] are indefinite, while making only preliminary findings as to indefiniteness in

light of the intrinsic record” “without prejudice to [the defendants’] ability to reassert [their]

indefiniteness arguments at the close of discovery by way of a motion for summary judgment,

see id. (citations and footnotes omitted). See also, e.g., Cap. Sec. Sys., Inc. v. NCR Corp., No.

1:14-cv-1516-WSD, 2016 WL 3517595, at *4 (N.D. Ga. June 28, 2016) (embracing this

approach); Uretek Holdings, 2016 WL 3021880, at *3 (adopting this approach).

       The Court prefers to defer construction of the pertinent claim terms to summary judgment

so indefiniteness and claim construction can be assessed together on a full discovery record.

Indeed, these two analyses should be considered together, as despite the aforementioned material

differences between them, “[i]ndefiniteness is a matter of claim construction, and the same

principles that generally govern claim construction are applicable to determining whether

allegedly indefinite claim language is subject to construction.” Praxair, Inc. v. ATMI, Inc., 543

F.3d 1306, 1319 (Fed. Cir. 2008). An indefiniteness analysis “involves consideration of

primarily the intrinsic evidence,” Biosig Instruments, Inc. v. Nautilus, Inc., 783 F.3d 1374, 1377–

78 (Fed. Cir. 2015), and “[a]s in claim construction, in making an indefiniteness determination,

the district court may make ‘any factual findings about extrinsic evidence relevant to the

question, such as evidence about knowledge of those skilled in the art . . . .’” f’real Foods, LLC

v. Hamilton Beach Brands, Inc., 388 F. Supp. 3d 362, 364 (D. Del. 2019) (quoting BASF Corp.

v. Johnson Matthey Inc., 875 F.3d 1360, 1365 (Fed. Cir. 2017)), aff’d, 854 F. App’x 379 (Fed.

Cir. 2021). With regard to “fire rated,” “specified fire rating,” and “compressible insulation

material,” claim construction and indefiniteness should be considered together, and since



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indefiniteness is deferred until the summary judgment stage, it follows claim construction should

occur then as well.6

                                                    *     *    *

         Should either party file a motion for summary judgment, the parties shall, in light of any

new evidence produced via expert discovery, address the constructions of the terms “fire rated,”

“specified fire rating,” and “compressible insulation material.” Defendants can then reassert

their indefiniteness arguments. On a motion for summary judgment, these claims shall be

construed before any indefiniteness arguments are considered. See ASM Am., 2002 WL

1892200, at *15.

         In the meantime, the remaining claim terms—“thermal spacers,” “thermally isolating,”

“thermal spacers thermally isolating,” “exhaust duct module,” “joint encasement section,” and

“joined directly”—are addressed below.

             2.       The Remaining Claim Terms

         As an initial matter, it is necessary to identify those to whom the below claim terms are

addressed: POSITAs. See Nautilus, 572 U.S. at 909 (noting “patents are not addressed to

lawyers, or even to the public generally, but rather to those skilled in the relevant art” (quotation


6
  Indeed, the preliminary indefiniteness approach employed by the Britax Child Safety court is not optimal. For one
thing, tentative decisions on issues as potentially dispositive as indefiniteness without the benefit of a complete
discovery record could greatly elongate discovery proceedings and put certain parties in an unfounded position of
strength in settlement negotiations. Another problem with this approach is it assumes should indefiniteness be
deferred until summary judgment, construction of ostensibly indefinite claim terms must occur beforehand. But
“claim construction can occur at virtually any point in the case: prior to discovery, pursuant to motions for summary
judgment, or following the close of evidence at trial.” CellCast Techs., LLC v. United States, 152 Fed. Cl. 414, 432
n.5 (Fed. Cl. 2021) (quotation marks omitted); cf. Ballard Med. Prods. v. Allegiance Healthcare Corp., 268 F.3d
1352, 1358 (Fed. Cir. 2001) (“District courts have wide latitude in how they conduct the proceedings before them,
and there is nothing unique about claim construction that requires the court to proceed according to any particular
protocol. As long as the trial court construes the claims to the extent necessary to determine whether the accused
device infringes, the court may approach the task in any way that it deems best.”). While there are good reasons
why claim construction should generally occur before the summary judgment phase, see Edward Brunet, Markman
Hearings, Summary Judgment, and Judicial Discretion, 9 Lewis & Clark L. Rev. 93, 97 (2005) (“Cost-cutter sorts
recommended a Markman hearing well in advance of trial and before expensive complex case discovery.”), this
does not mean some (or even all) disputed claim terms must be construed before then.

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marks omitted)). The parties agree a POSITA “would have a technical certification as a sheet

metal worker or sheet metal mechanic, which is typically a five-year certification, or with

equivalent work experience in the field of fire-rated duct systems.” See Opening Br. 5–6

(citations omitted). Further, he or she “may also have a bachelor’s degree in mechanical

engineering or [a] related field, and . . . experience could replace formal training, such that a

person with five or more years of experience working in the exhaust duct field would have

appropriate training to be a POS[IT]A.” Id. at 6 (citations omitted).

               a.        “thermal spacers” / “thermally isolating” / “thermal spaces thermally
                         isolating”

     Claim Term                DuraSystems’s                 Defendants’               Court’s
                                Construction                 Construction            Construction

   “thermal spacers”           “thermal spacers            “a spacer having a       “thermal spacers
                             thermally isolating”            specific thermal     thermally isolating”
                               addressed below             isolation property”      addressed below
                                                            where a spacer is
                                                              something that
                                                              maintains two
                                                             components in a
                                                           spaced relationship

 “thermally isolating”         “thermal spacers              “preventing the        “thermal spacers
                             thermally isolating”          thermal transfer of    thermally isolating”
                               addressed below                    heat”             addressed below

    “thermal spacers           “components that        “thermal spacers” and     “components that
  thermally isolating”         maintain a space        “thermally isolating”     maintain a space
                               between the inner        addressed separately     between the inner
                             duct liner and outer              above             duct liner and outer
                              casing and that are                                casing that limit the
                              configured to limit                                amount of heat
                              the amount of heat                                 conducted through
                              conducted through                                  the components so
                              the components so                                  that they do not
                                that they do not                                 create fail points on
                             create fail points on                               the inner duct liner or
                            the inner duct liner or                              outer casing during
                                                                                 fire rating testing”


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                            outer casing during
                            fire rating testing”




       The terms “thermal spacers” and “thermally isolating” are present in claims 1, 10, and 16

(the “Independent Claims”) of the ’569 Patent and appear similarly in each claim. Claim 1

provides a representative example; it claims:

       two or more exhaust duct modules; each of [which] having an inner duct liner and
       an outer casing, and a void being formed between at least a portion of space
       between said inner duct liner and said outer casing, said void being configured for
       receiving an insulation material, and including one or more thermal spacers
       configured to maintain said inner duct liner and said outer casing in a spaced
       relationship so that said insulation material occupies said void, said one or more
       thermal spacers thermally isolating said inner duct liner from said outer casing.

’569 Patent col. 8 ll. 49–59, J.A. 0015 (describing the first embodiment); see also id. col. 9 ll.

50–62, J.A. 0016 (describing the second embodiment); col. 10 ll. 30–43, J.A. 0016 (describing

the third embodiment). A figure depicting a thermal spacer configuration according to an

embodiment is included below. See id. col. 3 ll. 43–44, J.A. 0013.




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Id. fig. 5(b), JA0007.7 As both parties heavily rely upon the prosecution history concerning

these claim terms, that should be examined as well.

         The claim language regarding thermal spacers in the original draft of the ’569 Patent was

notably different from the language ultimately approved by the PTO, as it did not include the

term “thermally isolating.” It reads:

         two or more exhaust duct modules; each of said exhaust duct modules having an
         inner duct liner and an outer casing, and a void being formed between at least a
         portion of space between said inner duct liner and said outer casing, said void
         being configured for receiving an insulation material, and including one or more
         thermal spacers configured to maintain said inner duct liner and said outer
         casing in a spaced relationship so that said insulation material occupies said void.

E.g., Fire-Rated Modular Duct Assembly and Improvements Therein 14, J.A. 0037, ECF No. 32-

2 (emphasis added).

         In a non-final communication rejecting the original draft on obviousness grounds,8 the

examiner noted the relevant prior art, U.S. Patent No. 2,916,054 (“Callan”),

         teaches a modular fire-rated exhaust duct assembly comprising: two or more
         exhaust duct modules . . . each of [which] having an outer casing . . . and an inner
         flange . . . and a void . . . being formed between at least a portion of space
         between said inner flange and said outer casing, said void being configured for
         receiving an insulation material . . . and including one or more thermal spacers . .
         . configured to maintain said inner flange and said outer casing in a spaced
         relationship so that said insulation material occupies said void.

E.g., Non-Final Rejection ¶ 4, J.A. 0257–58, ECF No. 32-3 (emphasis added). While the term

“thermal spacers” was not the focal point of this first round of negotiations, the applicant (and


7
  Reference 212 points to an “external flange connector,” ’569 Patent col. 4 l. 24, J.A. 0013; reference 214 points to
a “flange,” id. col. 4 l. 23, J.A. 0013; reference 320 points to an “inner connection angle member[],” id. col. 6 ll. 24-
25, J.A. 0014; reference 330 points to an “outer flashing member[],” id. col. 6 l. 20, J.A. 0014; reference 332 points
to “self-tapping screws or similar fasteners,” id. col. 6 ll. 25–26, J.A. 0014; reference 420 points to a “thermal
spacer[],” id. col. 6 l. 51, J.A. 0014; and reference 600 points to “holes,” id. col. 5, l. 13, J.A. 0014.
8
  See 35 U.S.C. § 103 (“A patent for a claimed invention may not be obtained . . . if the differences between the
claimed invention and the prior art are such that the claimed invention as a whole would have been obvious before
the effective filing date of the claimed invention to a person having ordinary skill in the art to which the claimed
invention pertains.”).


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eventual patentee), William C. Duffy,9 amending the original draft with respect to different claim

language and responding to the examiner, argued Callan does not teach thermal spacers,

explaining “the sidewalls . . . according to Callan do not comprise thermal spacers as being

alleged and furthermore there is no description, teaching or suggestion by Callan that the

sidewalls . . . are intended to maintain an inner duct in a spaced relationship from an outer

casing, as recited in claim 1 [of the amended draft ’569 Patent].” Amendment 10, J.A. 0295,

ECF No. 32-3 (quotation marks omitted).

          The examiner rejected the amended draft. See Final Rejection ¶ 4, J.A. 0302, ECF No.

32-3. In responding to Duffy’s thermal spacers assertion, the examiner explained the spacers in

the amended draft “are only there to keep duct components in a spaced relationship without

requiring any specific thermal properties” and that since Callan’s spacers keep an inner flange

and an outer casing in a spaced relationship, Callan does indeed teach “thermal spacers.” Id. at

12, J.A. 0312. In other words, the amended draft and Callan both disclosed “thermal spacers,”

precluding Duffy from claiming them.

          Duffy then amended the claim language concerning thermal spacers and responded to the

examiner’s explanation. First, he amended the rejected language by adding the language in the

’569 Patent, which, as indicated above, includes the term “thermally isolating.” Request for

Continued Examination and Amendment 3, J.A. 0322, ECF No. 32-3. Second, he provided

context for his amendment, explaining “[t]he thermal isolation function of the thermal spacers . .

. is entirely consistent with” the function fire-rated duct systems serve in commercial kitchens as

recited in the background section of the ’569 Patent. See id. at 10, J.A. 0329; see also ’569

Patent col. 1 ll. 47–50, J.A. 0012 (“[A]ny potential fire inside the duct system must be contained


9
    Duffy founded DuraSystems, which owns the ’569 Patent by assignment. Am. Compl. ¶¶ 9, 34.


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and thermal transfer through the duct walls limited to prevent ignition of adjacent combustible

material in the kitchen or other areas of the building.”).

       He also stated “[t]he term ‘thermal’ in the context of the subject application means and

refers to ‘specific thermal properties[,’] namely, thermally isolating.” Request for Continued

Examination and Amendment 9, J.A. 0328. In addition, he noted “[a]ccording to one aspect, the

arrangement of the inner duct liner, the outer casing, the insulation material in the void and the

thermal spacers is configured to prevent the thermal transfer of heat . . . from the inner duct to

the outer casing.” Id. at 10, J.A. 0329. After rehashing his argument regarding Callan’s

sidewalls, he concluded “even if the sidewalls are construed as thermal spacers, which is not

herein being conceded, Callan fails to describe and teach ‘one or more thermal spacers thermally

isolating said inner duct liner from said outer casing’ as . . . amended and currently presented.”

See id. at 11, J.A. 0330 (quotation marks omitted).

       The examiner then granted Duffy’s application. Not. of Allowability 1, J.A. 0341, ECF

No. 32-3. In his statement of reasons for the allowance, the examiner stated “the primary reason

for allowance is the inclusion of limitations ‘said one or more thermal spacers thermally isolating

said inner duct liner from said outer casing’ in claims 1, 10, and 16.” Id. at 2, J.A. 0342.

Further, he noted while Callan “teaches an insulated section, an inner duct liner, a first and

second flange connector and a joint encasement section,” it “does not teach an outer casing and

thermal spacers which thermally isolate the inner duct liner from said outer casing.” Id.

                   i.      “thermal spacers”

       Two issues concern the construction of “thermal spacers,” one the parties vigorously

address and the other they all but ignore: (1) whether thermal spacers require a spacer to have a

specific thermal isolation property and (2) whether thermal spacers by themselves thermally



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isolate. For the reasons stated below, (1) thermal spacers must themselves thermally isolate, but

(2) thermal spacers need not have a specific thermal isolation property.

                             Thermal Spacers Must Thermally Isolate

       The intrinsic evidence shows thermal spacers themselves thermally isolate. While

DuraSystems argues a POSITA would understand “the arrangement of the inner duct liner, the

outer casing, the insulation material in the void and the thermal spacers is configured to prevent

the thermal transfer of heat,” Pl.’s Br. 17 (emphasis omitted) (quoting Request for Continued

Examination and Amendment 10, J.A. 0329), the Independent Claims make clear the “thermal

spacers thermally isolate[e].” See, e.g., ’569 Patent col. 8 ll. 58–59, J.A. 0015. While the word

“configured” is used six times in each of the Independent Claims, e.g., id. col. 10 ll. 27–56, J.A.

0016, it is never used to indicate the “thermal spacers” do not, on their own, thermally isolate the

inner duct liner from the outer casing.

       This idea is supported by the prosecution history. First, despite Duffy arguing the

arrangement of the inner duct liner, outer casing, insulation material, and thermal spacers is

configured to prevent heat transfer, he nevertheless indicated “thermal spacers” have a “thermal

isolation function.” See Request for Continued Examination and Amendment 10, J.A. 0329.

Second, and more importantly, by amending the draft independent claims to include the

limitation “thermally isolating” in an attempt to overcome Callan, see id. at 11, J.A. 0330, he

restricted the meaning of “thermal spacers” to spacers that thermally isolate the inner duct liner

from the outer casing. Cf. Comput. Docking Station Corp. v. Dell, Inc., 519 F.3d 1366, 1374

(Fed. Cir. 2008) (“A patentee could [limit the meaning of a claim term] by clearly characterizing

the invention in a way to try to overcome rejections based on prior art.” (citations omitted));

Schindler Elevator Corp. v. Otis Elevator Co., 593 F.3d 1275, 1285 (Fed. Cir. 2010) (“[A]n



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amendment that clearly narrows the scope of a claim, such as by the addition of a new claim

limitation, constitutes a disclaimer of any claim interpretation that would effectively eliminate

the limitation or that would otherwise recapture the claim’s original scope.”).

             Thermal Spacers Need Not Have a Specific Thermal Isolation Property

       Just because thermal spacers thermally isolate does not mean they must have a specific

thermal isolation property. Defendants first argue the Independent Claims “make[] clear that

‘thermal spacers’ are spacers that have a specific thermal isolation property.” Opening Br. 14

(emphasis and citation omitted). But it is far from clear these claims—which make no mention

of thermal isolation properties, let alone any particular one—mean what Defendants say. They

provide little support for this proposition; their primary citation is to the background section of a

Federal Circuit case, see Chef Am., Inc. v. Lamb-Weston, Inc., 358 F.3d 1371, 1372 (Fed. Cir.

2004) (citation omitted), the relevance of which they fail to explain. This argument is so lightly

addressed, DuraSystems declined to respond to it.

       Heavier, though, is the focus on the prosecution history. Defendants contend Duffy

“defined ‘thermal spacer’ to be a spacer with a specific property” by “disclaim[ing] . . . any

spacer that does not have a specific thermal isolation property and that does not prevent the

transfer of heat” in prosecuting the ’569 Patent. Opening Br. 16 (citations omitted). They rely

on Duffy stating “[t]he term ‘thermal’ in the context of the subject application means and refers

to ‘specific thermal properties[,’] namely, thermally isolating” and “the thermal spacers is [sic]

configured to prevent the thermal transfer of heat.” Id. at 15–16 (citation and emphases omitted).

For its part, DuraSystems points out Duffy never limited thermal spacers to one thermal

property, as it explicitly referred to “multiple thermal properties.” See Pl.’s Br. 15 (quotation

marks, citation, and emphasis omitted) (“Defendants misconstrue this statement that clearly



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includes multiple thermal ‘properties’ to be a definition and/or disavowal limiting ‘thermal

spacers’ to one thermal property . . . .”).

        There are two exceptions to the rule claim terms are given their ordinary meaning: (1)

“when a patentee sets out a definition and acts as his own lexicographer” and (2) “when [a]

patentee disavows the full scope of a claim term either in the specification or during

prosecution.” Starhome GmbH v. AT&T Mobility LLC, 743 F.3d 849, 856 (Fed. Cir. 2014). The

doctrine of prosecution disclaimer “preclud[es] patentees from recapturing through claim

interpretation specific meanings disclaimed during prosecution.” Omega Eng’g, Inc. v. Raytek

Corp., 334 F.3d 1314, 1323 (Fed. Cir. 2003) (citations omitted). When a patentee has disavowed

a particular meaning to obtain a patent, prosecution disclaimer applies and “narrows the ordinary

meaning of the claim congruent with the scope of the surrender.” Id. at 1324. This doctrine

“plays an important role in the patent system,” as “[i]t ‘promotes the public notice function of the

intrinsic evidence and protects the public’s reliance on definitive statements made during

prosecution.’” Biogen Idec, Inc. v. GlaxoSmithKline LLC, 713 F.3d 1090, 1095 (Fed. Cir. 2013)

(quoting Omega, 334 F.3d at 1324)). “Such disclaimer can occur through amendment or

argument.” Aylus Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1359 (Fed. Cir. 2017) (citation

omitted).

        But “for prosecution disclaimer to attach, the disavowal must be both clear and

unmistakable.” Mass. Inst. of Tech. v. Shire Pharms., Inc., 839 F.3d 1111, 1119 (Fed. Cir. 2016)

(quotation marks and alteration omitted). “Where the alleged disavowal is ambiguous, or even

amenable to multiple reasonable interpretations,” prosecution disclaimer does not apply. Id.

(quotation marks omitted); see also Omega, 334 F.3d at 1325 (“[W]e have thus consistently

rejected prosecution statements too vague or ambiguous to qualify as a disavowal of claim



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scope.”). A party seeking to invoke this doctrine “bears the burden of proving the existence of a

clear and unmistakable disclaimer that would have been evident to one skilled in the art.” Shire

Pharms., 839 F.3d at 1119 (quotation marks omitted). This is a heavy burden. See Poly-Am.,

L.P. v. API Indus., Inc., 839 F.3d 1131, 1136 (Fed. Cir. 2016) (“[T]he standard for disavowal is

exacting . . . .”); Avid Tech., Inc. v. Harmonic, Inc., 812 F.3d 1040, 1045 (Fed. Cir. 2016)

(“When the prosecution history is used solely to support a conclusion of patentee disclaimer, the

standard for justifying the conclusion is a high one.”).

       While “[a] disavowal must be clear, . . . it need not be explicit.” Techtronic Indus. Co. v.

Int’l Trade Comm’n, 944 F.3d 901, 907 (Fed. Cir. 2019) (citation omitted). Indeed, patent

applicants “rarely submit affirmative disclaimers along the lines of ‘I hereby disclaim the

following’” and “need not do so to meet the applicable standard.” Saffran v. Johnson &

Johnson, 712 F.3d 549, 559 (Fed. Cir. 2013). “Disavowal may be inferred from clear limiting

descriptions of the invention in the . . . prosecution history.” Techtronic, 944 F.3d at 907

(quotation marks and citation omitted). Further “[a]n inventor may also disavow claim scope by

distinguishing the claimed invention over the prior art.” Id. (quotation marks and citation

omitted). And “an amendment that clearly narrows the scope of a claim, such as by the addition

of a new claim limitation, constitutes a disclaimer of any claim interpretation that would

effectively eliminate the limitation or that would otherwise recapture the claim’s original scope.”

Schindler, 593 F.3d at 1285.

       Defendants fail to show DuraSystems disclaimed any spacer that does not have a specific

thermal isolation property. While Defendants rely on Duffy explaining “[t]he term ‘thermal’ in

the context of the subject application means and refers to ‘specific thermal properties[,’] namely,

thermally isolating,” Request for Continued Examination and Amendment 9, J.A. 0328, “a clear



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disclaimer of any spacer that does not have a specific thermal isolation property” this is not, see

Opening Br. 16 (citations omitted). On one side of the coin, it is doubtful Duffy was referring to

one particular property when indicating “thermal” refers to “specific thermal properties.” But on

the other, when referring to “specific thermal properties,” Duffy did not refer to multiple

properties—just “thermally isolating.” Though one could argue “thermally isolating” is the

property Defendants are looking for, whether “thermally isolating” is a property is not entirely

clear either. As Defendants assert, “a property is a material trait,” Reply Br. 8; cf. id. (“‘[H]eat

transfer’ is not a thermal property of a material.” (citing Dep. of Tony Crimi (“Crimi Dep.”)

181:7–187:13, 245:8–14, Reply Br. Ex. 1, ECF No. 41-1), and material traits “are ones such as

thermal conductivity, thermal capacity, etc. that result in ‘thermal isolation,’” id. (emphasis

added). By this argument, thermal isolation10 is not a property, but a result—or, as Duffy would

put it, a “function.” See Request for Continued Examination and Amendment 10, J.A. 0329

(discussing “[t]he thermal isolation function of the thermal spacers”).

        From this fuzziness comes a clear conclusion: Duffy’s prosecution statement is “too

vague or ambiguous to qualify as a disavowal of claim scope.” See Omega, 334 F.3d at 1325.

Accordingly, the term “thermal spacers” cannot be construed as spacers that possess a specific

thermal isolation property and “thermal spacers” are therefore spacers that thermally isolate.

        That “thermal spacers” cannot be construed this way is further supported by the

examiner’s rejection of the drafts of the ’569 Patent. “Statements about a claim term made by an

examiner during prosecution of an application may be evidence of how one of skill in the art

understood the term at the time the application was filed.” Salazar v. Procter & Gamble Co.,

414 F.3d 1342, 1347 (Fed. Cir. 2005). The examiner noted Callan, which “teaches a modular


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  Whether “thermal isolation” and “thermally isolating” can or should be addressed in the same discussion is also
unclear.

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fire-rated exhaust duct assembly . . . including one or more thermal spacers . . . configured to

maintain said inner flange and said outer casing in a spaced relationship, e.g., Non-Final

Rejection ¶ 4, J.A. 0257–58, “teach[es] thermal spacers,” Final Rejection 12, J.A. 0312, even

though it does not require thermal spacers to have any specific thermal properties. In rejecting

the amended draft, the examiner concluded it could not overcome Callan because its spacers

were “only there to keep duct components in a spaced relationship without requiring any specific

thermal properties.” Id. “Thermal spacers,” devoid of any accompanying language (such as

“thermally isolating”) therefore only refer to spacers without specific thermal properties. Indeed,

only after the amended draft was amended to pair “thermally isolating” with “thermal spacers”

did the examiner determine it distinguished Callan.11

                       ii.      “thermally isolating”

         Chiefly at issue here is the extent to which “thermal spacers” must “thermally isolate.”

DuraSystems argues they must limit heat transfer and Defendants contend they must prevent it.

See Joint Claim Construction Chart 2–3. A construction favoring DuraSystems would trigger

another issue: whether limiting heat transfer means “limit[ing] the amount of heat conducted

through the components so that they do not create fail points on the inner duct liner or outer

casing during fire rating testing.” See id.

         The four corners of the ’569 Patent provide little guidance; the claims do not explain

what “isolating” means and the specification does not either. While DuraSystems asserts

language in the background section shows “isolating” means “minimizing,” see Pl.’s Br. 18




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  To be sure, the examiner ultimately granted Duffy’s application, explaining “the primary reason for allowance is
the inclusion of limitations ‘said one or more thermal spacers thermally isolating said inner duct liner from said
outer casing’ in claims 1, 10, and 16.” Not. of Allowability 2, J.A. 0342. But his explanation did not contain any
reference to any specific thermal properties, and even if it did, unilateral statements by an examiner do not give rise
to a “clear disavowal of claim scope by an applicant.” See Salazar, 414 F.3d at 1347.

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(emphasis and quotation marks omitted), that language refers to the capabilities of the entire fire-

rated exhaust duct system, not the thermal spacers—which as explained above, must themselves

thermally isolate. See supra section I.B.2.a.i. Indeed, that “a fire-rated duct must be capable of

minimizing the transfer of heat,” ’569 Patent col. 1 ll. 34–36, J.A. 0012, only speaks to a fire-

rated duct. Although DuraSystems contends other language shows “isolating” means

“limit[ing],” see Pl.’s Br. 18 (emphasis and quotation marks omitted), that language doesn’t even

indicate what part of an exhaust duct module does the limiting. See ’569 Patent col. 1 ll. 47–50,

J.A. 0012 (“[A]ny potential fire inside the duct system must be contained and thermal transfer

through the duct walls limited to prevent ignition of adjacent combustible material in the kitchen

or other areas of the building.”).

        Perhaps for this reason, the parties primarily focus on the prosecution history.

Defendants argue Duffy’s statement that “the arrangement of the inner duct liner, the outer

casing, the insulation material in the void and the thermal spacers is configured to prevent the

thermal transfer of heat . . . from the inner duct to the outer casing,” Request for Continued

Examination and Amendment 10, J.A. 0329, “form[s] the basis for [their] construction,”

Opening Br. 19 (citation omitted). DuraSystems contends Duffy was referring to the

arrangement of multiple parts of the exhaust duct system, rather than just the thermal spacers, see

Pl.’s Br. 17 (citation omitted), and argues a POSITA would understand “‘prevent the thermal

transfer of heat’ to be a colloquial, rather than a literal, use of ‘prevent,’” id. (citing Decl. of

Tony Crimi (“Crimi Decl.”) ¶ 50, Pl.’s Br. Ex. AA, ECF No. 36-1), reasoning preventing the

thermal transfer of heat is a “physical impossibility” and a construction of “isolating” as

“preventing” would therefore exclude every embodiment in the ’569 Patent, see id. (citation

omitted).



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       This statement does not directly address “thermal spacers.” Indeed, it means an exhaust

duct system as a whole “prevent[s] the thermal transfer of heat,” see Request for Continued

Examination and Amendment 10, J.A. 0329—and not “thermal spacers,” which themselves must

thermally isolate, supra, e.g., section I.B.2.a.i. But when read in the context of the ’569 Patent, it

demonstrates “isolating” is best understood as “limiting.”

       First, the word “prevent” should be read restrictively. While DuraSystems’s expert

testified it is not possible to truly prevent the transfer of heat, see Crimi Dep. 185:22–186:8, and

declared a POSITA would understand Duffy used the word “prevent” colloquially, see Crimi

Decl. ¶ 50, he nevertheless testified “preventing” means “stopping,” as opposed to “limiting,”

see Crimi Dep. 189:9–12. And as he acknowledged it is possible to “effectively” prevent the

thermal transfer of heat, id. at 186:11–14, DuraSystems’s concern about excluding every

embodiment in the ’569 Patent, see Pl.’s Br. 17 (citation omitted), (even if Duffy’s statement

were about “thermal spacers”) is unfounded. “Prevent” is therefore akin to “effectively stop.”

       Second, given this necessarily restrictive reading, construing “isolating” as “preventing”

would be improper. If an exhaust duct system “prevents the thermal transfer of heat,” finding

thermal spacers must do so as well renders the term “thermally isolating” superfluous—a result

the Federal Circuit would not countenance. See Wasica Fin. GmbH v. Cont’l Auto. Sys., Inc.,

853 F.3d 1272, 1288 n.10 (Fed. Cir. 2017) (“It is highly disfavored to construe terms in a way

that renders them void, meaningless, or superfluous.” (citation omitted)). Indeed, there would be

no need for thermal spacers to prevent the thermal transfer of heat if an exhaust duct system

already does the same thing.

       Third, because thermal spacers still have a “thermal isolation function,” see Request for

Continued Examination and Amendment 10, J.A. 0329, the definition of “isolating” must take a



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middle ground between “preventing” (i.e., “effectively stopping”) the thermal transfer of heat

and doing nothing. Indeed, “thermal spacers” must still thermally isolate. The word “limiting,”

which Defendants acknowledge is broader than “preventing,” cf. Opening Br. 19 (arguing

against “broaden[ing] [the definition of] ‘isolation’ to mean ‘limitation’” (citations omitted)), fits

the bill.

        Defendants, citing a dictionary, argue “the plain and ordinary meaning of isolate . . . is ‘to

set apart or cut off from a group or whole’ or ‘to place in quarantine,’” id. at 18 (quoting The

American Heritage Dictionary 453 (4th ed. 2000), Opening Br. Ex. S, ECF No. 31-20), and

accordingly, “the plain and ordinary meaning of ‘thermally isolate’ would then be to keep heat in

one component from getting to the other,” id. (footnote omitted). While the Court can rely upon

dictionary definitions in construing claim terms, see Cont’l Circuits, 915 F.3d at 799, it can only

do so if they “do[] not contradict the meaning otherwise apparent from the intrinsic record,” see

Helmsderfer v. Bobrick Washroom Equip., Inc., 527 F.3d 1379, 1382 (Fed. Cir. 2008); see also

Phillips, 415 F.3d at 1321 (“[H]eavy reliance on the dictionary divorced from the intrinsic

evidence risks transforming the meaning of the claim term to the artisan into the meaning of the

term in the abstract.”). Because the definition proffered by Defendants contradicts the meaning

of “isolating” based on the intrinsic record, it is not considered. See Immunex Corp. v. Sanofi-

Aventis U.S. LLC, 977 F.3d 1212, 1222 (Fed. Cir. 2020) (finding “the intrinsic record trumps”

after observing “the meaning of [a claim term] as discerned from the intrinsic evidence squarely

conflicts with the meaning that [the plaintiff] would distill from its selected extrinsic evidence”

(citation omitted)). Moreover, Defendants’ definition does not even mention the word “prevent,”

the linchpin of their proposed construction. Even if the definition did not contradict the meaning

suggested by the intrinsic evidence, it is accordingly overbroad. See Luv N’ Care, Ltd. v.



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Laurain, CIVIL ACTION NO. 3:16-cv-00777, 2018 WL 3213149, at *6 (W.D. La. June 29,

2018) (“This Court does not rely on the dictionary definitions submitted by the LNC Parties as

they are extrinsic evidence, are overly broad, and are contradicted by the intrinsic record.”).

       Finally, since “isolating” means “limiting,” it is necessary to determine whether the rest

of DuraSystems’s proposed construction should be accepted. In other words, the Court must

determine whether limiting heat transfer means “limit[ing] the amount of heat conducted through

the components so that they do not create fail points on the inner duct liner or outer casing during

fire rating testing.” See Joint Claim Construction Chart 2–3.

       Both parties ground their arguments in indefiniteness concerns. Defendants argue

DuraSystems’s proposed construction “would be indefinite because there is no standard for how

much heat the spacers need to ‘limit’ in order to avoid ‘failure points,’” see, e.g., Opening Br. 17

(citing Decl. of Barry M. Cheek ¶¶ 77–78, Opening Br. Ex. B, ECF No. 31-3) (other citation

omitted), and thereby ties its position back to its indefiniteness contentions regarding the terms

“fire rated” and “specified fire rating,” see Reply Br. 9 (“[L]inking the meaning of the term

‘thermally isolating’ to a fire rating test makes the definition [of the term ‘thermally isolating’]

indefinite . . . .” (internal cross reference omitted)). DuraSystems reasons a POSITA must know

“to what degree the thermal spacer must ‘limit’ or ‘minimize’ the thermal transfer of heat to be a

‘thermal spacer thermally isolating’” and references Defendants’ indefiniteness argument

concerning the term “compressible insulation material.” Pl.’s Br. 18. Just as Defendants rely

upon extrinsic evidence to support their indefiniteness position, DuraSystems relies upon

extrinsic evidence to support its proposed construction. See id. at 18–19.

       As explained above, supra section I.B.1.a., indefiniteness arguments are best addressed

on a motion for summary judgment. Accordingly, the indefiniteness contentions regarding



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“thermally isolating,” like those regarding “fire rated,” “specified fire rating,” and “compressible

insulation material,” are deferred until the summary judgment stage. Whether DuraSystems’s

proposed construction is proper is tied to this indefiniteness dispute and will not be decided now.

       In fact, it is even more justified to defer consideration of these indefiniteness contentions.

Here, Defendants do not argue “thermally isolating” is facially indefinite and cannot be

construed; rather, they say “thermally isolating” is indefinite if the Court adopts DuraSystems’s

proposed construction thereof. In other words, they raise an “as-applied” indefiniteness

challenge—one which is especially well-suited to resolution at the summary judgment stage.

See, e.g., 3-D Matrix, 2016 WL 111410, at *13 (“[C]ourts have recognized that there are reasons

to defer ruling on indefiniteness until the summary judgment stage. This is especially so if the

claim language itself is amenable to construction but is alleged to be indefinite as applied.”

(quotation marks and citations omitted)). Indeed, the parties’ “battle of the experts” is precisely

the kind of dispute that should not be decided at the claim construction stage. See Steuben

Foods, 2017 WL 3842136, at *2 (citations omitted).

                                             *    *    *

       Most of the disputes regarding “thermal spacers” and “thermally isolating” having now

been resolved, the Court turns to the first issue the parties present thereon: whether “thermal

spacers” and “thermally isolating” should be construed separately or together. Defendants argue

they should be construed separately because “the latter is the function the thermal spacers

performs [sic], not what the thermal spacers are.” See Opening Br. 13 n.5; cf. Reply Br. 7

(“Plaintiff is desperate to have the Court not say what a ‘thermal spacer’ is . . . .” (emphasis

omitted)). DuraSystems contends they should be construed together because they “appear in the




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claims as ‘thermal spacers thermally isolating,’12 [and] it makes more sense to construe the

phrase as a whole.” Pl.’s Br. 12–13 n.6.

         While the Court analyzed these terms separately, it construes them together, given they

largely appear together in the Independent Claims, their separate constructions are primarily

based on the same aspects of the ’569 Patent’s prosecution history, and each construction

influences the other.

         Accordingly, “thermal spacers thermally isolating” is construed as “components that

maintain a space between the inner duct liner and outer casing that limit the amount of heat

conducted through the components so that they do not create fail points on the inner duct liner or

outer casing during fire rating testing.” The language subject to the aforementioned as-applied

indefiniteness challenge is tentative; whether it shall remain so shall be decided, like the

indefiniteness arguments, at the summary judgment stage.

                  b.       “exhaust duct module”

       Claim Term                  DuraSystems’s                     Defendants’                    Court’s
                                    Construction                     Construction                Construction
 “exhaust duct                 “a section of pre-               “a section of an               “a section of pre-
 module[s]”                    fabricated, factory-built        exhaust duct”                  fabricated,
                               exhaust duct”                                                   factory-built
                                                                                               exhaust duct”


         The term “exhaust duct module” appears in claims 1, 3, 7, and 9–20. As Defendants

acknowledge, the parties agree “a ‘module’ is a ‘section’ of an overall exhaust duct.” See

Opening Br. 20. They dispute whether an “exhaust duct module” is a “pre-fabricated, factory-

built” duct. See Joint Claim Construction Chart 3.




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  While the terms “thermal spacers” and “thermally isolating” do often appear together, e.g., ’569 Patent col. 8 ll.
58–59, J.A. 0015, the term “thermal spacers” sometimes appears on its own, e.g., id. col. 8 l. 55, J.A. 0015.

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       The claims do not provide an answer, and the parties focus their attention on the

specification. Defendants, arguing an “exhaust duct module” is not necessarily “pre-fabricated,

factory built,” contend DuraSystems’s construction impermissibly reads into the claims a

preferred embodiment. Opening Br. 20. DuraSystems contends the ’569 Patent describes the

invention as an exhaust duct system “configured to be assembled in the field,” see Pl.’s Br. 20

(quotation marks omitted), and a POSITA would understand a system configured this way “is a

pre-fabricated or factory-built exhaust duct,” id. (citing Crimi Decl. ¶ 65). Both parties

understand a “pre-fabricated duct” is a “factory-built” duct. See Pl.’s Br. 20 (positing “those in

the relevant industry distinguish between ‘field-fabricated’ versus ‘pre-fabricated’ / ‘factory-

built’ fire-rated exhaust ducts”); Reply Br. 13 (referring to “an exhaust duct that is pre-fabricated

and factory-built”); cf. ’569 Patent col. 7 ll. 24–29, J.A. 0015 (“The insulation material . . . is

affixed to the inner face or side of the outer metallic layer . . . using suitable adhesives and/or

mechanical fasteners, in order to provide for pre-fabrication at the factory and thereby minimize

the number of components transported to and assembled on site.”).

       “[P]atents disclose ‘embodiments’ and ‘preferred embodiments’ of the claimed invention,

the purposes of which are ‘to provide a disclosure to the public of [the inventor’s] best mode of

carrying out the invention when the applications were filed.” Edelbrock, LLC v. Whipple Indus.,

Inc., Case No. 1:19-cv-01502-DAD-EPG, 2021 WL 321643, at *3 (E.D. Cal. Feb. 1, 2021)

(alteration in original) (quoting Constr. Tech., Inc. v. Cybermation, Inc., 965 F. Supp. 416, 431

(S.D.N.Y. 1997)). “Such a disclosure is included for the benefit of the public, rather than to limit

the scope of the invention.” Id. (citing Constr. Tech., Inc., 965 F. Supp. at 431) (other citation

omitted). Accordingly, a patent’s “claims, not specification embodiments, define the scope of

patent protection,” see Kara Tech. Inc. v. Stamps.com Inc., 582 F.3d 1341, 1348 (Fed. Cir. 2009)



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(emphasis added), and “although the specification[] may well indicate that certain embodiments

are preferred, particular embodiments appearing in a specification will not be read into the

claims when the claim language is broader than such embodiments,” KCJ Corp. v. Kinetic

Concepts, Inc., 223 F.3d 1351, 1356 (Fed. Cir. 2000) (quotation marks and alteration omitted).

As the Federal Circuit has often explained, “it is improper to read limitations from a preferred

embodiment described in the specification—even if it is the only embodiment—into the claims

absent a clear indication in the intrinsic record that the patentee intended the claims to be so

limited.” See, e.g., GE Lighting Sols., LLC v. AgiLight, Inc., 750 F.3d 1304, 1309 (Fed. Cir.

2014) (quotation marks and alteration omitted). Stated differently, for the specification to

disavow claim scope, it “must contain expressions of manifest exclusion or restriction.” See

Cont’l Circuits, 915 F.3d at 797 (quotation marks omitted).

       But a specification disavowal, like a prosecution history disavowal, “need not be

explicit.” Poly-Am., 839 F.3d at 1136 (citation omitted); see Rembrandt Patent Innovations,

LLC v. Apple, Inc., 716 F. App’x 965, 972 (Fed. Cir. 2017) (“[D]isclaimer does not require

express statements by the patentee identifying the surrendered claim scope. Rather, it may be

implicit, so long as it is sufficiently clear.” (citing Straight Path IP Grp., Inc. v. Sipnet EU

S.R.O., 806 F.3d 1356, 1361 (Fed. Cir. 2015)). Two types of implicit specification disavowal are

relevant here. First, “an inventor may disavow claims lacking a particular feature when the

specification describes ‘the present invention’ as having that feature.” See Poly-Am., 839 F.3d at

1136 (citation omitted). In other words, “[w]hen a patent . . . describes the features of the

‘present invention’ as a whole, this description limits the scope of the invention.” Verizon, 503

F.3d at 1308; see also C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 864 (Fed. Cir. 2004)

(“Statements that describe the invention as a whole, rather than statements that describe only



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preferred embodiments, [can] . . . support a limiting definition of a claim term.” (citation

omitted)). Such statements “are more likely to be found in certain sections of the specification,

such as the Summary of the Invention,” C.R. Bard, 388 F.3d at 864 (citation omitted), as well as

the abstract, see, e.g., Aspex Eyewear, Inc. v. Marchon Eyewear, Inc., 672 F.3d 1335, 1349 (Fed.

Cir. 2012), the background, see, e.g., Eon-Net LP v. Flagstar Bancorp, 653 F.3d 1314, 1321

(Fed. Cir. 2011), and even the title, see, e.g., UltimatePointer, L.L.C. v. Nintendo Co., 816 F.3d

816, 823 (Fed. Cir. 2016). Second, “an inventor may disavow claims lacking a particular feature

when the specification distinguishes or disparages prior art based on the absence of that feature.”

Poly-Am., 839 F.3d at 1136 (citations omitted); see also Astrazeneca AB v. Mut. Pharm. Co., 384

F.3d 1333, 1340 (Fed. Cir. 2004) (“Where the general summary or description of the invention

describes a feature of the invention . . . and criticizes other products . . . that lack that same

feature, this operates as a clear disavowal of these other products . . . .” (citation omitted)).

        “[I]n either case, an implied disavowal must be clear and may be undermined by other

intrinsic evidence from the patent’s specification.” Kranos IP Corp. v. Riddell, Inc., 339 F.

Supp. 3d 850, 853 (N.D. Ill. 2018). Indeed, “[t]he standard for disavowal of claim scope is . . .

exacting. . . . [and] [t]o find disavowal, [the Court] must find that the specification is both so

clear as to show reasonable clarity and deliberateness, and so unmistakable as to be unambiguous

evidence of disclaimer.” Openwave Sys., Inc. v. Apple Inc., 808 F.3d 509, 513 (Fed. Cir. 2015)

(quotation marks omitted). Ultimately, whether the specification disavows the scope of a claim

must be determined in light of the specification as a whole. See id. at 514–16 (finding a patent’s

specification disavowed the scope of a claim after reviewing the specification’s “Background of

the Invention,” “Summary of the Invention,” and “Detailed Description” sections).




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       DuraSystems satisfies this heavy burden. First, it points to the first sentence of the ’569

Patent’s “Brief Summary of the Invention.” See Pl.’s Br. 21 (quotation marks omitted). This

sentence provides “[t]he present invention comprises embodiments of a modular fire-rated duct

system and improvements therein and suitable for pre-fabrication and configured for assembly

in the field,” ’569 Patent col. 2 ll. 22–25, J.A. 0012 (emphasis added), and thereby makes clear

“pre-fabrication” is a “characteristic feature” of the invention as a whole, see Poly-Am., 839 F.3d

at 1136–37 (determining one sentence in the specification of the patent at issue “describe[d] a

characteristic feature of the invention” and found, based in part on this sentence, that the patent

“clearly and unequivocally disavow[ed] claims” lacking that feature). Indeed, by indicating the

invention is “suitable for pre-fabrication,” it describes “pre-fabrication” as a feature thereof. See

Astrazeneca, 384 F.3d at 1340 (holding the specification disavowed “nonsurfactant solubilizers”

in part because the specification “twice describe[d] micelle structures as a feature of the

[invention]” by stating “[t]his form of controlled release mechanism is a suitable way to control

the release of the micelles of drug and solubilizer” and it was “undisputed that surfactants are the

only solubilizers believed to form micelle structures in [the relevant environment]” (quotation

marks and citations omitted)). This sentence, which prefaces three paragraphs separately

describing embodiments of the invention, is precisely the kind of “summation sentence” that can

effectuate an implicit disavowal. See GPNE Corp. v. Apple Inc., 830 F.3d 1365, 1371 (Fed. Cir.

2016) (finding a single sentence in the specification could limit claim language because it was “a

summation sentence which describe[d] the invention as a whole” (emphasis and quotation marks

omitted)).

       Second, DuraSystems claims the “Background of the Invention” disparages fire-rated

ducts that are not pre-fabricated and compares them to pre-fabricated ducts in a way that



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“confirm[s] to a P[]OSITA that the ’569 patent distinguishes between field-applied and pre-

fabricated or factory-built fire-rated exhaust ducts.” Pl.’s Br. 20–21 (citations omitted). In

relevant part, the Background of the Invention provides:

        Known fire-rated exhaust duct systems are typically fabricated in sections, and the
        sections are shipped to the installation location. At the installation location, the
        sections are welded together to form continuous conduits or conduit sections.
        Due to field conditions, the welding could be of poor work quality, for instance,
        due to limited space and/or setup. This means expensive rework and re-welding
        to seal leaks in the duct system during pressure testing. Conventional fire-rated
        duct systems typically require the installation of an additional gypsum fire-rated
        enclosure (approximately 10” thick) around the duct. In addition to requiring an
        additional step, the gypsum enclosure is typically constructed/installed by another
        trade.

’569 Patent col. 1 ll. 61–67, col. 2 ll. 1–6, J.A. 0012. It then explains:

        In an attempt to overcome the known shortcomings in the art, chimney
        manufacturers introduced pre-fabricated fire-rated exhaust ducts based on a
        modification of existing chimney exhaust systems. While these pre-fabricated
        fire-rated exhaust ducts addressed shortcomings of existing systems, the
        characteristic round profile significantly limits the volume of air that can be
        vertically carried in conventional building footprints, and in a horizontal
        configuration, the round profile or cross section is often too large to fit into
        conventional ceiling spaces or dimensions.

Id. col. 2 ll. 7–16, J.A. 0012.

        These passages disavow ducts that are not pre-fabricated. As DuraSystems notes, the

first passage explains and discusses the disadvantages of fire-rated exhaust ducts that have to be

augmented with “gypsum fire-rated enclosure[s]” at “the installation location”—which a

POSITA would understand to be “field-applied.” See id. col. 1 ll. 61–67, col. 2 ll. 1–6, J.A.

0012; Pl.’s Br. 20–21 (citing Crimi Decl. ¶¶ 61–62). The second passage then, after referencing

“the known shortcomings in the art,” introduces “pre-fabricated fire-rated exhaust ducts.” Id.

col. 2 ll. 7–9, J.A. 0012. While it describes another shortcoming with these ducts, the issue is not

that they are “pre-fabricated” or otherwise cumbersome to put together but that they are round.



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Id. col. 2 ll. 10–14, J.A. 0012.13 While the “Detailed Description of the Embodiments”

contemplates “applications . . . [in which] the insulating material . . . and the outer metallic

profile . . . be kept as separate components and then field installed over [the] joint between the

exhaust duct sections,” ’569 Patent col. 7 ll. 30–34, J.A. 0015 (emphasis added), such

applications are only contemplated “where size and weight limitations and/or characteristics”

require them, id., “thus even further disparaging” ducts that are not pre-fabricated, see

UltimatePointer, 816 F.3d at 823 (“Although the [patent at issue] does include one embodiment

where the handheld device ‘may include a conventional, indirect pointing device,’ indirect

pointing is only used ‘where direct pointing is not possible or not desired,’ thus even further

disparaging indirect pointing.” (citation omitted)). Ultimately, by distinguishing between “field

applied” and “pre-fabricated” ducts, the Background of the Invention disavows the former and

thereby limits the scope of the claims to the latter. See Poly-Am., 839 F.3d at 1136 (finding the

inventor of a patent for certain trash bags “disavow[ed] claims lacking a particular feature” by

stating in the specification that prior art trash bags “are difficult to secure over trash receptable

lips”).

          To be sure, some Federal Circuit decisions arguably held statements characterizing an

invention as a whole can only disavow subject matter if they are made “repeatedly and

consistently.” See Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1346–48 (Fed. Cir.

2004) (holding a claim term was properly construed in accordance with a limitation that was

“repeatedly and consistently” indicated in the specification by statements that “broadly




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  Not surprisingly, the invention addresses this shortcoming. See, e.g., ’569 Patent col. 9 ll. 14–16, J.A. 0016
(claiming “[t]he modular fire-rated exhaust duct assembly as claimed in claim 1, wherein said exhaust duct modules
have a generally rectangular cross-section”); id. col. 9 ll. 47–51, J.A. 0016 (claiming “[a]n exhaust duct module
configured to be assembled in the field to form a fire-rated exhaust duct assembly, said exhaust duct module
comprising: an inner duct liner formed with a generally rectangular cross-section”).

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describe[d] the overall inventions of [the] patent[]”); Sunovion Pharms., Inc. v. Teva Pharms.,

Inc., 731 F.3d 1271, 1277 (Fed Cir. 2013) (“The applicants’ repeated and consistent attribution

of the purity level of less than 0.25% levorotatory isomer to ‘the invention’ and ‘the instant

invention’ thus gives meaning to the term ‘essentially free.’” (citing Microsoft, 357 F.3d at 1348)

(other citation omitted)); see also Thermal Sols., Inc. v. Imura Int’l U.S.A., Inc., No. 08-2220-

JWL, 2009 WL 3126227, at *4 (D. Kan. Sept. 29, 2009) (referring to the “Microsoft standard . . .

which allows the claim scope to be limited if the patent ‘repeatedly and consistently’ describes

the scope of the invention (and not a mere embodiment) as limited”).14 And the Federal Circuit

has also said “[t]o find disavowal of claim scope through disparagement of a particular feature,

we ask whether ‘the specification goes well beyond expressing the patentee’s preference . . .

[such that] its repeated derogatory statements . . . may be viewed as a disavowal.’” Openwave

Sys., Inc., 808 F.3d at 513 (quoting Chi. Bd. Options Exch., Inc. v. Int’l Sec. Exch., LLC, 677

F.3d 1361, 1372 (Fed. Cir. 2012)) (citing SafeTCare Mfg., Inc. v. Tele-Made, Inc., 497 F.3d

1262, 1269–70 (Fed. Cir. 2007)).

         As mentioned above, the specification only contains one statement describing the

invention as a whole. Whether it “repeatedly” disparages the prior art is not clear. But it is also

not clear whether the aforementioned caselaw signals it is necessary or sufficient for statements

describing an entire invention or disparaging the prior art to be repeated. More importantly,



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   In addition, the Federal Circuit in GPNE, before finding a single summation sentence can limit claim language if
it describes an invention as a whole, 830 F.3d at 1371, recognized “when a patent ‘repeatedly and consistently’
characterizes a claim term in a particular way, it is proper to construe the claim term in accordance with that
characterization,” id. at 1370 (citing VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308 (Fed. Cir. 2014); ICU Med., Inc.
v. Alaris Med. Sys., Inc., 558 F.3d 1368, 1374–75 (Fed. Cir. 2009)), and noted limiting words in the patent at issue
were employed in the specification over 200 times, id. While the court did not indicate those words addressed the
invention as a whole, one of the cases it cited, VirnetX, speaks to words that do. See VirnetX, 767 F.3d at 1318
(“The fact that anonymity is ‘repeatedly and consistently’ used to characterize the invention strongly suggests that it
should be read as part of the claim.” (citation omitted)).


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numerous other Federal Circuit decisions indicate both of these types of implicit disavowal are

considered together when determining whether a specification disavows subject matter. See

UltimatePointer, 816 F.3d at 823 (“Taken together, the repeated description of the invention as a

direct-pointing system, the repeated extolling of the virtues of direct pointing, and the repeated

criticism of indirect pointing clearly point to the conclusion that the “handheld device” in claims

1, 3, 5, 6, and 12 is limited to a direct-pointing device.”); Forest Labs., LLC v. Sigmapharm

Labs., LLC, 918 F.3d 928, 933 (Fed. Cir. 2019) (affirming the district court’s construction of a

claim term after observing the specification, among other things, “describe[d] the features of the

present invention as a whole” and “explained the benefits [thereof] over the prior art” (quotation

marks and citation omitted)).15 Considering these two forms of implicit disavowal together

makes sense, as whether a specification can disavow claim scope is determined with reference to

the entire specification, not just to certain sections. Cf., e.g., Alloc, Inc. v. Int’l Trade Comm’n,

342 F.3d 1361, 1370 (Fed. Cir. 2003) (“[T]his court looks to whether the specification refers to a

limitation only as a part of less than all possible embodiments or whether the specification read

as a whole suggests that the very character of the invention requires the limitation be a part of

every embodiment.” (emphasis added)). And it would make no sense to ignore demonstrable

evidence of disavowal simply because two statements may be off in slightly different doctrinal

silos. Implicit disavowal by a statement describing an entire invention and by one disparaging



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  On at least one occasion, the Federal Circuit even blended these types of implicit disavowal together. In Eon-Net
LP, the Federal Circuit affirmed the district court’s decision to limit the claim terms “document,” “file,” “extract,”
and “template” to “information that originates from a hard copy document,” 653 F.3d at 1321. In doing so, it noted
the specification of the relevant patent “repeatedly and consistently define[d] the invention as a system that
processes information from hard copy documents.” Id. However, in supporting this proposition, it cited (among
other things) language that, instead of describing the entire invention, disparaged the prior art. See id. (“The written
description repeatedly and consistently defines the invention as a system that processes information derived from
hard copy documents. The Background of the Invention section explains that ‘conventional systems have limitations
which decrease the efficiency of processing information from a hard copy document.’” (citation omitted)).


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the prior art are two sides of the same coin: two concepts that help courts answer the ultimate

question of whether a specification disavows claim scope. Here, based on the summation

sentence and the passages disparaging the prior art mentioned above, the ’569 Patent’s

specification limits the reach of “exhaust duct modules” to those that are “pre-fabricated” in

accordance with DuraSystems’s proposed (and herein adopted) construction.

         Defendants also argue “claim 1 explicitly requires ‘field assembly’ when other

independent claims do not, creating a presumption that the ‘exhaust duct module’ in all the

independent claims cannot be as limited.” Reply Br. 13 (citation omitted). In other words, they,

assuming arguendo “field assembled” means “pre-fabricated,” see id.,16 contend because claim 1

refers to “field assembly” and the rest of the Independent Claims do not, “field assembly”—and

by extension, “pre-fabrication”—can only relate to that claim and therefore only describes one

embodiment in the ’569 Patent, and not the invention itself.

         This argument implicates the doctrine of claim differentiation:

         The doctrine of claim differentiation stems from the common sense notion that
         different words or phrases used in separate claims are presumed to indicate that
         the claims have different meanings and scope. Although the doctrine is at its
         strongest where the limitation sought to be “read into” an independent claim
         already appears in a dependent claim, there is still a presumption that two
         independent claims have different scope when different words or phrases are used
         in those claims.

Seachange Int’l, Inc. v. C-COR, Inc., 413 F.3d 1361, 1368–69 (Fed. Cir. 2005) (quotation marks

and citations omitted). “However, claim differentiation is a rebuttable presumption that may be


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   “Field assembled” (as opposed to “field applied,” see Crimi Decl. ¶¶ 56–57, 65) does mean “pre-fabricated.” This
is demonstrated by the testimony of DuraSystems’s expert, who explained “[a] P[]OSITA would understand . . . a
fire-rated exhaust duct ‘suitable for pre-fabrication’ that is ‘configured for assembly in the field’ to refer to a pre-
fabricated or factory-built fire-rated exhaust duct because that is precisely what a pre-fabricated or factory-built fire-
rated exhaust duct is.” Id. ¶ 64; see generally id. ¶¶ 61–65. Defendants do not seriously attack this testimony, and
the Court can rely upon it. See Phillips, 415 F.3d at 1318 (explaining expert testimony can “provide background on
the technology at issue, . . . explain how an invention works, . . . ensure that the court’s understanding of the
technical aspects of the patent is consistent with that of a [POSITA], . . . [and] establish that a particular term in the
patent or the prior art has a particular meaning in the pertinent field” (citations omitted)).

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overcome by a contrary construction dictated by the written description or prosecution history.”

Howmedica Osteonics Corp. v. Zimmer, Inc., 822 F.3d 1312, 1323 (Fed. Cir. 2016) (citation

omitted). Indeed, “claim differentiation is a rule of thumb that does not trump the clear import of

the specification,” Edwards Lifesciences LLC v. Cook Inc., 582 F.3d 1322, 1332 (Fed. Cir. 2009)

(citation omitted), and “[w]hile claim differentiation may be helpful in some cases, it is just one

of many tools used by courts in the analysis of claim terms,” Netcraft Corp. v. eBay, Inc., 549

F.3d 1394, 1400 n.1 (Fed. Cir. 2008).

         Here, for the reasons stated above, this presumption has been rebutted by the

specification. Accordingly, “exhaust duct module” is construed as “a section of pre-fabricated,

factory-built exhaust duct.”17

                  c.       “joint encasement section”

       Claim Term                  DuraSystems’s                     Defendants’                   Court’s
                                    Construction                    Construction                Construction
 “joint encasement             “one or more parts              “one of multiple parts         “a section of an
 section”                      configured to encase the        having a 3-dimensional         exhaust duct
                               junction between two            profile that together          module
                               exhaust duct modules”           encase the junction            configured to
                                                               between two duct               encase the
                                                               modules”                       junction between
                                                                                              two exhaust duct
                                                                                              modules”


         The term “joint encasement section” appears in claims 1 and 7–9. In relevant part, Claim

1 claims “[a] modular fire-rated exhaust duct assembly comprising: . . . a joint encasement



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  In their reply brief, Defendants for the first time argue DuraSystems’s proposed construction (which the Court
herein adopts) “impermissibly reads out disclosed embodiments,” Reply Br. 13 (citation omitted), because their
expert “testified that Plaintiff’s proposed construction excludes laboratory exhaust ducts,” id. (citing Crimi Dep.
52:9–24). But Crimi said no such thing. The cited passage shows he only testified the ’569 Patent’s claims do not
relate to laboratory exhaust ducts, not DuraSystems’s proposed construction of “exhaust duct module.” See Crimi
Dep. 52:9–15. Moreover, when asked whether the term “exhaust duct module” excludes laboratory exhaust ducts,
he answered in the negative, explaining “when I see the term ‘fire-rated exhaust duct modules[,’] that, based on
present knowledge of the art, such a thing doesn’t exist in certainly consensus standards.” Id. at 52:18–24.

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section configured to be field connectable to each of said exhaust duct modules and encase said

junction.” ’569 Patent col. 8 ll. 47–48, col. 9 ll. 7–9, J.A. 0015–16. The parties do not dispute a

“joint encasement section” is meant to “encase the junction between two exhaust duct modules.”

See Joint Claim Construction Chart 3. But, as explained below, they dispute the meanings of the

terms “encasement” and “section.”

                   i.      “Encasement”

       The parties agree the plain and ordinary meaning of “encase” is “to enclose in or as if in a

case.” Opening Br. 22 (citing The American Heritage Dictionary, supra at 284); cf. Pl.’s Br. 23

(referring to this definition as that of “encasement”). They differ on whether this definition

means a joint encasement section must have a 3-dimensional profile. Defendants assert “[a] case

has thickness—a 3-D profile,” Opening Br. 22, and cite (albeit with little explanation) three

figures from the ’569 Patent, id. (citations omitted). They also cite the prosecution history,

arguing Duffy disclaimed a “joint encasement section” that does not have a 3-dimensional

structure by distinguishing Callan, which teaches a joint encasement section that has a channel

strip. See Opening Br. 23. DuraSystems asserts Defendants’ figure-based argument is legally

improper because limitations from the specification cannot be imported into the claims and their

prosecution history-based argument is factually improper because Duffy did not mention 3-

dimensional profiles when attempting to distinguish Callan. Pl.’s Br. 23.

       The claims do not say anything about a “joint encasement section” having a 3-

dimensional profile. Defendants’ attempts to limit their scope by arguing a “joint encasement

section” must have a 3-dimensional profile fail. See Fujifilm Corp. v. Motorola Mobility LLC,

Case No. 12-cv-03587-WHO, 2015 WL 757575, at *12 (N.D. Cal. Feb. 20, 2015) (“[N]either a

patent’s specification nor its prosecution history may be used to ‘narrow a claim term or deviate



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from the plain and ordinary meaning unless the inventor acted as his own lexicographer or

intentionally disclaimed or disavowed claim scope.’” (quoting Aventis Pharms. Inc. v. Amino

Chems. Ltd., 715 F.3d 1363, 1373 (Fed. Cir. 2013)); see also discussion on prosecution history

disavowal supra pp. 24–25; discussion on specification disavowal supra pp. 34–36.

       First, Defendants’ reliance on Figures 7–9 of the ’569 Patent is misplaced. Defendants

chiefly rely on Figure 7 (which is referenced by Figures 8 and 9) in arguing their “proposed

construction is . . . consistent with the specification which depicts multiple parts having [a] 3-

dimensional profile, that when arranged together, encase the joint.” Opening Br. 22–23 (citation

omitted). But “courts may not limit patent claims to what is depicted in the drawing figures,

because this would wrongly import limitations onto the claim from the specification, which is

fraught with danger.” Net Results, Inc. v. United States, 112 Fed. Cl. 133, 149 (Fed. Cl. 2013)

(quotation marks and citation omitted). Indeed, “a patent need not illustrate the full scope of the

invention,” Arlington Indus., Inc. v. Bridgeport Fittings, Inc., 632 F.3d 1246, 1254 (Fed. Cir.

2011) (citation omitted), and “patent coverage is not necessarily limited to inventions that look

like the ones in the figures,” MBO Labs., Inc. v. Becton, Dickinson & Co., 474 F.3d 1323, 1333

(Fed. Cir. 2007) (citation omitted). While figures can be limiting if they represent an entire

invention or are described using strict language, see TiVo, Inc. v. EchoStar Commc’ns Corp., 516

F.3d 1290, 1300–01 (Fed. Cir. 2008) (rejecting an attempt to discount the limiting effect of a

figure because the figure was not described with reference to a preferred embodiment and used

language such as “must” and “necessary”), the ’569 Patent’s “Brief Description of the Drawings”

makes clear Figure 7 only depicts an embodiment of the claimed invention, ’569 Patent col. 3 ll.

49–53, J.A. 0013. The Federal Circuit “will not countenance the importation of claim limitations

from a few specification statements or figures into the claims, particularly if those specification



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extracts describe only embodiments of a broader claimed invention,” Comput. Docking Station,

519 F.3d at 1374 (citation omitted), and neither will this Court.18

        Second, Defendants do not demonstrate Duffy disclaimed a joint encasement section that

does not have a 3-dimensional structure while prosecuting the ’569 Patent. In rejecting the first

draft of the ’569 Patent, the examiner noted Callan “teaches a modular fire-rated exhaust duct

assembly comprising: . . . a joint encasement section . . . configured to be field connectable to

each of said exhaust duct modules and encase said junction.” Non-Final Rejection ¶ 4, J.A.

0257–58. Duffy countered that Callan does not teach a joint encasement section because “the

locking clip . . . described and taught by Callan” “does not encase the junction,” as it “merely

comprises a channel strip that makes a physical connection between adjacent sections.

Amendment 11, J.A. 0296.

        This did not change the examiner’s mind. In rejecting the second draft of the ’569 Patent,

the examiner explained that based on the language of claim 1 thereof,

        the joint encasement section only functions to connect the duct modules and
        encase the junction. As seen in figures 1 and 10 of Callan, the locking clip . . .
        joins two duct sections together and also covers the junction of the joint and thus
        satisfies the requirements of the claims. Therefore, Callan does indeed teach a
        joint encasement section as recited in the claims.

Final Rejection ¶ 8, J.A. 0312. Duffy neither amended nor addressed the language regarding the

joint encasement section in his Request for Continued Examination and Amendment, and the

examiner did not address it in the Notice of Allowability.

        Defendants say Duffy disclaimed a joint encasement section that does not have a 3-

dimensional structure in responding to the examiner’s first rejection because he “confirm[ed] that


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  Moreover, it appears Defendants abandoned their figures-based argument in their reply brief. See Reply Br. 13–
14 (stating “Defendants’ proposed construction [does not] import[] limitations from the specification” and
“Defendants’ proposed construction flows specifically from arguments made during prosecution, not a particular
embodiment” (emphasis added) (citations omitted)).

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[his] ‘joint encasement section’ must ‘encase the junction,’” whereas Callan’s joint encasement

section is “a flat ‘channel strip’ or locking clip [that] merely sits on top of the junction.”

Opening Br. 23; see also id. (“Plaintiff distinguished its application claims from Callan, a 3-

dimensional structure (as opposed to a mere flat strip) that encloses the junction on all sides (as

opposed to just one side) would be necessary.”). However, as DuraSystems notes, Duffy did not

“distinguish Callan based on the lack of a 3-dimensional profile,” but because Callan’s “joint

encasement section” “does not ‘encase the junction.’” See Pl.’s Br. 23 (quotation marks and

citation omitted). In fact, the term “3-dimensional” does not appear once in Duffy’s rebuttal.

Defendants’ position rests on the idea “[a] case has thickness—a 3-D profile,” and that because

Duffy emphasized his joint encasement section must “encase the junction,” he declared his joint

encasement section must have a 3-dimensional profile. But Defendants cite nothing in the

prosecution history or anywhere else that supports the idea a joint encasement section that

encases a junction must be 3-dimensional—the threshold proposition “[a] case has thickness—a

3-D profile” is not accompanied by a single citation. Duffy’s rebuttal can hardly be classified as

a “clear and unmistakable” disclaimer of a joint encasement section without a 3-dimensional

structure. See Mass. Inst. of Tech., 839 F.3d at 1119 (noting “for prosecution disclaimer to

attach, the disavowal must be both clear and unmistakable” (quotation marks omitted)).

        This conclusion is further supported by the examiner’s response to Duffy’s rebuttal. See

Salazar, 414 F.3d at 1347 (“Statements about a claim term made by an examiner during

prosecution of an application may be evidence of how one of skill in the art understood the term

at the time the application was filed.”). In their reply brief, Defendants note DuraSystems

“offers no explanation why the locking clip [in Callan] did not ‘encase’ the joint.” Reply Br. 14.

But the examiner noted it did, explaining Callan teaches a joint encasement section because “the



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joint encasement section only functions to connect the duct modules and encase the junction”

and “the locking clip . . . joins two duct sections together and also covers the junction of the joint

and thus satisfies the requirements of the claim.” Final Rejection ¶ 8, J.A. 0312. While the

examiner ultimately granted Duffy’s application (and therefore may have taken a different view

of Duffy’s rebuttal), he said nothing in the Notice of Allowability to suggest Duffy’s “joint

encasement section” has a 3-dimensional profile, and his silence certainly cannot constitute a

disclaimer. Cf. Salazar, 414 F.3d at 1345 (“[A]n applicant’s silence regarding statements made

by the examiner during prosecution, without more, cannot amount to a clear and unmistakable

disavowal of claim scope.” (citation omitted)).

                   ii.     “Section”

       The parties next dispute whether a joint encasement section must have multiple parts.

See Joint Claim Construction Chart 3. Defendants say yes and note a dictionary defines

“section” as “one of several component parts that may be assembled or reassembled.” See

Opening Br. 23–24 (emphasis omitted) (citing Webster’s New Collegiate Dictionary 1036

(1980), Opening Br. Ex. T, ECF No. 31-21). DuraSystems takes no issue with this definition,

see Pl.’s Br. 23 (citation omitted), arguing it does nothing to support Defendants’ construction

because a joint encasement section “is only one of several component parts of the ‘exhaust duct

assembly’ and ‘exhaust duct module’ of the claims, the other component parts including . . . the

inner duct liner, outer casing, thermal spacers, insulation, and flange connector,” see id. (citation

omitted).

       Nothing in the intrinsic record indicates a joint encasement section must have multiple

parts. Therefore, the issue here is whether this definition supports Defendants’ proposed

construction. See Helmsderfer, 527 F.3d at 1382 (noting a court can rely upon a dictionary



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definition in construing a claim term so long as it “does not contradict the meaning otherwise

apparent from the intrinsic record”). Defendants contend the language “one of several

component parts” shows a joint encasement section must in turn have multiple parts; “parts” are

therefore parts of a “joint encasement section.” DuraSystems asserts “parts” are not parts of a

joint encasement section but parts of an exhaust duct module as a whole.

        The ’569 Patent shows DuraSystems is correct. The ’569 Patent teaches an exhaust duct

system that is “configured for assembly in the field,” ’569 Patent col. 2 ll. 24–25, J.A. 0012, and

contains a number of exhaust duct modules, each of which having a number of distinct parts,

including an inner duct liner, id. col. 8 ll. 50–51, J.A. 0015, an outer casing, id. col. 8 ll. 51, J.A.

0015, and thermal spacers, id. col. 8 l. 55, J.A. 0015. A joint encasement section is one of those

parts. See id. col. 9 l. 7, J.A. 0016. Accordingly, the dictionary definition of “section” merely

supports the unremarkable proposition that a joint encasement section is a part of an exhaust duct

module and “parts” are not parts of a joint encasement section but of an exhaust duct module. It

does not support adopting Defendants’ proposed construction.

        Moreover, Defendants’ proposed construction does not make sense if “parts” were parts

of a joint encasement section. If that were so, Defendants’ proposed construction would provide

that a joint encasement section is “one of multiple parts of a joint encasement section.” And

their proposed construction still does not hold water with “parts” constituting parts of an exhaust

duct module. Indeed, if a joint encasement section is one of multiple parts of an exhaust module,

it would be erroneous to note they (the inner duct, the outer casing, and such) “together encase

the junction between two duct modules” when not all of them have that function; only the joint

encasement section does.




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       But DuraSystems’s construction is faulty as well, as it is unnecessary to note a joint

encasement section has “one or more parts,” given there is no guidance on how many parts it

must have. Moreover, even including the word “parts” could cause confusion, as it may not be

entirely clear whether “parts” refer to parts of a joint encasement section or parts of an exhaust

duct module. See, e.g., j2 Glob. Commc’ns, Inc. v. Vitelity Commc’ns, LLC, No. CV 11-07904

DDP (Ex), 2013 WL 5220173, at *6 (C.D. Cal. Sept. 13, 2013) (finding a word in a proposed

claim construction was “unnecessary surplusage” and noting “[a]dding unnecessary verbiage is

likely to confuse the jury, and, thus, frustrate one of claim construction’s chief purposes”

(citation omitted)). Indeed, the briefing has borne out this concern.

       Defendants’ other arguments as to why a joint encasement section should be construed to

have multiple parts are without merit. First, they assert Figures 7–9 of the ’569 Patent show a

joint encasement section must have multiple parts. But just as it is improper to rely upon these

figures to argue a joint encasement section must have a 3-dimensional profile, it is improper to

rely upon them to argue it must have multiple parts. See supra at p. 45–46.

       Second, they argue if a section is a part of an exhaust duct module, the word “section”

would be surplusage. See Reply Br. 14–15 (“Plaintiff chose to attach the word ‘section’ to the

term ‘joint encasement’; other components in the claim (e.g., flange connectors) are not modified

by the word ‘section.’ To read the word ‘section’ into every claimed component would

improperly render the word ‘section’ in ‘joint encasement section’ surplusage.” (citation

omitted)). In a vacuum, this argument is appealing, as “[i]t is highly disfavored to construe

terms in a way that renders them void, meaningless, or superfluous.” See Wasica, 853 F.3d at

1288 n.10 (citation omitted). But the rule against surplusage is not a hard and fast one.




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          First, the Federal Circuit has tolerated surplusage when the terms involved do not have

different meanings. In Pickholtz v. Rainbow Technologies, Inc., 284 F.3d 1365 (Fed. Cir. 2002),

the Federal Circuit examined the terms “computer” and “computer system” and found the patent

at issue used them as synonyms. Id. at 1373. While the court noted it usually would have been

inclined to give meaning to the word “system,” see id. (citation omitted), there was no reason to

because the patent “provides no indication that the two terms mean different things,” id.

“Instead, the patent uses the term ‘computer system’ in the specification and the term ‘computer’

in the claims; nothing in the patent itself explicates their relationship or indicates any difference

in meaning.” Id.; see also ERBE Elektromedizin GmbH v. Canady Tech. LLC, 629 F.3d 1278,

1286 (Fed. Cir. 2010) (“[S]urplusage may exist in some claims.” (citing Pickholtz, 284 F.3d at

1373)).

          Pickholtz is instructive, as the terms “joint encasement” and “joint encasement section”

are used interchangeably in the ’569 Patent. Indeed, while the ’569 Patent often employs the

term “joint encasement section,” e.g., ’569 Patent col. 9 l. 32, J.A. 0016, it also uses the term

“joint encasement” three times in the specification, e.g., id. col. 7 ll. 15–16, J.A. 0015 (“The joint

encasement . . . is configured to encase or surround the joint . . . .”), and does not indicate they

mean anything different. While the terms “joint encasement” and “joint encasement section”

both appear in the specification, see, e.g., id. col. 7 ll. 15–16, 41 J.A. 0015, only one of them

(“joint encasement section”) appears in the claims, see, e.g., id. col. 9 l. 32, J.A. 0016; see also

Bioverativ Inc. v. CSL Behring LLC, Civil Action No. 1:17-cv-00914-RGA, 2019 WL 1276030,

at *7 (D. Del. Mar. 20, 2019) (noting while its construction of a term rendered language

superfluous, the construction was permissible because “[t]he individual words of the term have




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meaning, but the term does not add a new limitation because it is inherent in the rest of the

claim” and it was “the only reasonable result considering the intrinsic record”).

        Second, in any case, “no canon of claim construction is absolute in its application,”

Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1248 (Fed. Cir. 1998), and, like

the canon of claim differentiation, this canon can be overcome by the weight of the rest of the

intrinsic evidence. Indeed, in Decisioning.com, Inc. v. Federated Department Stores, Inc., 527

F.3d 1300 (Fed. Cir. 2008), the Federal Circuit realized its construction of one claim term may

have rendered the construction of another surplusage but stood by it in light of the intrinsic

evidence. See id. at 1312 n.6 (“In light of the intrinsic evidence that we have discussed, we

conclude that the claims of the ’007 patent are limited to a publicly-accessible ‘remote interface’

despite the fact that such a construction may render the term ‘public’ in claim 16 surplusage.”).

In light of the foregoing discussion, the Court stands by its construction of “joint encasement

section.”19

        Finally, Defendants argue a portion of Duffy’s deposition testimony supports their

proposed construction. They posit he “testified that, when developing his ’569 Patent invention,

he considered using a non-modular, single piece to ‘wrap-around’ the duct, but rejected the

approach because the single piece did not work well,” Opening Br. 24 (citation omitted),

admitting “[w]e have sometimes situations in . . . real life, in construction, where you can’t wrap

around a duct on a site,” id. (quoting Dep. of William Duffy (“Duffy Dep.”) 135:20–22, Opening

Br. Ex. O, ECF No. 31-16). A joint encasement section, therefore, cannot have only one part.




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  Also, even if Defendants’ surplusage argument were meritorious, it would not mean Defendants’ proposed
construction would be adopted. Indeed, accepting their argument would only entail rejecting their dictionary
definition, which provides the primary authority for their proposed construction.

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       This argument fails. As DuraSystems notes, “[a]n applicant is not required to disclose all

possible embodiments covered by a claim.” Pl.’s Br. 24 (citing CCS Fitness, Inc. v. Brunswick

Corp., 288 F.3d 1359, 1366 (Fed. Cir. 2002) (“[O]ur case law makes clear that a patentee need

not describe in the specification every conceivable and possible future embodiment of his

invention.” (quotation marks omitted))). While Defendants reason applicants cannot disclose

“inoperative embodiments” and Duffy’s testimony shows he “disclos[ed] the only working

embodiment using ‘joint encasement sections,’” Reply Br. 15 (emphasis omitted) (citing Trs. of

Bos. Univ. v. Everlight Elecs. Co., 896 F.3d 1357, 1362–65 (Fed. Cir. 2018)), they are off base

for two reasons. First, the case they rely upon is inapposite. Everlight concerns not claim

construction, but the patent code’s enablement requirement, under which a specification must

“contain a written description of the invention, and of the manner and process of making and

using it, in such full, clear, concise, and exact terms as to enable any person skilled in the art to

which it pertains . . . to make and use the same.” See 35 U.S.C. § 112(a); see also Genentech,

Inc. v. Novo Nordisk A/S, 108 F.3d 1361, 1365 (Fed. Cir. 1997) (“[T]o be enabling, the

specification of a patent must teach those skilled in the art how to make and use the full scope of

the claimed invention without undue experimentation.” (alteration in original) (quotation marks

omitted)). Indeed, the issue there was whether a specification taught a POSITA how to make the

claimed device without undue experimentation as of the patent’s effective filing date. Everlight,

896 F.3d at 1363. “Determining whether written-description and enablement requirements are

met is distinct from determining claim scope.” Optis Wireless Tech., LLC v. Apple Inc., Case

No. 2:19-cv-00066-JRG, 2020 WL 1692968, at *10 (E.D. Tex. Apr. 7, 2020) (citing Phillips,

415 F.3d at 1327 (cautioning “we have certainly not endorsed a regime in which validity analysis

is a regular component of claim construction”)).



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       Second, in any event, Duffy did not even testify a one-section joint encasement section is

“inoperative” or does not work. Duffy testified such a joint encasement section does not work in

some situations, not that it does not work at all. See Duffy Dep. 135:16–24 (explaining he used

four separate pieces as opposed to one because while one, wrap-around joint encasement section

could work, “[w]e have sometimes situations . . . in construction, where you can’t wrap around a

duct on a site,” as “[t]here is just no room.” (emphasis added)). There may well be some sites in

which there is sufficient room to “wrap around” a duct, and in those situations, a one-section

“joint encasement section” would work.

                                             *    *   *

       For the foregoing reasons, the term “joint encasement section” is construed as “a section

of an exhaust duct module configured to encase the junction between two exhaust duct

modules.”

               d.      “joined directly”

     Claim Term               DuraSystems’s                 Defendants’              Court’s
                               Construction                Construction            Construction
 “joined directly”        Plain and ordinary          “joined without any        No construction
                          meaning; no                 intervening                needed
                          construction needed         components”


       The term “joined directly” appears in each of the Independent Claims. For example,

Claim 1 partly teaches “a first exterior flange connector, said first exterior flange connector

being joined directly to one end of said inner duct liner, and one end of each of said exhaust duct

modules being configured for receiving said first exterior flange connector.” ’569 Patent col. 8

ll. 60–64, J.A. 0015. Defendants purport to “propose[] a construction that is based on the plain

and ordinary meaning but ensures necessary clarification that no intervening components are

between the exterior flange connector and the inner duct liner.” Opening Br. 24–25 (citation

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omitted). DuraSystems argues this term should not be construed because there is no dispute

regarding its construction and construing it “would not change the outcome of any claim or

defense in the case.” Pl.’s Br. 25.

       Only terms that are in controversy must be construed, “and only to the extent necessary to

resolve the controversy.” Vivid Techs., Inc., 200 F.3d at 803 (citation omitted). Indeed, just

because claim construction is an issue of law does not mean a district judge “must repeat or

restate every claim term.” U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir.

1997). Rather, “[c]laim construction is a matter of resolution of disputed meanings and technical

scope, to clarify and when necessary to explain what the patentee covered by the claims, for use

in the determination of infringement.” Id.; cf. Am. Piledriving Equip., Inc. v. Geoquip, Inc., 637

F.3d 1324, 1331 (Fed. Cir. 2011) (“It is well settled that the role of a district court in construing

claims is not to redefine claim recitations or to read limitations into the claims to obviate factual

questions of infringement and validity but rather to give meaning to the limitations actually

contained in the claims . . . .”). When a court is presented with a purported claim construction

dispute, “[a] threshold question . . . is [therefore] whether and to what extent construction is even

necessary.” Warner Chilcott Co. v. Mylan Inc., Civil Action Nos. 11-6844 (JAP), 11-7228(JAP),

2013 WL 3336872, at *3 (D.N.J. July 2, 2013) (citation omitted).

       As the term “joined directly” is not in controversy, it is not necessary to construe it.

Indeed, while Defendants claim “[t]he parties dispute the meaning of the word ‘directly’ tied to

the word ‘joined,’” Opening Br. 25, they do not identify any dispute. In fact, they do not even

identify DuraSystems’s supposedly contrary position. While they say their proposed

construction “ensures necessary clarification,” id. at 24–25, and cite a Federal Circuit case that

explains a term may need to be construed when it has “more than one ‘ordinary’ meaning or



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when reliance on a term’s ‘ordinary’ meaning does not resolve the parties’ dispute,” id. at 25

(quoting O2 Micro Int’l, 521 F.3d at 1361), they neither explain why clarification is necessary

nor identify more than one “ordinary meaning” of “joined directly.”

       Defendants implicitly argue this term should be construed because it is relevant to

whether they can show the existence of an acceptable non-infringing alternative to the invention

claimed in the ’569 Patent. See Reply Br. 15. They are correct that the existence of a non-

infringing alternative is relevant to two types of patent infringement damages: lost profits, Micro

Chem., Inc. v. Lextron, Inc., 317 F.3d 1387, 1393 (Fed. Cir. 2003) (“[L]ost profits, . . . cannot be

recovered if acceptable non-infringing alternatives were available during the period of

infringement.”), and royalties, Zygo Corp. v. Wyko Corp., 79 F.3d 1563, 1571–72 (Fed. Cir.

1996) (directing a district court to reconsider its reasonable royalty award in light of the

defendant’s ability to market a non-infringing alternative). But “[w]hether a non-infringing

alternative is acceptable is a question of fact,” Meridian Mfg., Inc. v. C & B Mfg., Inc., 340 F.

Supp. 3d 808, 846 (N.D. Iowa 2018) (citing Standard Havens Prods., Inc. v. Gencor Indus., Inc.,

953 F.2d 1360, 1373 (Fed. Cir. 1991)), and “while claim construction involves determining the

scope of the claim terms as a matter of law, it is not the task of the court to determine whether” a

non-infringing alternative exists, cf. Apple, Inc. v. Samsung Elecs. Co., No. 11-CV-01846-LHK,

2012 WL 2993856, at *6 (N.D. Cal. July 20, 2012) (citation omitted) (declining to construe a

claim term because the dispute thereon was not about its construction but about the factual issue

of whether it was disclosed by a prior art reference). This Court will not, under the guise of

claim construction, give the term “joined directly” whatever clarification is required to facilitate

a non-infringing alternative determination and thereby take that issue away from a jury. Cf. PPG

Indus. v. Guardian Indus. Corp., 156 F.3d 1351, 1355 (Fed. Cir. 1998) (determining a court may



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not “under the rubric of claim construction, . . . give a claim whatever additional precision or

specificity is necessary to facilitate a comparison between the claim and [an anticipatory

reference] . . . the task of determining whether the [reference discloses the claim limitation] is for

the finder of fact”).

           Accordingly, the claim term “joined directly” shall not be construed.

     II.      The Motions for Leave to File Under Seal

           DuraSystems and Defendants both move for leave to file under seal documents

supporting their respective claim construction briefs. Defendants move for leave to file under

seal excerpts from Duffy’s deposition because they contain “information represented by

[DuraSystems] as being highly sensitive business information, the disclosure of which is likely to

cause significant harm to [DuraSystems].” Defs.’ Mot. Leave File Under Seal 1. DuraSystems

moves for leave to file under seal excerpts of the deposition of Billie Joe Sims because the

transcript thereof was “designated by counsel for Defendants as HIGHLY CONFIDENTIAL-

ATTORNEYS EYES ONLY and therefore falls under the protection of the parties’ Stipulated

Protective Order and the protection of the Court.” See Pl.’s Mot. Leave File Under Seal 1. Both

motions are unopposed.

           Generally, “the record of a judicial proceeding is public.” Jessup v. Luther, 277 F.3d

926, 927 (7th Cir.20 2002). Those “who want secrecy should opt for arbitration. When they call

on the courts, they must accept the openness that goes with subsidized dispute resolution by



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  A motion for leave to file under seal, which does not involve substantive issues of patent law, is governed by the
law of the regional circuit in which a district court sits. See Apple Inc. v. Samsung Elecs. Co., 727 F.3d 1214, 1220
(Fed. Cir. 2013) (citation omitted) (applying regional circuit law to determine whether the district court abused its
discretion in denying a motion for leave to file under seal); see also ABS Glob., Inc. v. Inguran, LLC, 14-cv-503-
wmc, 2017 WL 3588290, at *1 n.2 (W.D. Wis. Apr. 5, 2017) (“As with other issues not exclusive to patent law, the
Federal Circuit applies regional circuit law regarding confidentiality.” (citing In re Cyclobenzaprine Hydrochloride
Extended-Release Capsule Patent Litig., 497 F. App’x 66, 67 (Fed. Cir. 2013))). Therefore, the Court shall follow
Seventh Circuit law.

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public (and publicly accountable) officials.” Union Oil Co. of Cal. v. Leavell, 220 F.3d 562, 568

(7th Cir. 2000). As such, “when a court finds it necessary to consider certain information in

making a decision, that information should ordinarily be made available to public scrutiny in

order to preserve the integrity of the judicial process.” Fidlar Techs. v. LPS Real Estate Data

Sols., Inc., Case No. 4:13-cv-4021-SLD-JAG, 2013 WL 5973938, at *20 (C.D. Ill. Nov. 8, 2013)

(citing Baxter Int’l, Inc. v. Abbott Labs., 297 F.3d 544, 545 (7th Cir. 2002); Union Oil, 220 F.3d

at 567–68)). As the Seventh Circuit has explained, “those documents, usually a small subset of

all discovery, that influence or underpin the judicial decision are open to public inspection unless

they meet the definition of trade secrets or other categories of bona fide long-term

confidentiality.” Baxter, 297 F.3d at 545.

       These principles are supplemented by this Court’s Local Rules. Under Local Rule 5.10:

       A party who has a legal basis for filing a document under seal without prior court
       order must electronically file a motion for leave to file under seal. The motion
       must include an explanation of how the document meets the legal standards for
       filing sealed documents. The document in question may not be attached to the
       motion as an attachment but rather must be electronically filed
       contemporaneously using the separate docket event “Sealed Document.”

CDIL-LR 5.10(A)(2).

If a motion for leave to file under seal is denied, “the document tendered will remain under seal,

and it will not be considered by the presiding judge for any purpose.” Id. 5.10(A)(4).

       As an initial matter, both motions are substandard. First, Defendants erroneously filed

their motion both in regular order and under seal. Defs.’ Mot. Leave File Under Seal (filed

publicly); Defs.’ Mot. Leave File Under Seal Certain Docs., ECF No. 34 (filed under seal with

the sealed documents attached as exhibits thereto). Second, and more importantly, both motions

contain little to no explanation as to how they “meet[] the legal standards for filing sealed

documents.” See CDIL-LR 5.10(A)(2). While Defendants say the sealed excerpts from Duffy’s


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deposition contain information that constitutes “highly sensitive business information, the

disclosure of which is likely to cause significant harm to [DuraSystems],” Defs.’ Mot. Leave File

Under Seal 1, they do not explain how disclosure could harm DuraSystems or why such harm

could justify secrecy. See Baxter, 297 F.3d at 547 (“Beyond asserting that the document must be

kept confidential because we say so (the ‘agreement is, by its terms, confidential’), this contends

only that disclosure ‘could . . . harm Abbott's competitive position.’ How? Not explained. Why

is this sort of harm (whatever it may be) a legal justification for secrecy in litigation? Not

explained.” (alteration omitted)). While DuraSystems states the transcript of the deposition of

Billie Joe Sims was “designated by counsel for Defendants as HIGHLY CONFIDENTIAL-

ATTORNEYS EYES ONLY,” see Pl.’s Mot. Leave File Under Seal 1, just because Defendants’

counsel said they are confidential does not make them so under Seventh Circuit precedent, see

Orthofix Inc. v. Gordon, Case No. 1:13-cv-01463-SLD-TSH, 2016 WL 1273160, at *5 (C.D. Ill.

Mar. 31, 2016) (“[T]he parties have simply indicated in their motions that the documents in

question have been designated ‘Confidential’ by agreement of the parties, and offer this as

sufficient reason that the documents be filed under seal. This is inadequate; as the [Local Rules]

state[], motions to file under seal must provide a legal basis for granting the request.”); cf. Union

Oil, 220 F.3d at 567–68 (explaining “[c]alling a settlement confidential does not make it a trade

secret, any more than calling an executive's salary confidential would require a judge to close

proceedings if a dispute erupted about payment (or termination)” and noting “requests to seal

proceedings in order to implement the parties’ preference for seclusion. . . . have been uniformly

rejected” (collecting cases)).

       However, the Court has not relied on any portion of the documents filed under seal in

addressing the parties’ claim construction disputes. Accordingly, both motions for leave to file



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under seal are denied, and the sealed documents shall remain sealed. See Bd. of Trs. of Univ. of

Ill. v. Micron Tech., Inc., 245 F. Supp. 3d 1036, 1043 (C.D. Ill. 2017) (denying a motion for

leave to file under seal after noting the material portions of the documents relevant thereto were

not relied upon). The Court will not consider them for any purpose. See CDIL-LR 5.10(A)(4).

                                         CONCLUSION

       For the foregoing reasons, consideration of the claim terms asserted to be indefinite is

DEFERRED and the motions for leave to file under seal, ECF Nos. 33, 37, are DENIED. The

claim terms not asserted to be indefinite are, in accordance with and subject to the above

discussion, construed as follows:

   •   “thermal spacers thermally isolating”: “components that maintain a space between the

       inner duct liner and outer casing that limit the amount of heat conducted through the

       components so that they do not create fail points on the inner duct liner or outer casing

       during fire rating testing”

   •   “exhaust duct module”: “a section of pre-fabricated, factory-built exhaust duct”

   •   “joint encasement section”: “a section of an exhaust duct module configured to encase

       the junction between two exhaust duct modules”

   •   “joined directly”: No construction needed



       Entered this 3rd day of September, 2021.

                                                             s/ Sara Darrow
                                                            SARA DARROW
                                                  CHIEF UNITED STATES DISTRICT JUDGE




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                                                                                           Clerk, U.S. District Court, ILCD
                                  UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF ILLINOIS
                                      ROCK ISLAND DIVISION

    DURASYSTEMS BARRIERS INC.,                            )
                                                          )
                   Plaintiff,                             )
                                                          )
    v.                                                    )       Consolidated Case No. 1:19-cv-01388-
                                                          )       SLD-JEH
    VAN-PACKER CO. & JEREMIAS, INC.,                      )
                                                          )
                   Defendants.                            )

                                                     ORDER

         Before the Court are Plaintiff DuraSystems Barriers Inc.’s Motion for Summary

Judgment of Patent Infringement, ECF No. 63; Motion for Summary Judgment of No Invalidity,

ECF No. 64; and Motion for Summary Judgment Dismissing Defendants’ Inequitable Conduct

Affirmative Defense, ECF No. 65. Also before the Court is Defendants Van-Packer Co. (“Van-

Packer”) & Jeremias, Inc.’s Motion for Summary Judgment of Noninfringement and Invalidity,

ECF No. 67.1 Defendants moved to file certain exhibits under seal, ECF No. 68, as did Plaintiff,

ECF No. 75. For the following reasons, Plaintiff’s Motion for Summary Judgment of Patent

Infringement is GRANTED; Plaintiff’s Motion for Summary Judgment of No Invalidity is

DENIED; Plaintiff’s Motion for Summary Judgment Dismissing Defendants’ Inequitable

Conduct Affirmative Defense is GRANTED; and Defendants’ Motion for Summary Judgment of

Noninfringement and Invalidity is DENIED as to non-infringement, DENIED as to

indefiniteness, DENIED as to written description, DENIED as to enablement, DENIED as to lost

profits, and GRANTED as to convoyed sales. Both motions to seal are DENIED.



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  Defendants moved for leave to file excess pages in their summary judgment motion, ECF No. 62, but later moved
to withdraw that motion, ECF No. 71. Defendants seek to withdraw the motion as their summary judgment motion
in fact complies with the type volume limitation set out by the Local Rules. See Mot. Withdraw 1. The motion to
withdraw is accordingly granted. The Clerk is directed to strike Defendants’ motion for leave to file excess pages.

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                                         BACKGROUND

        This is a patent dispute. Much of its procedural history and many of the underlying facts

have already been recited. See Sept. 3, 2021 Order 1–5, ECF No. 45. The Court will introduce

additional facts throughout its analysis; a high-level overview here will suffice.

        It is undisputed that Plaintiff owns U.S. Patent No. 10,024,569 (the “’569 Patent”). See

Defs.’ Resp. Pl.’s Mot. Summ. J. Infringement 1–2, ECF No. 77. Inventor William Duffy is

Plaintiff’s president. See Defs.’ Resp. Pl.’s Mot. Summ. J. Inequitable Conduct 3, ECF No. 79.

The ’569 Patent describes “a modular fire-rated exhaust duct assembly” containing “two or more

exhaust duct modules.” U.S. Patent 10,024,569 col. 2 ll. 26–28, ECF No. 32-1. The exhaust

duct modules have an inner duct liner, an outer casing, and a void between them. Id. col. 2 ll.

28–31. The void is configured to “receiv[e] . . . insulation material.” Id. col. 2 ll. 31–32. Most

important here is that the void includes “one or more thermal spacers,” which are “configured to

maintain said inner duct liner and said outer casing in a spaced relationship so that said insulation

material occupies said void.” Id. col. 2 ll. 33–36.

        Defendants sell certain exhaust duct products (the “Accused Products”) that Plaintiff

alleges infringe various claims of the ’569 Patent (the “Asserted Claims”). See Defs.’ Resp. Pl.’s

Mot. Summ. J. Infringement 1–2. This litigation arises from those allegations. See First Am.

Compl. ¶¶ 33–49, ECF No. 17. Both parties now seek summary judgment as to myriad aspects

of this case: liability, various defenses, and certain damages.

                                          DISCUSSION

   I.      Motions to Seal Exhibits

        Defendants seek to file Exhibits A, G, H, and I to their motion for summary judgment

under seal because those exhibits “contain information designated as confidential.” Defs.’ Mot.



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Leave File Under Seal 1. Plaintiff, meanwhile, seeks to file Exhibits Q and S to its supplemental

appendix under seal because those exhibits “are excerpts of deposition transcripts designated by

counsel for Defendants as HIGHLY CONFIDENTIAL-ATTORNEYS EYES ONLY and

therefore fall under the protection of the parties’ Stipulated Protective Order.” Pl.’s Mot. Leave

File Under Seal 1. Neither motion cures the deficiencies previously identified by the Court. See

Sept. 3, 2021 Order 57–60 (denying the parties’ “substandard” motions for leave to file certain

exhibits to their respective claim construction briefs under seal, explaining that “just because . . .

counsel said they are confidential does not make them so under Seventh Circuit precedent”).

Claims of confidentiality must be specifically justified. See Baxter Int’l, Inc. v. Abbott Lab’ ys,

297 F.3d 544, 546 (7th Cir. 2002) (outlining the requisite analysis and describing a motion that

“did not analyze the applicable legal criteria or contend that any document contains a protectable

trade secret or otherwise legitimately may be kept from public inspection despite its importance

to the resolution of the litigation” as “[s]o perfunctory . . . that it could have been summarily

rejected”); United States v. Foster, 564 F.3d 852, 854 (7th Cir. 2009) (emphasizing that “[t]he

law could not be clearer” in light of Baxter International); see also Diamond Servs. Mgmt. Co. v.

C&C Jewelry Mfg., Inc., Case No. 19 C 7675, 2021 WL 4258800, at *7 (N.D. Ill. May 11, 2021)

(“[U]nder the common law of the Seventh Circuit, material . . . may not be sealed simply

because one or more parties sought to give it confidential treatment under a protective order.

Rather, a basis must exist for keeping from the public the material requested for sealing.”).

       The parties have been already admonished that motions to seal must be specific and

“include an explanation of how the document[s] meet[] the legal standards for filing sealed

documents,” Civil LR 5.10(A)(2). Civil Local Rule 5.10(A)(4) permits the Court to, “in its

discretion, order a sealed document to be made public if (1) the document is filed in disregard of



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legal standards, or (2) if the document is so intricately connected with a pending matter that the

interests of justice are best served by doing so.” The former is the case here as the parties’

motions have been filed in contravention of the Local Rules and Seventh Circuit precedent. And

the latter is the case here because documents such as expert reports on infringement and damages

are without doubt of critical importance to this matter. See Formax, Inc. v. Alkar-Rapidpak-MP

Equip., Inc., No. 11-C-298, 2014 WL 2894898, at *6 (E.D. Wis. June 26, 2014) (“Damages are a

key component of any civil action, and thus the underlying evidence must be largely open to

public scrutiny.”); cf. City of Greenville v. Syngenta Crop Prot., LLC, 764 F.3d 695, 698 (7th

Cir. 2014) (“Public access depends on whether a document influenc[ed] or underpin[ned] the

judicial decision.” (alterations in original) (quotation marks omitted)). For these reasons, the

parties’ motions to seal are DENIED. The Clerk is DIRECTED to unseal the exhibits on the

docket at ECF No. 69-1, ECF No. 69-2, ECF No. 69-3, ECF No. 69-4, ECF No. 76-1, and ECF

No. 76-2.

   II.      Motions for Summary Judgment

            a. Legal Standard

         Summary judgment is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). Summary judgment is also appropriate if the party opposing summary judgment fails to

establish a genuine issue of fact on an element essential to its case and on which that party bears

the burden of proof at trial. Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). Where one

party has properly moved for summary judgment, the non-moving party must respond “by

identifying specific, admissible evidence showing that there is a genuine dispute of material fact

for trial.” Grant v. Trs. of Ind. Univ., 870 F.3d 562, 568 (7th Cir. 2017). The court’s function is



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not “to weigh the evidence and determine the truth of the matter but to determine whether there

is a genuine issue for trial”—that is, whether “there is sufficient evidence favoring the non[-

]moving party for a jury to return a verdict” in his favor. Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 249 (1986); Patel v. Allstate Ins. Co., 105 F.3d 365, 370 (7th Cir. 1997). The court

must view the evidence “in the light most favorable to the non-moving party[] and draw[] all

reasonable inferences in that party’s favor.” McCann v. Iroquois Mem’l Hosp., 622 F.3d 745,

752 (7th Cir. 2010) (citing Anderson, 477 U.S. at 255).

           b. Analysis

                   i. Infringement

       Both parties have moved for summary judgment as to infringement. “A determination of

infringement generally requires a two-step analysis—the court first determines the scope and

meaning of the claims asserted, and then the properly construed claims are compared to the

allegedly infringing device.” Niazi Licensing Corp. v. St. Jude Med. S.C., Inc., 30 F.4th 1339,

1350 (Fed. Cir. 2022). “Step two, comparison of the claim to the accused device, requires a

determination that every claim limitation or its equivalent be found in the accused device.” In re

Gabapentin Pat. Litig., 503 F.3d 1254, 1259 (Fed. Cir. 2007). “[O]n summary judgment, the

issue is whether there is no genuine issue of material fact regarding infringement.” Id.

“Summary judgment is appropriate when it is apparent that only one conclusion as to

infringement could be reached by a reasonable jury.” Telemac Cellular Corp. v. Topp Telecom,

Inc., 247 F.3d 1316, 1323 (Fed. Cir. 2001).

       The parties have narrowed the inquiry to a single question. As Plaintiff puts it, “[t]he

issue . . . has been reduced to whether the Accused Products satisfy the ‘thermal spacers

thermally isolating’ claim limitation because Defendants do not dispute that every other



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limitation of the Asserted Claims is present in the Accused Products.” See Pl.’s Mot. Summ. J.

Infringement 7. In Defendants’ words, Plaintiff’s “case depends entirely on whether [their

Accused Products] include[] a thermal spacer.” See Defs.’ Mot. Summ. J. 7.

       The Court previously construed “thermal spacers thermally isolating” to mean

“components that maintain a space between the inner duct liner and outer casing that limit the

amount of heat conducted through the components so that they do not create fail points on the

inner duct liner or outer casing during fire rating testing.” See Sept. 3, 2021 Order 33 (quotation

marks omitted). Defendants primarily argue that their spacers do not limit heat and therefore

cannot be thermal spacers. Defs.’ Mot. Sum. J. at 14–17. Defendants’ spacers are made of steel,

id. at 15; Pl.’s Resp. Defs.’ Mot. Summ. J. 17–18, and Van-Packer’s infringement expert,

Timothy Morse, conducted modeling demonstrating that the Accused Products’ steel spacers

increase the transfer of heat between the inner duct and outer casing such that portions of the

outer casing become hotter when metal spacers are included. See Defs.’ Mot. Summ. J. 15–17

(citing Morse Rebuttal Report 17–20, ECF No. 69-1). As a result, Defendants contend that their

spacers cannot be thermal spacers as their spacers do not limit the amount of heat conducted

through the components. See id. at 17 (“Because both expert witnesses agree that the . . . spacers

increase the transfer of heat between the inner and outer walls, rather than limit it, the Accused

Products do not include one or more thermal spacers and cannot infringe.”); see also Defs.’

Resp. Pl.’s Mot. Summ. J. Infringement 9–12, ECF No. 77 (advancing the same argument—that

“the transfer of heat between the inner duct liner and the outer casing actually increases when

[Defendants’] spacers are used” and therefore the spacers are not thermal spacers—in response

to Plaintiff’s Motion for Summary Judgment of Patent Infringement (emphasis omitted)).




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        Plaintiff responds that Defendants improperly truncate and misapply the Court’s full

construction. See Pl.’s Resp. Defs.’ Mot. Summ. J. 32–33; see also Pl.’s Mot. Summ. J.

Infringement 9–11 (advancing this argument affirmatively in support of summary judgment).

That is, thermal spacers may increase the transfer of heat to certain portions of the outer casing

but still “limit the amount of heat conducted through the components so that they do not create

fail points on the inner duct liner or outer casing during fire rating testing.” See Pl.’s Resp.

Defs.’ Mot. Summ. J. 32–33 (quotation marks omitted) (“Defendants’ argument that their

thermal spacers conduct more heat than no spacers at all is irrelevant to whether they limit the

amount of heat conducted through the thermal spacers to the degree required by the claims . . .

.”). The Court agrees with Plaintiff that its construction of “thermal spacers” does not require

thermal spacers to decrease or fail to increase heat as compared to the absence of spacers, but

rather to limit or cap the amount of heat conducted such that fire testing does not create fail

points. See Sept. 3, 2021 Order 27–31; cf. id. at 27–28 (distinguishing “isolating” and “limiting”

from “minimizing”).

        The question then becomes, do Defendants’ spacers perform that function? Defendants

argue their spacers do not because their spacers “are designed with holes . . . where the insulation

creeps through the . . . metal spacers.” See Defs.’ Mot. Summ. J. 17–18. Because the “air

occupying the holes is what limits heat transfer,” Defendants’ spacers cannot be thermal spacers

because “the spacer itself must thermally isolate.” See id. at 17 (emphasis altered). Defendants

point to the deposition of Plaintiff’s infringement and invalidity expert Tony Crimi to suggest

that Crimi agrees that the “air [in the holes] . . . limits the flow of heat,” not the spacers

themselves. See id.




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        Plaintiff responds that Defendants misrepresent Crimi’s opinion. See Pl.’s Resp. Defs.’

Mot. Summ. J. 33–34. Crimi’s expert report as to infringement and May 11, 2022 deposition

testimony provide clarity as to his perspective. For example, in the former, Crimi opines that

Defendants’ spacers are thermal spacers because

        they are configured to limit the amount of heat conducted through the components
        so that they do not create fail points on the inner duct liner or outer casing during
        fire rating testing. Specifically, the cutout portions of the spacers are designed to
        limit the transfer of heat through the spacer between the inner duct liner and the
        outer casing.

See id. at 34 (quoting Crimi Report 17, ECF No. 67-12); see also Crimi May 11, 2022 Dep.

45:3–12, ECF No. 67-3 (expressing a belief that Defendants’ spacer “has the holes in it . . . to

reduce heat transfer”); id. at 91:8–14 (explaining that the spacers’ holes “provide[] an outlet for

radiation of heat” to be absorbed by the insulation rather than transmitted through the cavity); id.

at 96:11–22 (explaining that holes in the spacer “radiat[e heat] into the cavity where the

insulation is”); id. at 219:7–11 (defining the metal spacer “[a]s the entirety of that part that

includes both the metal strip and the voids”).

        Defendants characterize the parties’ dispute as “center[ing] on what is actually

performing the step of limit[ing] the amount of heat.” See Defs.’ Resp. Pl.’s Mot. Summ. J.

Infringement 13 (second alteration in original). The Court finds that the parties generally agree

as to how Defendants’ spacers work but dispute whether a spacer can be a thermal spacer if its

design includes holes, cutout portions, voids, or perforations (the parties have used all of these

terms) that facilitate thermal isolation. Cf. Pl.’s Resp. Defs.’ Mot. Summ. J. 34 (“Mr. Crimi’s

explanation that the cutouts or ‘voids’ in the thermal spacers allow the thermal spacers to limit

the transfer of heat by dissipating heat into ‘air’ of the openings is entirely consistent with the

position set forth in his expert report.”).



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       Defendants argue that the Court’s claim construction makes clear a spacer cannot have

holes. See Defs.’ Mot. Summ. J. 17 (citing Sept. 3, 2021 Order 22). First, Defendants argue that

a thermal spacer cannot contain holes because a thermal spacer must maintain the space between

the inner duct liner and the outer casing and holes do not maintain space. See id. To be sure,

holes without a spacer could not maintain a spaced relationship, but that a spacer is not solid does

not preclude its overall ability to maintain a space between the inner duct liner and outer casing.

       Defendants also argue that the holes cannot be considered part of the spacer in light of the

claim language. Per Defendants, the ’569 Patent “distinctly claims the void separately.” See id.

at 18 (emphasis added). The ’569 Patent does make clear that the duct modules contain a void

between the inner duct liner and outer casing. See id. at 17–18. But Defendants’ argument relies

too heavily on the word “void” and offers too little in the way of analysis of the actual claim

language. Perforations in the spacer are not themselves a “void . . . between at least at least a

portion of space between said inner duct liner and said outer casing,” id. at 17 (emphasis and

quotation marks omitted).

       To review, a “thermal spacer thermally isolating” is a component that “maintain[s] a

space between the inner duct liner and outer casing that limit[s] the amount of heat conducted

through the components so that they do not create fail points on the inner duct liner or outer

casing during fire rating testing,” Sept. 3, 2021 Order 33. The Court concludes that spacers with

perforations or holes maintain a spaced relationship and limit the amount of heat conducted

through the components so that they do not create fail points. This conclusion compels the Court

to grant summary judgment as to infringement in Plaintiff’s favor. Thus, Plaintiff’s Motion for

Summary Judgment of Patent Infringement is GRANTED and Defendants’ Motion for Summary

Judgment of Noninfringement and Invalidity is DENIED as to non-infringement.



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       A final point: Defendants argue in their response to Plaintiff’s Motion for Summary

Judgment of Patent Infringement that Plaintiff “argues for an infringement read that renders its

claims invalid.” See Defs.’ Resp. Pl.’s Mot. Summ. J. Infringement 16 (emphasis omitted).

Defendants therefore ask the Court to “find that the Asserted Claims are indefinite.” See id. at

17. However, the indefiniteness arguments raised in Defendants’ response do not match the

indefiniteness arguments raised in Defendants’ own summary judgment motion. Compare id. at

16–17 with Defs.’ Mot. Summ. J. 23. Most confusingly, Defendants’ motion suggests

Defendants intend to only incorporate certain arguments by reference, see Defs.’ Mot. Summ. J.

23–24 (noting that Defendants “fully briefed” the indefiniteness of “compressible insulation

material” at claim construction but not addressing Defendants’ prior briefing with regard to the

indefiniteness of “fire-rated” and failing entirely to address the indefiniteness of “specified fire

rating”), but Defendants’ response suggests otherwise, see Defs.’ Resp. Pl.’s Mot. Summ. J.

Infringement 16 (“During claim construction briefing, Defendants explained how the terms ‘fire-

rated’ and ‘specified fire rating’ . . . are indefinite.”). This muddies the record, is arguably an

end run around the summary judgment rules (because the claim construction briefs did not apply

those rules or engage with the summary judgment standard), and ignores the Court’s explicit

instruction for Defendants to “reassert their indefiniteness arguments” at summary judgment,

Sept. 3, 2021 Order 16 (emphasis added)—that is, to assert their arguments again in light of any

new evidence to refine the issues before the Court and promote clarity in the record. The Court

will endeavor in the forthcoming invalidity analysis to address all relevant arguments that appear

to have been raised by either party; however, any holes reflect the briefing.




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                   ii. Invalidity

       “[A]n alleged infringer may assert the invalidity of the patent—that is, he may attempt to

prove that the patent never should have issued in the first place.” Microsoft Corp. v. i4i Ltd.

P’ship, 564 U.S. 91, 96 (2011). Because “[p]atents are presumed to be valid,” Procter &

Gamble Co. v. Teva Pharms. USA, Inc., 566 F.3d 989, 994 (Fed. Cir. 2009), invalidity must be

“prove[n] . . . with clear and convincing evidence,” Impax Lab’ys, Inc. v. Aventis Pharms. Inc.,

545 F.3d 1312, 1314 (Fed. Cir. 2008). “[A] judgment of invalidity necessarily moots the issue of

infringement.” TypeRight Keyboard Corp. v. Microsoft Corp., 374 F.3d 1151, 1157 (Fed. Cir.

2004); see also Commil USA, LLC v. Cisco Sys., Inc., 575 U.S. 632, 648 (2015) (Scalia, J.,

dissenting) (“It follows, as night the day, that only valid patents can be infringed. To talk of

infringing an invalid patent is to talk nonsense.”).

       Defendants raise four invalidity defenses: (1) obviousness, Def.’s Sec. Corrected Final

Unenforceability & Invalidity Contentions 10–11, ECF No. 66-16; (2) lack of enablement, id. at

13; (3) lack of written description, id. at 14; and (4) indefiniteness, id. at 14. Defendants seek

summary judgment as to lack of enablement, lack of written description, and indefiniteness. See

Def.’s Mot. Summ. J. 18–24. Plaintiff, meanwhile, seeks summary judgment as to Defendants’

obviousness defense. See generally Pl.’s Mot. Summ. J. No Invalidity.

                           1. Indefiniteness

       A patent specification must “particularly point[] out and distinctly claim[]” its subject

matter. 35 U.S.C. § 112(b). “[A] patent is invalid for indefiniteness if its claims, read in light of

the specification delineating the patent, and the prosecution history, fail to inform, with

reasonable certainty, those skilled in the art about the scope of the invention.” Nautilus, Inc. v.

Biosig Instruments, Inc., 572 U.S. 898, 901 (2014). The key question regarding indefiniteness is



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“whether the claims, not particular claim terms,” meet the Nautilus indefiniteness standard. Cox

Commc’ns, Inc. v. Sprint Commc’n Co., 838 F.3d 1224, 1231–32 (Fed. Cir. 2016) (quotation

marks and citations omitted). Nevertheless, the Federal Circuit has recognized that “the common

practice of training questions of indefiniteness on individual claim terms is a helpful tool.

Indeed, if a person of ordinary skill in the art cannot discern the scope of a claim with reasonable

certainty, it may be because one or several claim terms cannot be reliably construed.” Id. at

1232.

           At claim construction, Defendants argued the indefiniteness of the terms “fire-rated,”

“specified fire rating,” and “compressible insulation material.” Def.’s Opening Claim Const.

Brief 6, ECF No. 31. The Court deferred construction of those terms so that indefiniteness and

claim construction could “be assessed together on a full discovery record” and instructed

Defendants to “reassert their indefiniteness arguments” at summary judgment. See Sept. 3, 2021

Order 15–16. Defendants now argue the terms “fire-rated,” “compressible insulation material,”

and “thermal spacer” are indefinite. Def.’s Mot. Summ. J. Id. at 23–24. The Court considers

each claim term in turn to determine whether it is indefinite.

                                            a. “Fire-Rated”

           The Court must first determine whether the term “fire-rated” can be construed. See Sept.

3, 2021 Order 16. The ground rules of claim construction have already been established, see id.

at 5–9, as has the identity and background of a person of ordinary skill in the art (sometimes

called a “POSITA,” among other permutations), see id. at 16–17.2



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    At claim construction, the parties agreed that

           a POSITA would have a technical certification as a sheet metal worker or sheet metal mechanic,
           which is typically a five-year certification, or with equivalent work experience in the field of fire-
           rated duct systems. Further, he or she may also have a bachelor’s degree in mechanical engineering
           or [a] related field, and . . . experience could replace formal training, such that a person with five or

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         The term “fire-rated” appears in a similar manner throughout the Asserted Claims. Claim

6, for example, claims in relevant part a “modular fire-rated exhaust duct assembly.” ’569

Patent col. 9 l. 27 (emphasis added). The term also appears elsewhere throughout the

specification. For instance, the specification explains that “ventilation or exhaust ducts for

flammable or hazardous materials cannot be configured with fire dampers, so the duct itself

must be fire-rated.” Id. col. 1 ll. 27–29 (emphasis added). The specification continues:

         To be classified as a fire-rated duct, an exhaust duct must be capable of preventing
         the release of flammable materials from inside the duct and/or combustible
         materials adjacent the exterior of the exhaust duct from catching fire if a fire exists
         on the other side of the duct. In other words, a fire-rated duct must be capable of
         minimizing the transfer of heat through or across the duct walls.

Id. col. 1 ll. 30–36 (emphasis added).

         At claim construction, Defendants argued that this language was “confusing” because it

“posits that, to be ‘fire[-]rated,’ a duct does not need to pass any test, but rather need only be

‘capable of minimizing the transfer of heat through or across the duct walls.’” Defs.’ Opening

Claim Const. Brief 8. (quoting ’569 Patent col. 1 ll. 30–37). Defendants went on to argue that

many different fire rating tests exist and therefore a POSITA would not understand which test to

apply. See id. at 9–11. Plaintiff proposed (and presumably still supports) the construction “rated

for fire resistance with reference to its ability to withstand a standard fire resistance test,” arguing

that all that is required is that the duct pass a fire test. See Pl.’s Resp. Claim Const. Brief 5–10,

ECF No. 36.

         At summary judgment, Defendants primarily argue the term “fire-rated” is indefinite

because “no fire rating standards exist for laboratory ducts.” Defs.’ Mot. Summ. J. 23. This



         more years of experience working in the exhaust duct field would have appropriate training to be a
         POS[IT]A.

Sept. 3, 2021 Order 17 (alterations in original) (quotation marks and citations omitted).

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argument appears to be in tension with Defendants’ prior two indefiniteness arguments. Now the

POSITA is not confused as to whether fire-rated refers to the capabilities of the duct.3 Nor is the

POSITA paralyzed in the face of the entire universe of fire tests. Instead, the POSITA lacks

reasonable certainty as to the scope of the claims because he seeks to apply an installation-

specific test that does not exist. See id.

         However, the specification does not support that an installation-specific fire test must be

applied. If anything, it dispels that conclusion: If “[f]ire-rated ducts are typically found in

installations such as commercial kitchens and laboratories,” see ’569 Patent col. 1 ll. 38–39, and

the POSITA knows there is no installation-specific test for laboratories, then “fire-rated” cannot

mean “rated for fire resistance with reference to its ability to withstand an installation-specific

fire resistance test.”

         The POSITA must know, then, that the “specified fire rating” that must be provided, see

id. col. 9 ll. 27–30 (claiming “a modular fire-rated exhaust duct . . . wherein said inner duct liner

and said outer casing . . . hav[e] a thickness to provide a specified fire rating”), is not determined

by whether the duct is in a kitchen or a laboratory; rather, it reflects the standards promulgated

by nationally and internationally recognized organizations existing to determine those standards,

see id. col. 4 ll. 28–31 (referring to “requirements under the UL 2221 and ASTM E2336



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  Although “words of a claim are generally given their ordinary and customary meaning as understood by a person
of ordinary skill in the art when read in the context of the specification and prosecution history,” a patentee may
“set[] out a definition and act[] as his own lexicographer.” Thorner v. Sony Comput. Ent. Am. LLC, 669 F.3d 1362,
1365 (Fed. Cir. 2012). At claim construction, Defendants suggested based on the specification language regarding
classification that “the patentee chose to ‘classify’ (i.e., define) the term ‘fire[-]rated,’ not, as one might expect with
reference to a very specific standard test, but instead with reference to a vague ‘capability’ of an exhaust duct.”
Defs.’ Opening Claim Const. Brief 7–8. This argument was and remains underdeveloped. To act as a
lexicographer, a patentee must “clearly set forth a definition of the disputed claim term, and clearly express an intent
to define the term.” GE Lighting Sols., LLC v. AgiLight, Inc., 750 F.3d 1304, 1309 (Fed. Cir. 2014) (quotation
marks omitted). Given that the standard for finding lexicography is “exacting,” id., the Court cannot agree that the
specification language regarding classification constitutes lexicography. That the patent specification references
“fire exposure tests” in several places also undermines that conclusion. See ’569 Patent col. 4 ll. 46–47 (referencing
techniques that “can provide mechanical strength to pass the fire exposure tests”); id. col. 6 ll. 9–16.

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standards”). Thus, a fire-rated exhaust duct is simply an exhaust duct that has attained a fire

rating, the determination of which is a straightforward inquiry based on whether or not the duct

has been rated.

        Thus, the Court concludes that fire-rated is not an indefinite claim term. The Court

adopts the construction “rated for fire resistance with reference to its ability to withstand a

recognized standard fire resistance test.”

                                   b. “Compressible Insulation Material”

       Defendants reassert their arguments at claim construction with respect to the

indefiniteness of the term “compressible insultation material.” Defs.’ Mot. Summ. J. 23–24. At

claim construction, Defendants argued that “compressible insulation material” was indefinite

because “[t]he specification of the ’569 Patent does not provide a standard for measuring the

scope of ‘compressible’” and “[t]he claims as a whole require a non-customary, ill-defined

meaning” of the term. Defs.’ Opening Claim Const. Brief 11–12. Plaintiff, meanwhile,

proposed the construction “insulation material whose thickness changes under the weight of the

inner duct.” Pl.’s Resp. Claim Const. Brief 10.

       The parties agree that “compressible” is a term of degree, see id. at 11 (“Plaintiff does not

dispute that ‘compressible’ is a term of degree . . . .”), which frames the analysis. The Federal

Circuit “ha[s] time and again had the occasion to consider the definiteness of claims containing

descriptive words or terms of degree.” Niazi Licensing Corp., 30 F.4th at 1347. “Ultimately,

patent claims with descriptive words or terms of degree must provide objective boundaries for

those of skill in the art in the context of the invention to be definite.” Id. at 1349 (quotation

marks omitted). That is, terms of degree are permissible so long as they “provide[] enough




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certainty to one of skill in the art when read in the context of the invention.” Sonix Tech. Co. v.

Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377 (Fed. Cir. 2017) (quotation marks omitted).

       “[T]he written description is key to determining whether a term of degree is indefinite.”

Id. at 1378. Thus, the Court begins with the language of the ’569 Patent itself. Its language

makes clear that the “compressible insulation material” must occupy the void between the inner

duct and outer casing. ’569 Patent col. 3. ll. 10–14. Indeed, in summary and according to an

embodiment, “[t]he void is configured with thermal spacers to prevent the insulation from being

unduly compressed or crushed.” Id. col. 8 ll. 14–19 (emphasis added). Thus, the ’569 Patent

suggests that compressible insulation must occupy the void between the inner duct and outer

casing and also be compressible enough such that the thermal spacers effectuate the prevention

of undue crushing compromising the material’s insulative properties.

       Thus, the Court disagrees with Defendants’ assertion there are no objective boundaries

for “compressible” contained in the ’569 Patent, see Defs.’ Opening Claim Const. Brief 12, as

well as Defendants’ related insinuation that the importance of preventing the crushing of the

insulation appears nowhere in the ’569 Patent, see Defs.’ Reply Claim Const. Brief 5, ECF No.

41. Defendants seem to assume that objective boundaries must be numerical or tethered to a

precise measurement (such as threshold density or elasticity) in order to be objective. See Defs.’

Opening Claim Const. Brief 12–13. But this focus on “numerical values” is misplaced. See

Defs.’ Reply Claim Const. Brief 5. “[A]bsolute or mathematical precision is not required,” as

the question is whether a patent “provide[s] objective boundaries for those of skill in the art.”

Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1370–71 (Fed. Cir. 2014). The

specification provides this exact guidance.




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       Extrinsic evidence, to the extent the Court must consider it, bolsters this conclusion.

Presumably in response to Defendants’ argument at claim construction that pegging

compressibility to the efficacy of the insulation would yield “ridiculous results” and be

technically unworkable, see Defs.’ Reply Claim Const. Brief 6, Plaintiff enlisted expert Mark

Colton to determine whether the insulation material in Van-Packer’s duct was compressible, see

generally Colton Report, ECF No. 74-5. Defendants respond that “reliance on an expert report

relating to the compressibility of Defendants’ Accused Products is insufficient to avoid

indefiniteness” because “[i]t is undisputed” Defendants use compressible insulation. See Defs.’

Reply Supp. Defs.’ Mot. Summ. J. 11, ECF No. 81 (emphasis omitted). But Plaintiff explained

that the purpose of the report was not to prove that Defendants use compressible insulation

material, but disprove Defendants’ argument that it would be necessary to perform a complicated

and uncertain fire test to determine if compressible insulation material qualifies as such. See

Pl.’s Resp. Mot. Summ. J. 48.

       Defendants’ only remaining argument is that dependent claim 18 invokes “insulation

board.” See Defs.’ Reply Claim Const. Brief 6–7 (quoting ’569 Patent col. 10 ll. 60–63).

Defendants argue Plaintiff’s construction is incompatible with claim 18 because insulation board

cannot be compressed. See id. But insulation board can be compressed, even according to

Defendants’ expert Barry Cheek, who testified at deposition that a person of ordinary skill in the

art would understand that compressible insulation is insulation that would be compressed in the

absence of the spacers, that ducts may contain fiberglass insulation boards, and that “you don’t

want them to compress because you’re negating some of that insulating capability because the air

gaps [in the board] are what is your friend when it comes to insulating.” See Cheek Dep. Excerpt

108:4–20, ECF No. 36-2; see also id. at 110:9–15 (responding “[y]eah, you would definitely



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want to have some type of spacer in there for sure” after Plaintiff’s counsel asked if it was

important to have spacers maintain the void when using fiberglass insulation board because

“there’s a risk that the fiber insulation board would become compressed”).

       Thus, the Court concludes that compressible insulation material is not an indefinite claim

term. The Court adopts the construction “insulation material whose thickness changes under the

weight of the inner duct.”

                                   c. “Thermal Spacers”

       Finally, Defendants argue that the claim term “thermal spacers,” which the Court already

construed in conjunction with the claim term “thermally isolating,” see Sept. 3, 2021 Order 32–

33, is indefinite because a POSITA would need to run a fire test to know if a thermal spacer

thermally isolates, see Defs.’ Mot. Summ. J. 23. Defendants go on to assert that “[a] claim that

recites both a system (the duct) and a method (testing that must be done to know if a spacer is a

thermal spacer)” fails to “apprise one of ordinary skill in the art of its scope and is invalid as

being indefinite.” See id.

       The Court finds no support for Defendants’ argument that “thermal spacers” must be

indefinite because a POSITA must run a fire test to determine if a thermal spacer thermally

isolates. To the contrary, “[d]efiniteness does not require that a potential infringer be able to

determine ex ante if a particular act infringes the claims.” Nevro Corp. v. Bos. Sci. Corp., 955

F.3d 35, 40 (Fed. Cir. 2020).

       Defendants’ bare assertion that claims in the ’569 Patent constitute impermissible hybrid

claims is perfunctory and undeveloped and thus cannot be persuasive. That a POSITA may have

to run a fire test to determine that a thermal spacer thermally isolates does not mean that any

claim in the ’569 Patent recites a method of use, a practice that is impermissible because it



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obscures “whether infringement . . . occurs when one creates a[n infringing] system, or whether

infringement occurs when the user actually uses [the system in an infringing manner].” See

UltimatePointer, LLC v. Nintendo Co., 816 F.3d 816, 826 (Fed. Cir. 2016) (alterations in

original) (quotation marks omitted). “[A] . . . claim covering both an apparatus and a method of

use of that apparatus is invalid,” see IPXL Holdings, LLC v. Amazon.com, Inc., 430 F.3d 1377,

1384 (Fed. Cir. 2005), but Defendants neither identify nor analyze any claims, cf. Defs.’ Mot.

Summ. J. 23; Defs.’ Reply Supp. Defs.’ Mot. Summ. J. 10–11. “Thermal spacers” necessarily

cannot fail as a claim reciting a system and a method because “thermal spacers” is not a claim.

Cf. Pl.’s Resp. Defs.’ Mot. Summ. J. 46 (“The claims recite a ‘thermal spacer thermally

isolating.’ That is a structure, not a method.” (emphasis added)). As a matter of law, Defendants

cannot succeed on a threadbare argument that is entirely untethered from the claims of the ’569

Patent and offer the Court no reason to disturb its prior conclusion as to the indefiniteness of

“thermal spacers.” Defendants’ Motion for Summary Judgment of Noninfringement and

Invalidity is therefore DENIED as to indefiniteness. The Court concludes no claims challenged

by Defendants in the motion are indefinite.

                           2. Written Description

       “The test for sufficiency of a written description is whether the disclosure clearly allow[s]

persons of ordinary skill in the art to recognize that [the inventor] invented what is claimed.”

Crown Packaging Tech., Inc. v. Ball Metal Beverage Container Corp., 635 F.3d 1373, 1380

(Fed. Cir. 2011) (alterations in original) (quotation marks omitted); Nuvo Pharms. (Ireland)

Designated Activity Co. v. Dr. Reddy's Lab’ys Inc., 923 F.3d 1368, 1376 (Fed. Cir. 2019) (“Th[e]

requirement is satisfied only if the inventor convey[s] with reasonable clarity to those skilled in

the art that, as of the filing date sought, he or she was in possession of the invention, and



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demonstrate[s] that by disclosure in the specification of the patent.” (second and third alteration

in original) (quotation marks omitted)). “Compliance with the written description requirement is

a question of fact but is amenable to summary judgment in cases where no reasonable fact finder

could return a verdict for the non-moving party.” PowerOasis, Inc. v. T–Mobile USA, Inc., 522

F.3d 1299, 1307 (Fed. Cir. 2008).

       Defendants advance two arguments as to invalidity under the written description

umbrella. First, Defendants argue that the written description requirement is not met because the

’569 Patent “does not describe a ‘fire-rated’ laboratory duct.” Defs.’ Mot. Summ. J. 18

(capitalization altered); see also id. at 20 (“[T]he ‘569 Patent simply does not provide any

description of a fire-rated laboratory duct.”). As the Court understands it, Defendants are

arguing that the ’569 Patent claims “fire-rated” laboratory ducts but “that is more than what was

invented and described in the patent” because no standards for laboratory ducts exist. Id. at 19.

       To support this argument, Defendants point to Ariad Pharmaceuticals, Inc. v. Eli Lilly

and Co., 598 F.3d 1336 (Fed. Cir. 2010). Id. at 18. Defendants tell the Court that, in that case,

the Federal Circuit “invalidated a claim directed to any vertebrate and mammalian cDNA as

being unsupported by a specification that only discussed one species, namely rat cDNA.” Id.

(quotation marks omitted) Defendants are actually describing Regents of the University of

California v. Eli Lilly & Co., 119 F.3d 1559, 1566–69 (Fed. Cir. 1997), which the Federal Circuit

referenced throughout its opinion, Ariad Pharms., 598 F.3d at 1349–57. In any event, neither

case appears particularly instructive absent analysis and application from Defendants. See Eli

Lilly, 119 F.3d at 1568 (“[A] description of rat insulin cDNA is not a description of the broad

classes of vertebrate or mammalian insulin cDNA. A written description of an invention

involving a chemical genus, like a description of a chemical species, requires a precise definition



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. . . .” (emphasis added) (quotation marks omitted)); Ariad Pharms., 598 F.3d at 1354–55.

Defendants’ passing reference to Gentry Gallery, Inc. v. Berkline Corporation, 134 F.3d 1473

(Fed. Cir. 1998), Defs.’ Mot. Summ. J. 20, similarly lacks explanation. See Gentry Gallery, 134

F.3d at 1478–80 (concluding that claims in a sofa patent “directed to sectional sofas in which the

location of the recliner controls [wa]s not limited to the console” were invalid because “the

original disclosure clearly identifie[d] the console as the only possible location for the controls”

and “the scope of the right to exclude may be limited by a narrow disclosure” (emphasis added)).

The experts agree that a fire-rated duct can be used in a laboratory regardless of whether that

duct has a rating specific for laboratory installations, see Crimi Feb. 24, 2021 Dep. 224:21–

225:5, ECF No. 67-6; Morse Dep. 99:7–15, ECF No. 74-3, and neither the construction of the

term “fire-rated” nor the language of the specification compels a conclusion that the rating must

be specific to the installation, see ’569 Patent col. 1 ll. 38–39 (“Fire-rated ducts are typically

found in installations such as commercial kitchens and laboratories.”).

       Defendants’ second argument is more promising. Defendants argue that the ’569 Patent

fails the written description requirement as to “thermal spacers” and “thermally isolating.” See

Defs.’ Mot. Summ. J. 20–21. Defendants also contend that the ’569 Patent contains insufficient

information regarding the thermal gasket. See id. at 21. Defendants emphasize that even Crimi

agreed when asked by Defendants’ counsel if he would agree that the ’569 Patent describes the

thermal spacer in terms of the function it performs rather what the thermal spacer is. See id. at

20.

       Plaintiff protests that Crimi’s answer “was solicited through distraction and trickery” and

“[s]uch litigation tactics should not be condoned.” Pl.’s Resp. Defs.’ Mot. Summ. J. 43–44.

This is attorney argument and not obvious from the record. Though the Court agrees with



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Plaintiff that summary judgment in Defendants’ favor is not appropriate as to written description,

it does not find Plaintiff has shown Defendants could not prevail given the intensely factual

nature of the written description inquiry and the nature of the written description here. See Nat’l

Graphics, Inc. v. Brax Ltd, 151 F. Supp. 3d 903, 915 (E.D. Wis. 2015) (noting that “generic

directives simply instruct[ing] the public to accomplish the patent’s stated goal . . . suggest[] that

the inventor . . . had not actually reduced [the invention] to practice” and denying summary

judgment in light of conflicting expert reports); see also Crown Packaging Tech., 635 F.3d at

1384 (“Where there is a material dispute as to the credibility and weight that should be afforded

to conflicting expert reports, summary judgment is usually inappropriate.”). Defendants’ Motion

for Summary Judgment of Noninfringement and Invalidity is thus DENIED as to written

description. Whether the written description requirement has been satisfied cannot be resolved at

summary judgment.

                           3. Enablement

       The enablement requirement “enforces the essential quid pro quo of the patent bargain by

requiring a patentee to teach the public how to practice the full scope of the claimed invention.”

McRO, Inc. v. Bandai Namco Games Am. Inc., 959 F.3d 1091, 1099–1100 (Fed. Cir. 2020)

(quotation marks omitted); see also Genentech, Inc. v. Novo Nordisk A/S, 108 F.3d 1361, 1366

(Fed. Cir. 1997) (“Patent protection is granted in return for an enabling disclosure of an

invention . . . .”). The Federal Circuit has stated that this requirement “is satisfied when one

skilled in the art, after reading the specification, could practice the claimed invention without

undue experimentation.” Auto. Techs. Int’l., Inc. v. BMW of N. Am., Inc., 501 F.3d 1274, 1282

(Fed. Cir. 2007)) (quotation marks omitted).




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         “[W]hether a patent satisfies the enablement requirement is a question of law based on

underlying factual findings.” McRO, 959 F.3d at 1096; Wyeth & Cordis Corp. v. Abbott Lab’ys,

720 F.3d 1380, 1384 (Fed. Cir. 2013) (“Enablement is a question of law based on underlying

facts.”). To prevail, the challenger “must show by clear and convincing evidence that a person

of ordinary skill in the art would not be able to practice the claimed invention without undue

experimentation.” Alcon Rsch. Ltd. v. Barr Lab’ys, Inc., 745 F.3d 1180, 1188 (Fed. Cir. 2014)

(quotation marks omitted). To do so, the challenger must first “put forward evidence that some

experimentation is needed to practice the patented claim.” Id. After the challenger makes this

“threshold showing,” id. at 1189, the Court then turns to the factors articulated in In re Wands,

858 F.2d 731, 737 (Fed. Cir. 1988), to “determin[e] whether the amount of that experimentation

is . . . ‘undue’ or sufficiently routine such that an ordinarily skilled artisan would reasonably be

expected to carry it out.” Alcon Rsch. Ltd., 745 F.3d at 1188. These factors include

         (1) the quantity of experimentation necessary, (2) the amount of direction or
         guidance presented, (3) the presence or absence of working examples, (4) the nature
         of the invention, (5) the state of the prior art, (6) the relative skill of those in the art,
         (7) the predictability or unpredictability of the art, and (8) the breadth of the claims.

In re Wands, 858 F.2d at 737.

         Defendants contend that the ’569 Patent requires undue experimentation and therefore

fails the enablement requirement. See Defs.’ Mot. Summ. J. 21–22. This is because, essentially,

the ’569 Patent does not teach how to pass a fire test and fire tests are uncertain, complex, and

time-consuming. See id. Defendants assert that this is “exactly the ‘starting point, the direction

for further research,’ that is not enabling.” Id. at 22 (quoting Auto. Techs. Int’l, 501 F.3d at

1284).




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         Plaintiff responds that “[e]nablement is not precluded by some experimentation,” Pl.’s

Resp. Defs.’ Mot. Summ. J. 36 (alteration in original) (quoting Wands, 858 F.2d at 736),4

arguing that the experimentation here is not undue because how to perform and pass a fire test is

“well known in the art,” id. at 37 (quotation marks omitted). The Court finds the parties’ (and

their experts’) dispute over the extent of the experimentation required by the ’569 Patent is

intensely factual, with the disputed facts precluding summary judgment as to enablement in

either party’s favor. See Chamberlain Grp., Inc. v. Lear Corp., 756 F. Supp. 2d 938, 980 (N.D.

Ill. 2010) (denying summary judgment as to enablement where parties presented conflicting

expert reports). Defendants’ Motion for Summary Judgment of Noninfringement and Invalidity

is thus DENIED as to enablement. Whether the enablement requirement has been satisfied

cannot be resolved at summary judgment.

                               4. Obviousness

         A patent is invalid for obviousness “if the differences between the claimed invention and

the prior art are such that the claimed invention as a whole would have been obvious before the

effective filing date of the claimed invention to a person having ordinary skill in the art to which

the claimed invention pertains.” 35 U.S.C. § 103. Obviousness “is a question of law based on

underlying facts.” TriMed, Inc. v. Stryker Corp., 608 F.3d 1333, 1341 (Fed. Cir. 2010); see also

KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 427 (2007) (“The ultimate judgment of obviousness

is a legal determination.”). The underlying factual inquiries include “(1) the scope and content

of the prior art; (2) the differences between the claims and the prior art; (3) the level of ordinary

skill in the pertinent art; and (4) any secondary considerations of non-obviousness.” ZUP, LLC




4
 This is not an exact quote: Rather, the Federal Circuit stated in Wands that “[e]nablement is not precluded by the
necessity for some experimentation.” Wands, 858 F.2d at 736 (emphasis added).

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v. Nash Mfg., Inc., 896 F.3d 1365, 1371 (Fed. Cir. 2018) (citing Graham v. John Deere Co., 383

U.S. 1, 17–18 (1966)).

       Plaintiff argues all four of Defendants’ obviousness defenses, each based on a different

combination of prior art, fail as a matter of law. As to the Coleman Combination, Zogg

Combination, and SMACNA Manual Combination, Plaintiff argues that they “do not teach

‘thermal spacers thermally isolating’ that ‘limit the amount of heat conducted through the

components.’” See Pl.’s Mot. Summ. J. No Invalidity 1. As to the Duffy Combination, Plaintiff

argues it does not teach spacers. See id. at 1–2.

       Defendants respond that Plaintiff focuses on only a single issue: the teachings of the prior

art, which are questions of fact. See Defs.’ Resp. Pl.’s Mot. Summ. J. No Invalidity 9, ECF No.

78. As a general matter, the Court agrees that a motion for summary judgment cannot get very

far by ignoring the relevant inquiry. Here, Plaintiff tells the Court it must consider three Graham

factors to evaluate obviousness, yet only analyzes one and does not explain why its analysis is

dispositive in light of the multipronged inquiry. See Pl.’s Mot. Summ. J. Invalidity 5–18. This

appears to be error, because “[a] determination of whether a patent claim is invalid as obvious

under § 103 requires consideration of all four Graham factors” because “each of the Graham

factors helps to inform the ultimate obviousness determination.” See WBIP, LLC v. Kohler Co.,

829 F.3d 1317, 1328 (Fed. Cir. 2016); see also Kinetic Concepts, Inc. v. Smith & Nephew, Inc.,

688 F.3d 1342, 1360 (Fed. Cir. 2012) (“[T]he obviousness inquiry requires examination of all

four Graham factors. Indeed, courts must consider all of the Graham factors prior to reaching a

conclusion with respect to obviousness.” (citation omitted)). “[T]he strength of each of the

Graham factors must be weighed in every case and must be weighted en route to the final

determination of obviousness or non-obviousness.” WBIP, LLC, 829 F.3d at 1328. Plaintiff’s



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art-by-art approach is too narrow. See KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 418 (2007)

(“[T]he analysis need not seek out precise teachings directed to the specific subject matter of the

challenged claim, for a court can take account of the inferences and creative steps that a person

of ordinary skill in the art would employ.”).

       In any event, “[t]he teachings of a prior art reference are underlying factual questions in

the obviousness inquiry.” In re Kubin, 561 F.3d 1351, 1355 (Fed. Cir. 2009). Because those

teachings are disputed here, and because Plaintiff offers no roadmap for the Court’s

consideration of the other Graham factors nor explains why its arguments are dispositive in light

of the governing law, Plaintiff’s Motion for Summary Judgment of No Invalidity is DENIED.

Whether the ’569 Patent is nonobvious (or obvious) cannot be resolved at summary judgment.

                  iii. Unenforceability

       “Inequitable conduct is an equitable defense to patent infringement that, if proved, bars

enforcement of a patent.” Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d 1276, 1285

(Fed. Cir. 2011) (en banc). The Federal Circuit has called inequitable conduct the “atomic

bomb” of patent law because “inequitable conduct regarding any single claim renders the entire

patent unenforceable.” Id. at 1288 (quotation marks omitted).

       Inequitable conduct takes multiple forms; one occurs when the patentee withholds

material information. See Baxter Int’l, Inc. v. McGaw, Inc., 149 F.3d 1321, 1327 (Fed. Cir.

1998) (“Inequitable conduct includes affirmative misrepresentations of a material fact, failure to

disclose material information, or submission of false material information, coupled with an intent

to deceive.”). Defendants contend Plaintiff’s failure to disclose the SMACNA Manual

constitutes inequitable conduct that renders the ’569 Patent unenforceable. See, e.g., Defs.’ Sec.

Corrected Final Unenforceability & Invalidity Contentions 14–16.



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       Plaintiff seeks summary judgment as to inequitable conduct, arguing that Defendants

cannot establish either prong of the defense, Pl.’s Mot. Summ. J. Inequitable Conduct 9; that is,

Defendants cannot “establish both the materiality of the withheld reference and the applicant’s

intent to deceive,” Belcher Pharms., LLC v. Hospira, Inc., 11 F.4th 1345, 1352 (Fed. Cir. 2021)

(emphasis added) (quotation marks omitted). Defendants’ response makes clear that Defendants

cannot establish the second element as a matter of law.

       Intent requires that “the accused infringer . . . prove by clear and convincing evidence

that the applicant knew of the reference, knew that it was material, and made a deliberate

decision to withhold it.” Therasense, 649 F.3d at 1290. Crucially, “[i]ntent to deceive may be

found only if specific intent to deceive is the single most reasonable inference able to be drawn

from the evidence. If more than one reasonable inference is possible, intent to deceive cannot be

found.” TransWeb, LLC v. 3M Innovative Props. Co., 812 F.3d 1295, 1304 (Fed. Cir. 2016)

(quotation marks and citations omitted).

       Plaintiff argues in its motion that Defendants lack evidence demonstrating that Duffy

knew of the SMACNA Manual’s materiality and withheld it with deceptive intent. Pl.’s Mot.

Summ. J. Inequitable Conduct 14–18. In particular, Plaintiff points to Duffy’s deposition

testimony that he has never read (or even “touched”) a SMACNA Manual. Id. at 15 (quotation

marks omitted). Plaintiff also argues that “there is no evidence that Mr. Duffy . . . knew about or

had ever before seen” the relevant figures in the SMACNA Manual. Id.

       Defendants respond that “[t]here is at least a genuine dispute regarding an intent to

deceive.” Defs.’ Resp. Pl.’s Mot. Summ. J. Inequitable Conduct 28 (emphasis omitted).

Defendants suggest Duffy’s testimony may not be credible, see id. at 29 (“[S]uch testimony is

directly at odds with Mr. Duffy’s demonstrable familiarity with the SMACNA Manual . . . .”),



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but begin and end with the argument that it is “equally problematic” if Duffy “refused” to read

the SMACNA Manual to avoid learning of its materiality and withheld it on that basis, see id. at

28–30. However, the case Defendants cite to for that proposition, id. at 2, 30, stands for the

opposite conclusion, see Golden Hour Data Sys., Inc. v. emsCharts, Inc., 614 F.3d 1367, 1378

(Fed. Cir. 2010), overruled on other grounds by Akamai Techs., Inc. v. Limelight Networks, Inc.,

797 F.3d 1020 (Fed. Cir. 2015) (“[I]f [the inventors] did not read the brochure (and did not do so

to avoid learning of damaging information), those actions regarding the failure to disclose the

information on the inside of the brochure would at most, amount to gross negligence. Gross

negligence is not inequitable conduct.”). As a matter of law, Defendants cannot succeed on their

“heads I win, tails you lose” theory of inequitable conduct. See Therasense, 649 F.3d at 1290

(“[T]he evidence must be sufficient to require a finding of deceitful intent in the light of all the

circumstances.” (quotation marks omitted)). The conduct they argue is most likely to have

occurred is not inequitable conduct as a matter of law. And in any event, Defendants’ evidence,

at best, establishes that Duffy has a cursory awareness of (not “demonstrable familiarity” with)

the SMACNA Manual because some of its contents generally relate to his work. See, e.g., Defs.’

Resp. Pl.’s Mot. Summ. J. Inequitable Conduct 29 (arguing that Duffy “knew of” the SMACNA

Manual and was “familiar enough” with the SMACNA Manual to infer that it contains a

particular teaching (quotation marks omitted)). Accordingly, Plaintiff’s Motion for Summary

Judgment Dismissing Defendants’ Inequitable Conduct Affirmative Defense is GRANTED.5 Cf.


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  Defendants ask pursuant to Federal Rule of Civil Procedure 56(d) for more time to obtain discovery from
Plaintiff’s patent prosecution counsel, a Canadian attorney. Defs.’ Resp. Pl.’s Mot. Summ. J. Inequitable Conduct
30–31. Federal Rule of Civil Procedure 56(d) permits a court to deny or defer consideration of a motion for
summary judgment “[i]f a nonmovant shows by affidavit or declaration that, for specified reasons, it cannot present
facts essential to justify its opposition.” The Court finds that Defendants have not made such a showing:
Defendants’ counsel’s declaration, Shimota Decl., ECF No. 80-8, and the attached exhibits show only that
Defendants have had difficulty securing discovery from the Canadian attorney and that there is a possibility he could
have relevant information related to a separate, entirely speculative theory of inequitable conduct. Cf. Defs.’ Resp.
Pl.’s Mot. Summ. J. Inequitable Conduct 30 (arguing that “testimony of prosecution counsel is ordinarily highly

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Star Sci., Inc. v. R.J. Reynolds Tobacco Co., 537 F.3d 1357, 1367 (Fed. Cir. 2008) (“If a

threshold level of intent to deceive or materiality is not established by clear and convincing

evidence, the district court does not have any discretion to exercise and cannot hold the patent

unenforceable regardless of the relative equities or how it might balance them.”).

                     iv. Damages

         Defendants finally argue that “the evidence is insufficient to support an award of lost

profits or convoyed sales.” Defs.’ Mot. Summ. J. 24 (capitalization altered) (emphasis omitted).

The Court addresses each in turn.

                               1. Lost Profits

         A patentee may recover lost profits by establishing “(1) demand for the patented product;

(2) absence of acceptable non-infringing alternatives; (3) manufacturing and marketing

capability to exploit the demand; and (4) the amount of profit it would have made.” Mentor

Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1285 (Fed. Cir. 2017) (citing Panduit Corp. v.

Stahlin Bros. Fibre Works, Inc., 575 F.2d 1152, 1156 (6th Cir. 1978)). The Federal Circuit has

commented that “[t]he second factor, absence of acceptable non-infringing alternatives, often

proves the most difficult obstacle for patent holders.” Id. at 1286. “Under this factor, if there is

a non[-]infringing alternative which any given purchaser would have found acceptable and

bought, then the patentee cannot obtain lost profits for that particular sale.” Id.

         Defendants argue that “no reasonable jury could find the absence of non-infringing

alternatives” in light of the expert reports. See Defs.’ Mot. Summ. J. 24–25 (“Dr. Morse[]

provided no less than five acceptable non[-]infringing alternatives . . . . [Defendants’ damages

expert] Mr. Clemons[] similarly opined on the economic acceptability of . . . existing market


pertinent to a finding of inequitable conduct” because prosecution counsel also has a duty to disclose material
information).

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solutions . . . .” (emphasis omitted) (citation omitted)). Although Plaintiff’s expert John Curtis

opined that “no acceptable non-infringing alternatives appear to have been available,” Curtis

Report 16–20, ECF No. 69-3, Defendants argue that Curtis cannot render that conclusion, see

Defs.’ Mot. Summ. J. 25.

       To make this argument, Defendants point to Webasto Thermo & Comfort North America,

Inc. v. BesTop, Inc., Case No. 16-cv-13456, 2019 WL 3334563, at *5–7 (E.D. Mich. July 25,

2019). In Webasto, the district court granted a motion to exclude the defendant’s damages

expert’s testimony regarding a hypothetical non-infringing alternative because the expert’s report

and deposition testimony “demonstrate[d] without question that his entire opinion . . . [wa]s

100% a regurgitation of what he was told in conversation” by an engineer. Id. at *5. Applying

Federal Rules of Evidence 602, 701, and 702, the court reasoned that the expert witness had

“absolutely no independent expertise or knowledge regarding the alleged alternative non-

infringing design-around about which he opines and relie[d] entirely on what he was told in

conversation by [the engineer], who [could not] offer any of the underlying opinions.” Id. at *6.

Analogizing to Webasto, Defendants argue that Curtis, an accountant, cannot rely on

conversations with Plaintiff’s employee Paul Wells to form his various opinions as to market

alternatives. See Defs.’ Mot. Summ. J. 25.

       Plaintiff distinguishes Webasto, arguing that the excluded opinions here concern existing

market alternatives rather than a hypothetical product. See Pl.’s Resp. Defs.’ Mot. Summ. J. 51.

Defendants reply that Webasto “does not recognize such a distinction,” Defs.’ Reply Supp. Def.

Mot. Summ. J. 12 n.3, but the Webasto court had no reason to consider that scenario.

       Of course, “[a] party may object that the material cited to support or dispute a fact cannot

be presented in a form that would be admissible in evidence” at summary judgment. Fed. R.



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Civ. P. 56(c)(2). But admissibility is governed by the Federal Rules of Evidence. Whether the

facts at hand are similar to any other case (particularly an unreported district court case) is not

the inquiry. The parties’ Webasto proxy war thus has limited utility.

       Given that neither Defendants’ motion nor Plaintiff’s response (in which Plaintiff argues

that certain other expert opinions are inadmissible, see Pl.’s Resp. Defs.’ Mot. Summ. J. 49–50)

engages with the Federal Rules of Evidence whatsoever, the Court is convinced that the best

approach is to deny summary judgment as to lost profits. If this case proceeds to trial, the parties

will have the opportunity to file motions in limine as to the inadmissibility of certain evidence,

including expert evidence. The parties should engage directly with the relevant rules and explain

at that time if those motions have dispositive consequences. Accordingly, Defendants’ Motion

for Summary Judgment of Noninfringement and Invalidity is DENIED as to lost profits. This

issue cannot be resolved at summary judgment.

                           2. Convoyed Sales

       “A patentee may recover lost profits on unpatented components sold with a patented

item, a convoyed sale, if both the patented and unpatented products together were considered to

be components of a single assembly or parts of a complete machine, or they together constituted

a functional unit.” Am. Seating Co. v. USSC Grp., Inc., 514 F.3d 1262, 1268 (Fed. Cir. 2008)

(quotation marks omitted). For example, in American Seating, the patented invention was a

wheelchair restraint system for vehicles, and the unpatented product was passenger seats. Id. at

1265. The Federal Circuit affirmed the district court’s conclusion that the restraint system and

seats lacked the requisite functional relationship because, among other reasons, the products

operated independently and “[t]he evidence show[ed] that passenger seats command[ed] a

market value and serve[d] a useful purpose independent of the patented” restraints. Id. at 1268–



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69. In Juicy Whip v. Orange Bang, the Federal Circuit reversed the district court’s “clearly

erroneous” conclusion that a patented syrup dispenser and unpatented syrup had no functional

relationship because “[t]he dispenser needs syrup and the syrup is mixed in a dispenser. Such is

indeed a functional relationship.” Juicy Whip, Inc. v. Orange Bang, Inc., 382 F.3d 1367, 1371–

73 (Fed. Cir. 2004).

         Defendants argue that Plaintiff “does not attempt the rigorous functional relationship

test.” Defs.’ Mot. Summ. J. 26. In other words, Defendants contend that Plaintiff’s unpatented

products “have essentially no functional relationship to the patented invention,” Am. Seating Co.,

514 F.3d at 1268. But Defendants also have a more elemental grievance: That Plaintiff has not

even identified the unpatented product(s) at issue. See Defs.’ Mot. Summ. J. 27. Defendants cite

to DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314, 1333 (Fed. Cir. 2009) to

suggest that convoyed sales damages cannot be awarded “where [the] damages expert [can]not

identify specifically what products he included in his lost-profits analysis.” Id. at 27 (quotation

marks omitted). That does not seem to be the exact holding,6 but Defendants’ arguments are

well-taken. Plaintiff has neither identified any unpatented product(s) at issue nor articulated any

basis for a functional relationship.

         Plaintiff responds with Curtis’s report, Pl.’s Resp. Defs.’ Mot. Summ. J. 53, in which

Curtis explains that Plaintiff’s head of mechanical sales informed him that Plaintiff offers a

variety of products relating to its patented technology and often generates additional sales

because of it, Curtis Report 22. Curtis also opines that sales of Plaintiff’s patented products


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  “[The plaintiff’s] damages expert could not identify specifically what products he included in his lost-profits
analysis, but speculated [at trial] that [the] pull-through products [that he included in his analysis] included such
things as head braces, vests, and other products not used in spinal surgeries.” DePuy Spine, 567 F.3d at 1333.
“Because it [wa]s undisputed that [the plaintiff’s] unpatented pull-through products neither compete[d] nor
function[ed] with its patented . . . [surgical screws] and were sold (i.e., ‘pulled-through’) only by virtue of [its]
business relationship with surgeons,” the Federal Circuit held that “[the plaintiff] was not legally entitled to recover
lost profits on those unpatented products.” Id. at 1333–34.

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promote sales of related duct and exhaust products because customers often request that the same

manufacturer provide related products.7 Id. at 26. This cannot be sufficient to avoid summary

judgment. Plaintiff argues that Defendants have “present[ed] no affirmative evidence to

demonstrate the absence of convoyed sales,” Pl.’s Resp. Defs.’ Mot. Summ. J. 53, but Plaintiff

misunderstands its burden, see Fed. R. Civ. P. 56(c)(1)(b). Asked by Defendants to “put up or

shut up,” Weaver v. Champion Petfoods USA Inc., 3 F.4th 927, 938 (7th Cir. 2021) (quotation

marks omitted), Plaintiff now must put up facts from which a functional relationship between its

patented technology and any accompanying unpatented product(s) could be found, see Johnson

v. Cambridge Indus., Inc., 325 F.3d 892, 901 (7th Cir. 2003) (“As we have said before, summary

judgment is the ‘put up or shut up’ moment in a lawsuit, when a party must show what evidence

it has that would convince a trier of fact to accept its version of events.” (quotation marks

omitted)). No reasonable jury could award convoyed sales damages based on Plaintiff’s thin and

vague facts. Defendants’ Motion for Summary Judgment of Noninfringement and Invalidity is

thus GRANTED as to convoyed sales.

                                               CONCLUSION

        Accordingly, Plaintiff DuraSystems Barriers Inc.’s Motion for Summary Judgment of

Patent Infringement, ECF No. 63, is GRANTED; Motion for Summary Judgment of No

Invalidity, ECF No. 64, is DENIED; and Motion for Summary Judgment Dismissing

Defendants’ Inequitable Conduct Affirmative Defense, ECF No. 65, is GRANTED. Defendants

Van-Packer Co. (“Van-Packer”) & Jeremias, Inc.’s Motion for Summary Judgment of

Noninfringement and Invalidity, ECF No. 67, is DENIED as to non-infringement, DENIED as to


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  A similar link was rejected by the Federal Circuit in American Seating. See Am. Seating, 514 F.3d at 1268 (“The
fact that customers prefer that passenger seats and tie-down wheelchair restraint systems come from a single
supplier for ease of purchase, repair, and uniform design and appearance, does not compel the conclusion that the
seats and tie-down system are analogous to components of a single assembly . . . .” (quotation marks omitted)).

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indefiniteness, DENIED as to written description, DENIED as to enablement, DENIED as to lost

profits, and GRANTED as to convoyed sales. Defendants’ motion to seal, ECF No. 68, and

Plaintiff’s motion to seal, ECF No. 75, are DENIED. Defendants’ motion to withdraw, ECF No.

71, is GRANTED. The Clerk is DIRECTED to strike ECF No. 62 and to unseal the exhibits on

the docket at ECF No. 69-1, ECF No. 69-2, ECF No. 69-3, ECF No. 69-4, ECF No. 76-1, and

ECF No. 76-2. The parties are encouraged to explore settlement and should file a status report

advising the Court as to how this case will proceed within 60 days of service of this Order.



       Entered this 31st day of March, 2023.

                                                            s/ Sara Darrow
                                                           SARA DARROW
                                                 CHIEF UNITED STATES DISTRICT JUDGE




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                                                        Filed: 127 Filed: 05/06/2024
                                                                       Page  1 of 1
Judgment in a Civil Case (02/11)



                             UNITED STATES DISTRICT COURT
                                                 –for the
                                        Central District of Illinois

DuraSystems Barriers Inc.,                       )
                                                 )
                    Plaintiff,                   )
                                                 )
                               vs.               )        Consolidated Case No. 1:19-cv-01388-
                                                 )        SLD-JEH
                                                 )
Van-Packer Co. & Jeremias, Inc.,                 )
                                                 )
                    Defendants.                  )


                                     JUDGMENT IN A CIVIL CASE


DECISION BY THE COURT.                 This action came before the Court, and a decision has been
rendered.

IT IS ORDERED AND ADJUDGED that Defendant Van-Packer Co.’s GRZ Grease Duct
System and Defendant Jeremias, Inc.’s DWGD-RZ Grease Duct System (collectively the
“Accused Products”) directly infringe claims 3, 6, 10–13, 16, 19, and 20 (“Asserted Claims”) of
U.S. Patent No. 10,024,569 (“’569 Patent”).

Defendants, their officers, agents, servants, employees, and all persons acting in active concert or
participation with them who receives actual notice of the injunction in this case by personal
service or otherwise, is hereby permanently enjoined from directly or indirectly making, having
made, using, selling, advertising, manufacturing, importing, or distributing the Accused
Products, or any colorable imitation thereof, which infringes, literally or equivalently, the
Asserted Claims of the ’569 Patent until the ’569 Patent expires or is no longer in force.


Dated: 1/19/2024

                                                          s/ Shig Yasunaga
                                                          Shig Yasunaga
                                                          Clerk, U.S. District Court




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                                                                          Page: 128                    Filed: 05/06/2024

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(12) United
     Duffy
            States Patent                                                   ( 10 ) Patent No.: US 10 ,024,569 B2
                                                                            (45) Date of Patent:                               Jul. 17 , 2018
(54 ) FIRE -RATED MODULAR DUCT ASSEMBLY                                         2 , 183,174 A         12 / 1939 Wiley
      AND IMPROVEMENTS THEREIN                                                  2 ,226 ,523 A         12/ 1940 Peck
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(71) Applicant: William Christopher Duffy , Thornhill                           3 ,003,794 A 10 /1961 Burley
                                                                                                                                       138 /141
                 (CA )                                                          3 , 123 ,880 A   3/ 1964 Barry et al .
(72 ) Inventor : William Christopher Duffy , Thornhill                          3 , 198 ,561 A         8 / 1965 Witt
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                        (CA )                                                   3 ,630 ,549 A         12/ 1971 Grimm
                        Subject to any disclaimer, the term of this             3 ,800 ,846 A          4 / 1974 Kurz
( * ) Notice :                                                                  3 ,811,714 A           5 / 1974 Pintard
                        patent is extended or adjusted under 35                 3 ,923 ,326 A         12/ 1975 Mez
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(21) Appl. No.: 14 /051,016                                                     4 ,509,778 A           4 / 1985 Arnoldt
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(22 ) Filed : Oct. 10, 2013                                                     4 ,557 ,297 A         12/ 1985 Montana
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(65 )                 Prior Publication Data                                    4 ,662,661 A           5 /1987 Arnoldt
         US 2015 /0101697 A1 Apr. 16 , 2015                                                                 (Continued )
(51) F16L
     Int. Cl.                                                                           FOREIGN PATENT DOCUMENTS
            9 / 14                  ( 2006 .01)
         F16L 9 / 18                ( 2006 .01)                                                   2357078          12 /2002
                                                                                                  2450977           5 / 2005
         F24F 13 /02                ( 2006 .01)
         F16L 23/ 14                ( 2006 .01)                                                             (Continued )
         F16L 57704                 ( 2006 .01)
         F16L 9 /00                 ( 2006 .01 )                       Primary Examiner — Vishal Pancholi
(52) U .S . CI.                                                        (74 ) Attorney, Agent, or Firm — Cognitive IP Law
         CPC .......... F24F 13 / 0209 ( 2013 .01); F16L 9/ 003
                (2013.01); F16L 23 / 14 ( 2013 .01); F16L 57/ 04
                (2013 .01); F24F 13 /0263 (2013 .01); F24F              (57 )                 ABSTRACT
                   13 /0281 (2013 .01); F24F 2221/ 30 (2013.01 )
(58 ) Field of Classification Search                                   A fire -rated exhaust duct system comprising a modular
      CPC . .. F24F 13 /0209; F24F 13 /0263 ; F16L 23/ 16              configuration or structure . The fire - rated exhaust duct sys
      USPC ................. 138 / 149, 106 - 108 , 111 , 112 , 148    tem comprises a plurality of exhaust duct sections. Each of
      See application file for complete search history .               the exhaust duct sections is configured to be joined or
                                                                       connected with other exhaust duct sections in the field or at
(56 )                 References Cited                                 an installation site , e . g . in building housing a kitchen facility
              U .S . PATENT DOCUMENTS                                  or a laboratory facility to form longer sections or runs for
                                                                       exhaust duct system .
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        1,992 ,574 A        2 / 1935 Jenkins                                                20 Claims, 9 Drawing Sheets
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                                       FIG . 1




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            212a -


                                      FIG . 2




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                                             FIG . 3




                                              Appx115
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                                                     FIG. 4




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                                  Appx117
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                                               FIG . 6




                                              Appx118
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                                                FIG . 7




                                                Appx119
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                                                      FIG . 8




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                                                        FIG . 9




                                                  Appx121
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    FIRE -RATED MODULAR DUCT ASSEMBLY                                  leaks in the duct system during pressure testing. Conven
           AND IMPROVEMENTS THEREIN                                    tional fire- rated duct systems typically require the installa
                                                                       tion of an additional gypsum fire -rated enclosure (approxi
         BACKGROUND OF THE INVENTION                                   mately 10 " thick ) around the duct. In addition to requiring an
                                                                 5 additional step , the gypsum enclosure is typically con
  The present application relates to a duct assembly , and         structed /installed by another trade .
more particularly , to a fire -rated modular duct assembly , and      In an attempt to overcome the known shortcomings in the
improvements therein , suitable for exhausting flammable or            art, chimney manufacturers introduced pre - fabricated fire
hazardous gases, vapour and the like .                                 rated exhaust ducts based on a modification of existing
                                                                    10 chimney exhaust systems. While these pre - fabricated fire
         BACKGROUND OF THE INVENTION                                   rated exhaust ducts addressed shortcomings of existing
                                                                       systems, the characteristic round profile significantly limits
  Many processes in commercial and industrial facilities               the volume of air that can be vertically carried in conven
generate flammable or hazardous gases , vapors or particles.           tional building footprints , and in a horizontal configuration ,
The hazardous material must be captured at the source and 15 the round profile or cross section is often too large to fit into
transported or moved through the facility (e.g . building ) to conventional ceiling space spaces or dimensions.
a location where the material can be discharged , e .g. directly          Accordingly , there remains a need for improvements in
into the atmosphere , or into a collection or a treatment              the art .
system within the building or exterior to the building.
    In a typical facility , ventilation ducts are routed through - 20      BRIEF SUMMARY OF THE INVENTION
out the building. The ventilation ducts penetrate and cross
fire separations, and typically comprise interior dampers             The present invention comprises embodiments of a modu
installed within the fire separation section to prevent fire that lar fire-rated duct system and improvements therein and
penetrates the duct from travelling through the duct across         suitable for pre - fabrication and configured for assembly in
the fire separators in the building. It will be appreciated that 25 the field .
while such an implementation may be sufficient for the fire               According to an embodiment, the present invention com
protection of ventilation ducts, ventilation or exhaust ducts          prises a modular fire - rated exhaust duct assembly compris
for flammable or hazardous materials cannot be configured              ing : two or more exhaust duct modules ; each of said exhaust
with fire dampers, so the duct itself must be fire -rated .            duct modules having an inner duct liner and an outer casing,
   To be classified as a fire -rated duct, an exhaust ductmust 30 and a void being formed between at least a portion of space
be capable ofpreventing the release of flammable materials             between said inner duct liner and said outer casing, said void
from inside the duct and /or combustible materials adjacent            being configured for receiving an insulation material, and
the exterior of the exhaust duct from catching fire if a fire          including one or more thermal spacers configured to main
exists on the other side of the duct. In other words , a               tain said inner duct liner and said outer casing in a spaced
 fire - rated duct must be capable ofminimizing the transfer of 35 relationship so that said insulation material occupies said
heat through or across the duct walls . It is also desirable to    void ; a first exterior flange connector , and one end of each
maintain the wall thickness to a workable minimum .                    of said exhaust ductmodules being configured for receiving
   Fire -rated ducts are typically found in installations such as      said first exterior flange connector; a second exterior flange
commercial kitchens and laboratories .                          connector, and another end of each of said exhaust duct
   In a commercialkitchen , the exhausthoods are configured 40 modules being configured for receiving said second exterior
to capture grease laden air over deep fryers and grills , which flange connector; said first and said second exterior flange
is extremely flammable , and must be transported through the    connectors being configured to form a field assembly junc
building to an exterior area where it can be safely dis                tion for coupling respective ends of said exhaust duct
charged . Due to the flammable nature of the exhausted                 modules to form a single exhaust duct run ; and a joint
vapour, a minor fire , for example , in the kitchen could enter 45 encasement section configured to be field connectable to
the exhaust duct and quickly spread throughout the duct                each of said exhaust duct modules and encase said junction .
system . As a result, any potential fire inside the duct system          According to another embodiment, the present invention
must be contained and thermal transfer through the duct                comprises an exhaust duct module configured to be
walls limited to prevent ignition of adjacent combustible              assembled in the field to form a fire -rated exhaust duct
material in the kitchen or other areas of the building . In 50 assembly , said exhaust duct module comprising : an inner
addition , the exhaust duct system must be capable of pre -            duct liner formed with a generally rectangular cross - section ;
venting the ignition of the grease laden air from a fire source        an outer casing formed with a generally rectangular cross
in another part of the building and then spreading to the              section and being sized to substantially surround said inner
kitchen or other parts of the building where the exhaust duct          duct liner and a void being formed between at least a portion
system is routed .                                                  55 of space between said inner duct liner and said outer casing ,
   In a laboratory installation , the exhaust system is config -       said void being configured for receiving an insulation mate
ured to collect and exhaust chemical vapours, including                rial, and further including one or more thermal spacers
vapours from chemicals with low flash points , and contain             configured to maintain said inner duct liner and said outer
any fire inside the duct system , or prevent an external fire          casing in a spaced relationship so that said material occupies
from igniting the vapour inside the duct system .             60 said void ; a first exterior flange connector, and one end of
  Known fire - rated exhaust duct systems are typically fab -    said exhaust ductmodule being configured for receiving said
ricated in sections, and the sections are shipped to the                first exterior flange connector; a second exterior flange
installation location . At the installation location , the sections connector, and another end of said exhaust duct module
are welded together to form continuous conduits or conduit being configured for receiving said second exterior flange
sections. Due to field conditions, the welding could be of 65 connector; and said first exterior flange connector and said
poor work quality , for instance , due to limited space and /or second exterior flange connector being configured to be field
setup . This meant expensive rework and re -welding to seal attachable to couple another exhaust duct assembly.
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   According to a further embodiment, the present invention          exhaust duct is indicated generally by reference 100 and
comprises an exhaust duct module configured to be                    according to an embodiment comprises a plurality of
assembled in the field to form a fire -rated exhaust duct            exhaust duct sections or modules 110 , indicated individually
assembly, said exhaust duct module comprising: an inner by references 110a and 110b , as shown in FIG . 1. The
duct liner formed with a generally rectangular cross - section ; 5 individual exhaust sections 110 are connected or coupled
an outer casing formed with a generally rectangular cross - together with a mechanical joint indicated generally by
section and being sized to substantially surround said inner reference 120 and described in more detail below . Embodi
duct liner and a void being formed between at least a portion ments of the modular fire -rated exhaust duct system or
of space between said inner duct liner and said outer casing, apparatus according to the present invention are suitable for
said void being configured for receiving a compressible 10 installations or applications requiring fire -rated duct sys
insulation material, and further including one or more ther          tems, such as exhaust duct systems for commercial appli
mal spacers configured to maintain said inner duct liner and         cations , for instances, kitchens and restaurants , laboratories
                                  elationshin so that said
said outer casing in a spaced relationship                           and other chemical or hazardous material processing facili
compressible insulation material occupies said void : a first        ties , as will be apparent to those skilled in the art.
exterior flange connector, and one end of said exhaust duct 15 Reference is next made to FIG . 2 , which shows an inner
module being configured for receiving said first exterior exhaust duct liner assembly according to an embodiment of
 flange connector; a second exterior flange connector, and the present invention and indicated generally by reference
another end of said exhaust duct module being configured 200 . The inner exhaust duct liner assembly 200 comprises an
 for receiving said second exterior flange connector; and said inner duct liner 210, and external flanged connectors 212 ,
 first exterior flange connector and said second exterior 20 indicated individually by references 212a and 212b .
flange connector being configured to be field attachable to             As shown in FIGS. 2 and 4 , the inner metallic duct 210 is
couple another exhaust duct assembly .                               formed with an outer return or flange at each end , indicated
   Other aspects and features according to the present appli    generally by reference 214 . The flange 214 is configured to
cation will become apparent to those ordinarily skilled in the overlap a portion of the external flange connector 212 .
art upon review of the following description of embodiments 25 According to an exemplary implementation, the innermetal
of the invention in conjunction with the accompanying lic duct 210 is fabricated from stainless, carbon or coated
figures .                                                      steels, and is formed into a tube with a square or rectangular
                                                               profile or cross - section . According to requirements under the
      BRIEF DESCRIPTION OF THE DRAWINGS                        UL 2221 and ASTM E2336 standards, the minimum wall
                                                                  30 thickness for the inner metallic duct 210 is typically 18
  Reference will now be made to the accompanying draw                gauge (ga ) for stainless steel and 16 ga for carbon steels .
ings which show , by way of example , embodiments accord -              The inner metallic duct 210 can be fabricated or formed
ing to the present application , and in which :                      in a number of ways including : ( 1) forming a piece ofmetal
   FIG . 1 is a perspective view of an exhaust duct system           into a tube; (2 ) forming two pieces ofmetal into “ L ” shaped
according to an embodiment of the present invention and 35 sections and joining the two sections together to form a
comprising a rectangular configuration and two sections or rectangle ( or a square profile ) tube ; (3 ) forming a single
modules ;                                                  piece of metal into a “ U ” shaped section and joining a flat
   FIG . 2 is a perspective view ofan inner exhaust duct liner       piece ofmetal to the open end of the “ U ” shaped section ; or
according to an embodiment of the present invention ;             (4 ) using four separate pieces or panels of steel and joining
   FIG . 3 is an exploded view of one the sections of FIG . 1; 40 them to form a rectangular ( or square ) profile tube . The
   FIG . 4 is a longitudinal sectional view of the first section longitudinal joint or joints are continuously welded to pro
in FIG . 1 taken along line A - A ;                               vide a liquid and air tight seal between the edges of the
  FIGS. 5 ( a ) to 5 (c ) show a thermal spacer configuration        panels. Other connection techniques, such as Pittsburgh type
according to an embodiment of the present invention ;                mechanical locks or pocket locks which are sealed with
   FIG . 6 is a perspective view of an inner exhaust liner 45 stitch welding , can be utilized as will be understood by one
comprising first and second modular sections and the con -           skilled in the art. Such techniques can provide mechanical
figuration for joining the two sections according to an              strength to pass the fire exposure tests .
embodiment of the present invention ;                                   The flange 214 (FIGS . 2 and 4 ) is formed at each
   FIG . 7 is a perspective of the inner exhaust liner of FIG .      transverse end of the inner metallic duct 210 and serves to
6 showing a configuration for thermally encasing the 50 define the duct section length . The flange 214 is formed at
mechanical joint between the first and second modular                a right angle and provides a smooth flat surface for coupling
sections according to an embodiment of the present inven -           adjacent duct sections and assisting in providing a liquid and
tion ;                                                               air-tight surface, as described in more detail below .
   FIG . 8 is a longitudinal sectional view of the inner exhaust      According to an embodiment, the external flange connec
liner of FIG . 7 taken through line B - B ; and                  55 tor 212 is formed or fabricated from the same type of metal
   FIG . 9 is a partial and enlarged view of the joint encase        as the inner metallic duct 210 in order to avoid the potential
ment, i.e . the encased mechanical joint, for the inner exhaust      for galvanic action which can occur with the joining of
liner of FIG . 7 .                                                   dissimilar metals . According to an embodiment, the external
   Like reference numerals indicate like or corresponding            flanged 212 comprises four individual sections that are
elements in the drawings .                                        60 formed into right angle sections (as shown for external
                                                                     flange connectors 212a and 212b in FIG . 2 ), for instance ,
           DETAILED DESCRIPTION OF THE                               from flat metal strips or cut from hot rolled right angle
                  EMBODIMENTS                                        formed structural steel and which are cut into the required
                                                                     lengths for the top and bottom pieces and the side pieces .
   Reference is first made to FIG . 1 , which shows a fire -rated 65 The corners of the four individual sections for each of the
modular exhaust duct system or assembly according to an              external flange connectors 212 are suitably mitered , or in the
embodiment of the invention . The fire -rated modular                alternative square cut, to achieve closed corners in the
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external flange connector 212 , and thereby allow the exter           FIGS. 1, 8 and 9 ) . For outer casing panels 310 fabricated
nal flange connectors 212 to provide a better seal (liquid or         from a metallic material, the edge reinforcement members
air tight) at the joints formed from joining the external flange      312 may be formed directly in the traverse edge of the
connectors 212 together for respective exhaust duct sections          respective metallic sections or panels 310 of the outer casing
110a and 110b ( FIG . 1 ). The external flange connectors 212 5 300 .
are fabricated with a thickness sufficient to support the duct    Referring again to FIG . 3 , for outer casing panels 310
assembly and prevent the duct assembly from collapsing due            formed from a metal or metallic material , the longitudinal
to fire exposure , and for typical installations , will have a         dges may be connected using Pittsburgh or Button type
thickness in the range of 0 . 125 " to 0 . 250 " , depending on the   mechanical locks or mechanisms as will be understood by
width or depth of the duct and /or the size of the flanged 10 those skilled in the art. According to another implementa
connection section . As shown in FIG . 2 and according to an          tion , other connection mechanisms or techniques may be
exemplary implementation , each of the external flange con -          utilized , such as, pocket locks that are stitch welded or
nectors 212 includes six holes 600 (punched or drilled ) at           screwed to provide positive connection , or welding tech
nominal 4 " to 8" centers for receiving bolts 610 and corre    niques, such as continuous welding of the panels, provide
sponding nuts 620 for joining the duct sections 110 and 112 15 the resulting mechanical structure meets the required
together, for example , as shown in FIGS. 6 and 8 .            mechanical strength and / or fire exposure tests . For outer
  According to another aspect, the external flange connector   casing panels 310 formed from a fire resistant board , the
212 is formed by joining , for instance , welding , the four outer casing 300 comprises outer flashing members 330 ,
individual sections together. The external flange connectors indicated individually by references 330a, 330b , 330c and
212 are then joined to the respective ends of the inner 20 330d in FIG . 3 . The outer flashing members 330 are con
metallic duct 210 , for instance, using a continuous weld or          figured to protect the edges of the fire resistantboard panels
a stitch weld , at the outer flange or return 214 at a contact        310 and according to an exemplary implementation , the
point or surface indicated generally by reference 510 in FIG .        outer flashing members 330 are fastened through the outer
5 ( a ), and at the interface between the external flange con         casing panel 310 and into the respective inner connection
nector 212 and the inner metallic duct 210 at a contact point 25 angle members 320 , for example, using self- tapping screws
or surface indicated generally by reference 520 in FIG . 5 (b ). or similar fasteners , indicated generally by reference 332
   Reference is next made to FIG . 3 , which shows an                 and shown in FIGS. 5 (a ), 5 (b ) and 5 ( c ) .
exploded view of one of the exhaust duct modules or                     According to another aspect, the options as to size , shape ,
sections 110 according to an embodiment of the invention . width - to - depth ratio , and types of insulating materials for
The exhaust duct section 110 comprises the inner metallic 30 configuring the exhaust duct modules or sections 110 , the
duct 210 , the first 212a and the second 212b external flange assembly and / or insulating of the outer casing assembly 300
connectors ( as described above ), and an outer casing indi-          may be performed in a number of ways , which can serve to
cated generally by reference 300 . According to another               simplify assembly . For a duct assembly with a smaller cross
aspect, there is a void or space 402 between the outer casing         section , the inner metallic liner 210 may be wrapped with a
300 ( i.e . the outer casing panels 310 ) and the inner duct 35 blanket type insulating material 410 prior to assembly of the
assembly 200 (i.e . the inner metallic duct 210 ) that is filled      outer casing assembly 300 around the inner duct assembly
with an insulating material indicated generally by reference          200 . For a duct assembly with a larger cross section , or
410 in FIG . 4 . According to another aspect, the exhaust duct        where the insulating material 410 comprises a batt- type or
module or section 110 includes a thermal spacer indicated             blanket type insulation (or a board type insulation ), the outer
generally by reference 420 in FIG . 4 , as will be described in 40 casing assembly 300 , i.e . the outer casing panels 310 , may
more detail below . According to an embodiment, the outer             be assembled into a “ U ” shaped section ( e .g . formed from
casing 300 comprises separate metallic sheets ( or fire resis -       the outer casing panels 310b , 310c and 310d in FIG . 3 ),
tant board panels as described below ) or sections indicated          followed by the insulating material 410 for the bottom
individually by references 310a , 3105 , 310c and 310d . horizontal section (i. e. the outer casing panel 310c (FIG . 4 ).
According to another aspect, the outer casing 300 comprises 45 The inner duct assembly 200 would then be positioned
inner connection angle members 320 , indicated individually           inside the " U " shaped section for the outer casing 300 and
by references 320a , 320 , 320c and 320d in FIG . 3 .                 supported at the bottom corners by the thermal spacers 420 ,
  According to an embodiment of the present invention , the           for example , as shown in FIG . 4 . The void between the two
outer casing 300 may be formed as follows: (a ) forming two           respective side outer panels 310b and 310c, and the top
pieces of metal into “ L ” sections and joining the L - formed 50 panel of the inner metallic liner 210 would then be insulated
sections together , for example , at the corners ; (b ) forming       and two thermal spacers 420 would be positioned to support
one piece of metal into “ U ” shaped section and joining a flat       the top outer panel 310a and the top outer panel 310a would
piece to the top corners of the “ U ” shaped section ; (c ) using be installed and affixed as described above.
four separate metallic and joining them together at the              According to another aspect and as depicted in FIGS. 4
edges; or ( d ) using four separate panels or boards fabricated 55 and 5 (a ), the thermal spacers 420 are recessed into the
from a fire resistant material. The outer casing 300 further          insulation material 410 in order to maintain or provide a flat
includes edge reinforcement members 312 , indicated indi-             insulation face indicated by reference 422 in FIGS. 4 and
vidually by references 312a , 312b , 312c and 312d . The edge         5 (a ). According to another aspect, the flat insulation face
reinforcement members 312 may comprise “ J” shaped                    422 is inset from the transverse edge of the respective outer
metallic edge reinforces which are configured to be fitted 60 casing panel 310 , for example , the top 310a and the bottom
over the traverse edges of the respective outer casing panels         310c outer casing panels as shown in FIG . 4 . Once the
310. The edge reinforcement members 312 provide addi                  thermal spacers 420 are correctly positioned , the spacers 420
tional stiffness to the outer casing panel 310 , for instance,        are secured or connected to the outer casing panels 310 using
when the outer casing panels 310 comprise fire resistant              staples or screws indicated generally by reference 424 in
boards. The edge reinforcement members 312 also provide 65 FIG . 5 (c ), or a suitable adhesive , to ensure that the thermal
a metallic attachment point, for instance, for field installa - spacers 420 stay in the desired position for supporting the
tion of the joint encapsulation member 120 (as shown in outer casing panels 310 and maintaining the gap or void so
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that the insulating material 410 is not unnecessarily com -          according to fastener size being utilized. Once the adjacent
pressed or crushed . For a duct assembly with a smaller cross        exhaust duct sections 110a and 110b are connected together,
section , the thermal spacers 420 may be positioned or               the encapsulation sections 720 are installed . Each encapsu
located at the corners , for example , as shown in FIG . 5 (b ).     lation section 720 is fitted into the space between the outer
For a duct assembly with a larger cross section , additional 5 casing panels 310 of the adjacent duct sections 110a and
thermal spacers may be positioned along the space between       110b until the outer metallic layer 730 comes into contact
the outer casing panels 310 and the inner metallic liner 210   with outer casing panel 310 . The outer metallic layer 730 is
to provide additional support and maintain the space or              secured to the outer casing panel 310 using the screws 722 ,
separation for the insulating material 410 .                         which may be drilled and threaded into the outer casing
  Reference is made back to FIG . 1 and as shown, the two 10 panel 310 (metal) through pre -drilled or punched holes. This
exhaust duct sections 110a and 110b are joined or coupled            procedure is repeated for each exhaust duct section until the
together by the mechanical joint 120 . According to an               duct assembly extends from the source of vapours , gases or
embodiment, the mechanical joint 120 comprises a joint               materials to the point of discharge or treatment.
encasement having a configuration as shown in FIGS. 7 , 8                In summary and according to another embodiment, the
and 9 , and is indicated generally by reference 700 . The joint 15 present invention comprises an exhaust duct system com
encasement 700 is configured to encase or surround the joint         prising a plurality of individual duct sections which are
formed between two adjacent exhaust duct sections 110a               factory fabricated and then mechanically assembled on site.
and 110b when the exterior flange connectors 212 are                  The void is configured with thermal spacers to prevent the
connected together, for example , bolted .                      insulation from being unduly compressed or crushed . This
   As shown in FIG . 7 , joint encasement 710 comprises four 20 eliminates the need to do on site fabrication of the duct
sections 720, indicated individually by references 720a,        sections, e . g . welding and other hot work . The exhaust
720b , 720c and 720d. Each of the sections 720 comprises a           sections are connected together to form longer sections and
formed outer metallic profile 730 and an insulating material         runs to create a fire - rated exhaust duct system in a building
( or layers of insulating material) 740 . The insulating mate -       or other type of facility for exhausting or moving flammable
rial 740 is affixed to the inner face or side of the outer 25 or hazardous gases, vapours andmaterials from an originat
metallic layer 730 using suitable adhesives and /or mechani-         ing source , e. g . an exhaust hood or another duct inlet , to a
cal fasteners, in order to provide for pre - fabrication at the      location where the flammable or hazardous gases, vapours
factory and thereby minimize the number of components                or materials can be safely discharged , for example into the
transported to and assembled on site . However, there may be         atmosphere , or into a collection or treatment system .
applications where size and weight limitations and / or char- 30 According to an embodiment, the exhaust duct system is
acteristics of the insulating material 740 may require the       configured to utilize batted insulation material which is
insulating material 740 and the outer metallic profile 730 be        carried in a void between the inner duct liner and the outer
kept as separate components and then field installed over            c asing . According to another embodiment, the outer casing
joint between the exhaust duct sections 110 . As shown in             comprises non -metallic fire resistant panels .
FIGS. 8 and 9 , the outer metallic layer 730 has a width 35 The present invention may be embodied in other specific
sufficient to overlap the transverse edges of the outer casing formswithout departing from the spirit or essential charac
panels 310 . According to another aspect, the sections 720     teristics thereof. Certain adaptations and modifications of
having longitudinal edges formed with a safety or hemmed       the invention will be obvious to those skilled in the art.
edge in order to stiffen the edge so that it lies flat against the Therefore , the presently discussed embodiments are consid
outer casing panel 310 when installed .                           40 ered to be illustrative and not restrictive , the scope of the
  As shown in FIGS. 8 and 9 , the joint encasement sections          invention being indicated by the appended claimsrather than
720 comprise a hat configuration having a channel like               the foregoing description , and all changes which come
configuration with flanges or returns 760 formed outward             within the meaning and range of equivalency of the claims
from the legs of the channel to create an attachment surface         are therefore intended to be embraced therein .
or points for connecting to the outer casing panels 310 using 45
fasteners 722 , for example , screws, through holes ( i. e .             What is claimed is :
punched through holes ) in the flanges 760 . According to                1. A modular fire-rated exhaust duct assembly compris
another aspect , a thermal gasket indicated by reference 724          ing :
in FIG . 9 can be included to thermally isolate the joint                two or more exhaust duct modules ;
encasement sections 720 from the outer casing panel 310 . 50             each of said exhaust duct modules having an inner duct
   In accordance with an exemplary embodiment, the fire                       liner and an outer casing , and a void being formed
rated exhaust duct sections 110 and encasement joint 120 is                   between at least a portion of space between said inner
fabricated and assembled on a component level as described                    duct liner and said outer casing , said void being con
above in the factory and delivered to the installation site .                 figured for receiving an insulation material, and includ
According to an exemplary embodiment, a 0 .250 to 0 .500 55                   ing one or more thermal spacers configured to maintain
inch diameter bead of high temperature sealant may be                         said inner duct liner and said outer casing in a spaced
applied to the face of one of the exterior flange connectors                  relationship so that said insulation material occupies
212 adjacent the edge of the flange or return 214 (FIG . 4 ( a ))             said void , said one or more thermal spacers thermally
on the inner metallic duct 210 . The second duct section 110b                 isolating said inner duct liner from said outer casing ;
is aligned with the first duct section 110a and brought 60               a first exterior flange connector, said first exterior flange
together so that the faces of the flanges 212 on both of the                connector being joined directly to one end of said inner
inner metallic ducts 210 are in contact. The bolts 610 ( FIG .                duct liner, and one end of each of said exhaust duct
6 ) are then installed through each hole 600 in the exterior                  modules being configured for receiving said first exte
flange connector 212 and the bolts 610 are secured by the                  rior flange connector;
nuts 620 (FIG . 6 ) . The fasteners are tightened in a circular 65       a second exterior flange connector, said second exterior
and progressive manner to a torque setting defined by the                   flange connector being joined directly to one end of
exhaust duct manufacturer's specifications, for example ,  said inner duct liner, and another end of each of said
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     exhaust duct modules being configured for receiving               a second exterior flange connector, said second exterior
     said second exterior flange connector;                              flange connector being joined directly to one end of
  said first and said second exterior flange connectors being            said inner duct liner, and another end of said exhaust
     configured to form a field assembly junction for cou                 ductmodule being configured for receiving said second
     pling respective ends of said exhaust duct modules to 5              exterior flange connector ; and
       form a single exhaust duct run ; and                            said first exterior flange connector and said second exte
   a joint encasement section configured to be field connect              rior flange connector being configured to be field
       able to each of said exhaust duct modules and encase             attachable to couple another exhaust duct assembly .
       said junction .                                               11 . The exhaust duct module as claimed in claim 10 ,
   2 . Themodular fire - rate exhaust duct assembly as claimed 10 further  including a thermal insulation material substantially
in claim 1 , said outer casing comprises one or more panels outer casingvoid
                                                                  filling said
                                                                                .
                                                                                   space between said inner duct liner and said
formed from a fire resistant non -metallic material.                 12 . The exhaust duct module as claimed in claim 11 ,
   3 . The modular fire -rated exhaust duct assembly as
                                                     as             wherein said inner duct liner and said outer casing are
claimed in claim 1, wherein said exhaust ductmodules have 15 formed from a metallic material, and each having a thickness
a generally rectangular cross- section .                     to provide a specified fire rating.
   4 . The modular fire -rated exhaust duct assembly as                13 . The exhaust duct module as claimed in claim 12,
claimed in claim 2 , wherein said inner duct liner comprises wherein said thermal insulation material comprises one of a
a return flange configured to be affixed to said first and said   batt insulation material and an insulation board .
second exterior flange connectors.                              2014 . The exhaust duct module as claimed in claim 11 ,
   5 . The modular fire- rated exhaust duct assembly as wherein said outer casing comprises one or more panels
claimed in claim 1, wherein said field assembly junction           formed from a fire resistant non -metallic material.
comprises a plurality of holes in each of said first and said          15 . The exhaust duct module as claimed in claim 14 ,
exterior flanges, said plurality of holes being in alignment on     wherein said thermal insulation material comprises one of a
said first and said exterior flanges , and being configured to 25 batt insulation material, a blanket insulation and an insula
receive a detachable fastener.                                      tion board .
   6 . The modular fire -rated exhaust duct assembly as                16 . An exhaust duct module configured to be assembled
claimed in claim 1 , wherein said inner duct liner and said         in the field to form a fire - rated exhaust duct assembly, said
outer casing are formed from a metallic material, and each          exhaust duct module comprising:
having a thickness to provide a specified fire rating.  30             an inner duct liner formed with a generally rectangular
   7 . The modular fire -rated exhaust duct assembly as                  cross -section ;
claimed in claim 1 , wherein said joint encasement section            an outer casing formed with a generally rectangular
comprises a plurality of joint encasement sections , each of             cross -section and being sized to substantially surround
said joint encasement sections comprising an outer layer and             said inner duct liner and a void being formed between
an inner layer, and said outer layer having a flange on each 35          at least a portion of space between said inner duct liner
longitudinal edge for affixing said encasement section to                and said outer casing , said void being configured for
respective ends of said adjacent exhaust duct modules .                  receiving a compressible insulation material, and fur
   8 . The modular fire -rated exhaust duct assembly as                  ther including one or more thermal spacers configured
claimed in claim 7 , wherein said outer casing is formed from            to maintain said inner duct liner and said outer casing
a metallic material having a thickness sufficient to provide a 40        in a spaced relationship so that said compressible
specified fire rating and said outer layer of said joint encase          insulation material occupies said void , said one or more
ment section comprises the same metallic material.                       thermal spacers thermally isolating said inner duct liner
   9. The modular fire -rated exhaust duct assembly as                   from said outer casing ;
claimed in claim 8, wherein said joint encasement sections             a first exterior flange connector, said first exterior flange
are configured to be field attachable to said respective 45              connector being joined directly to one end of said inner
surfaces of the said exhaust duct modules.                               duct liner, and one end of said exhaust duct module
   10 . An exhaust duct module configured to be assembled                being configured for receiving said first exterior flange
in the field to form a fire -rated exhaust duct assembly, said           connector ;
exhaust duct module comprising:                                        a second exterior flange connector, said second exterior
   an inner duct liner formed with a generally rectangular 50             flange connector being joined directly to another end of
     cross -section;                                                     said inner duct liner , and another end of said exhaust
   an outer casing formed with a generally rectangular                   ductmodule being configured for receiving said second
      cross -section and being sized to substantially surround           exterior flange connector; and
     said inner duct liner and a void being formed between            said first exterior flange connector and said second exte
     at least a portion of space between said inner duct liner 55        rior flange connector being configured to be field
     and said outer casing, said void being configured for               attachable to couple another exhaust duct assembly.
     receiving an insulation material, and further including           17 . The exhaust duct module as claimed in claim 16 ,
     one or more thermal spacers configured to maintain             wherein said outer casing comprises one or more panels
     said inner duct liner and said outer casing in a spaced   formed from a fire resistant non -metallic material.
     relationship so that said material occupies said void , 60 18 . The exhaust duct module as claimed in claim 17 ,
     said one or more thermal spacers thermally isolating wherein said thermal insulation material comprises one of a
     said inner duct liner from said outer casing8 ;,               batt insulation material, a blanket insulation material and an
  a first exterior flange connector, said first exterior flange     insulation board .
    connector being joined directly to one end of said inner           19 . The exhaust duct module as claimed in claim 16 ,
     duct liner, and one end of said exhaust duct module 65 wherein said inner duct liner and said outer casing are
     being configured for receiving said first exterior flange      formed from a metallic material, and each having a thickness
     connector;                                                     to provide a specified fire rating .
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                                                   US 10 ,024 , 569 B2
   20 . The exhaust duct module as claimed in claim 19 ,
wherein said thermal insulation material comprises one of a
batt insulation material, a blanket insulation material and an
insulation board .
                      *   *   *       *




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                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 24-1537

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